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                               EXHIBIT 483
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                                                                  C. Campbell, RDR CRR CSR #13921
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  NORCO
  IP          2000-2015 -  Watson Laboratories, Inc. now known as Actavis
              Laboratories Florida
              2016 - Allergan Sales, LLC
              2017 - Present Allergan Pharmaceuticals Limited (APIL)



              < July 2015 Watson Laboratories, Inc. (Nevada)
              > July 2015 Warner Chilcott Company, LLC (Puerto Rico)
                     divested to Teva August 2016


              Prior Actavis Pharma, Inc. formerly known as Watson Pharma, Inc.
              current Allergan USA, Inc.




  KADIAN
  IP          12/08 - 13-Actavis Elizabeth LLC
             2013 - 2016 - Actavis Laboratories Utah formerly known as Watson
             Laboratories Salt Lake
             2016 - Allergan Sales, LLC



             Actavis Elizabeth TPM to Alpharma since 12/19/2005
             Actavis Elizabeth acquired Product in December 2008
             Continues to supply Allergan USA, Inc.


             Previous Actavis Pharma, Inc. formerly known as Watson Pharma, Inc.
             Today Allergan USA, Inc.
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       Steve Kaufhold: Information collected in response to Plaintiffs' 30(b)(6) Notice     ·


NO                  Topic                                                                   Response
43.1   The corporate structure of all                                                 Corporate History
       Allergan entities (including
       Allergan Finance, LLC,             See provided graphic laying out Allergan's transactional history.
       Allergan plc, and all
       subsidiaries, parents,                                                        Corporate Structure
       predecessors, successors
       and/or associated entities         The corporate structure of all the entities identified below is shown in the following corporate
       resulting from any and all         organizational charts: 2011-01-05 ALLERGAN_MDL_03367307; 2011-01-21
       mergers over the years) and        ALLERGAN_MDL_03367302.; 2012-10-12 ALLERGAN_MDL_03367301; 2012- Ll-30
       each such entity's                 ALLERGAN_MDL_0276.Ll-72/20I2-12-31 ALLERGAN_MDL_03367304; 2013-01-24
       involvement with any opioid        ALLERGAN_MDL_02758853; 2013-06-30 ALLERGAN_MDL_02931208; 2013-10-01
                                          ALLERGAN_MDL_Ol 098786; 2014-01-31 ALLERGAN_MDL_O 1384578; 2014-06-30
       products from 1995 to the
       present, including the             ALLERGAN_MDL_03295845; 2014-12-31 ALLERGAN_MDL_02177059; 2015-01-01
       identification of all drugs, the   ALLERGAN_MDL_02079795; 2015-09-08 ALLERGAN_MDL_01471538; 2015-09-30
                                          ALLERGAN_MDL_02147315; 2016-01-01 ALLERGAN_MDL_01373731; 2016-03-31
       entity's role in connection
       with such drugs, and all opioid    ALLERGAN_MDL_02147111; 2016-08-03 ALLERGAN~MDL_03295865; 2016-09-30
       management involved.               ALLERGAN_MDL_03295869; 2017-06-30 ALLERGAN_MDL_00000006; 2017-08-01
                                          ALLERGAN_MDL_OOOOOOOl; 2018-03-31 ALLERGAN_MDL_03295860.

                                          Key Chart - 08-02-2016 ALLERGAN_MDL_03674501

                                                                                  Involvement with Opioids

                                          Transferred Entities/IP Ownership:

                                          Allergan sold its generic businesses to Teva in 2016. Teva - Allergan MPA
                                          (ALLERGAN_MDL_O 1481207). As part of that transaction, Allergan sold a number of entities to Teva
                                          that were involved with generic opioids. The following entities sold to Teva were listed as the ANDA or
                                          NDA holders for the following schedule II opioid products (see FDA "Orange Book"):

                                                  1.     Watson Laboratories, Inc.
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NO                   Topic                                                                    Response
                                                           (a)    Fentanyl citrate injection (ANDA# 074917)

                                                           (b)    Fentanyl citrate table (ANDA# 079075)

                                                           (c)    Fentanyl transdermal (ANDA# 076709)

                                                           (d)    Hydrocodone I acetaminophen (ANDA #s 081083; 081080; 081079; 040094;
                                                                  040122;040123;040099;040148;089883;040248)

                                                           (e)    Meperidine Hydrochloride Injection (ANDA #s 073443; 073444; 073445)

                                                           (f)    Meperidine Hydrochloride Tablet (ANDA #s 040186)

                                                           (g)    Morphine sulfate injection (ANDA #s 073373; 073374; 073375; 073376)

                                                           (h)    Morphine sulfate capsule (ANDA #s 200812)

                                                           (i)    Oxycodone I acetaminophen (ANDA #s 040234; 040171; 040371; 040535)

                                                           U)     Oxycodone I aspirin (ANDA #s 040255; 090084)

                                                           (k)    Oxycodone I ibuprofen (ANDA# 078394)

                                                           (1)    Morphine sulfate tablet (ANDA# 075656)

                                                   2.     Actavis Laboratories FL, Inc. f/k/a Watson Laboratories, Inc. - Florida

                                                           (a)    Hydrocodone I acetaminophen (ANDA #s 040493; 040494; 040495; 0401481;
                                                                  206470)

                                                           (b)    Hydrocodone I ibuprofen (ANDA #s 077454; 076604)


     1
         Some products are listed under more than one entity if the ANDA or NDA transferred between the entities.


                                                                              2
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NO   Topic                                                       Response
                                 (c)   Oxycodone I aspirin (ANDA# 090084)

                                 (d)   Hydromorphone tablet (ANDA# 202144)

                           3.   Actavis Totowa LLC

                                 (a)   Oxycodone I acetaminophen (ANDA #s 040203; 040199; 040800)

                                 (b)   Hornatropine rnethylbromide / hydrocodone bitartrate (ANDA# 040295)

                                 (c)   Oxycodone I hydrochloride tablet (ANDA# 076636)

                           4.   Actavis Elizabeth LLC

                                 (a)   Oxycodone I acetaminophen (ANDA #s 040203; 040199; 040800; 201447)

                                 (b)   Homatropine methylbromide / hydrocodone bitartrate (ANDA# 040295)

                                 (c)   Morphine sulfate capsule (ANDA #s 020616; 079040)

                                 (d)   Morphine sulfate tablet (ANDA# 203849)

                                 (e)   Oxycodone I hydrochloride tablet (ANDA# 076636)

                                 (t)   Oxycodone / ibuprofen (ANDA# 078769)

                                 (g)   Oxymorphone tablet (ANDA# 079046)

                           5.   Actavis Mid Atlantic LLC

                                 (a)   Homatropine methy I bromide/ hydrocodone bitartrate (ANDA# 088017)

                           6.   Actavis Laboratories UT, Inc. f/k/a Watson Laboratories, Inc. Salt Lake City




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NO   Topic                                                           Response
                                    (a)    Morphine sulfate capsule (NDA # 020616)

                            7.      Acta vis South Atlantic LLC

                                    (a)    Oxymorphone tablet (ANDA# 079046)

                                    (b)    Fentanyl transdermal (ANDA# 077602)

                     Remaining Allergan Entities:

                     Kadian®: From December 19, 2005, until it purchased the medication, Actavis Elizabeth LLC served as
                     the contract manufacturer of Kadian® for Alpharma. February 2, 2008 Actavis Elizabeth and Alpharma
                     Contract (ALLERGAN_MDL_01076982); December 19, 2005, Alpharma - Purepac Contract
                     (ALLERGAN_MDL_01474803).

                     Acta vis Elizabeth LLC acquired Kadi an® from Alpharma in December 2008. December 17, 2008 Asset
                     Purchase Agreement by and between King Pharmaceuticals, Inc. and Actavis Elizabeth, L.L.C.
                     (ALLERGAN_MDL_Ol 514893).

                     The holders of the Kadian® NDA (020616) since December 2008 were and are (see FDA "Orange
                     Book"):

                     •   December 2008-2013: Actavis Elizabeth LLC

                     •   2013-2016: Actavis Laboratories UT, Inc. f/k/a Watson Laboratories, Inc. - Salt Lake City

                     •   2016-Present: Allergan Sales, LLC

                     April 11, 2013 Transfer Letter (ALLERGAN_MDL_0081 1313); November 20, 2014, Company Name
                     Change Letter (ALLERGAN_MDL_02195036); March 11, 2016 Transfer Letter
                     (ALLERGAN_MDL_02197647).




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NO                Topic                                                                   Response

                                        As part of the sale of its generic business to Teva, Teva agreed to continue manufacturing Kadian® and
                                        Norco for Allergan. Exhibit B of Teva-Allergan 2015 MPA (ALLERGAN_MDL_03367042). At that
                                        time, Allergan also contracted with UPS SCS, Inc. to distribute controlled substances, including Kadian®
                                        and Norco. 2015 UPS Allergan Contract ALLERGAN_MDL_Ol 396729.

                                        Since December 2008, Kadian's label has identified the following entities as the manufacturer or
                                        distributor of Kadian®: Actavis Elizabeth LLC; Actavis Kadian LLC; Actavis Pharma, Inc.; and Allergan
                                        USA, Inc. 02/2009 Label (ALLERGAN_MDL_02200691 ); 02/20 l O Label
                                        (ALLERGAN_MDL_Ol 132982); 07/2012 Label"; 04/2014 Label3.

                                        The current label (revised 09/20184) states that Kadian® is distributed by Allergan USA, Inc.; however,
                                        Allergan USA, Inc. does not distribute Kadian® itself. Instead, after Allergan sold the entities with the
                                        DEA-registrations required to produce and distribute schedule II controlled substances, Allergan USA,
                                        Inc. has contracted with UPS SCS, Inc. to distribute Kadian® on its behalf. 2015 UPS Allergan Contract
                                        (ALLERGAN_MDL_O 1396729).

                                         Norco: The holders of the Norco ANDAs (40099 & 40148) were and are (see FDA "Orange Book"):

                                        ANDA40099:

                                        •   1997-1999: UCB Pharmaceuticals, Inc .

                                        •   2000-2015: Watson Laboratories, Inc .

                                        •   2016: Allergan Sales, LLC

                                        •   2017-Present: Allergan Pharmaceuticals International Limited




     2
         htlps://www.accessdata.fda.gov/drugsatfda_docs/label/2012/0206 I 6s041 lbl.pdf
         https://www.accessdata.fda.gov/drugsatfda_docs/!abel/2014/020616s051 lbl.pdf
     4
         https://www.allergan.com/assets/pdf/kadian_pi


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NO                Topic                                                                     Response
                                        ANDA 40148:

                                        •   1997-2014: Watson Laboratories, Inc .

                                        •   2015: Actavis Laboratories FL, Inc .

                                        •   2016: Allergan Sales, LLC

                                        •   2017-Present: Allergan Pharmaceuticals International Limited

                                        The following entities were involved in manufacturing and distributing Norco: Watson Pharma, Inc.,
                                        Watson Laboratories, Inc., Warner Chilcott Company, LLC, Allergan USA, Inc., and Allergan Sales,
                                        LLC. 04/2002 Label (ALLERGAN_MDL_01095947); April 2003 Label
                                        (ALLERGAN_MDL_01095940); 07/2007 Label (ALLERGAN_MDL_Ol680965); 10/2009 Label
                                        (ALLERGAN_MDL_02206790); 06/2011 Labels (ALLERGAN_MDL_02209823;
                                        ALLERGAN_MDL_02210219); 08/2012 Label (ALLERGAN_MDL_Ol 768757); 08/2013 Labels
                                        (ALLERGAN_MDL_02210402; ALLERGAN_MDL_02209867); 2014 Labels"; 02/2017 Label
                                        (ALLERGAN_MDL_02219168); Current Label6.

                                        Similar to Kadian®, after Allergan sold the entities with the DEA-registrations required to produce and
                                        distribute schedule II controlled substances, Allergan contracted with Teva and UPS, SCS Inc. to
                                        manufacture and distribute Norco on behalf of Allergan USA, Inc. and Allergan Sales, LLC. 2015 UPS
                                        Allergan Contract (ALLERGAN_MDL_OJ 396729); Exhibit B of Teva-Allergan 2015 MPA
                                        (ALLERGAN_MDL_03367042).

                                        Other Schedule II Branded Drugs: Between 2004 and 2006, Watson Pharmaceuticals, Inc., collaborated
                                        with Interpham, Inc. (the ANDA holder) in the marketing and sale of Reprexain (ANDA 076642 -
                                        Hydrocodone bitartrate / ibuprofen). June 07, 2004 Email & Press Release Announcing Launch



         https://www.accessdata.fda.gov/drugsatfda docs/label/2014/0400990rig 1 sO 18Ibl.pdf;
         https://www.accessdata.fda.gov/drugsatfda_docs/label/2014/040148s0531bl.pdf
     6
         https://www.allergan.com/assets/pdf/norco_pi


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NO                 Topic                                                                   Response
                                         (ALLERGAN_MDL_O 1830938; ALLERGAN_MDL_Ol 830941 ); June 14, 2006 Email Discussing No
                                         Longer Promoting Reprexain (ALLERGAN_MDL_Ol 728789).

                                         On October 12, 2000, Watson Pharma, Inc. announced the addition of Maxidone (40094 - hydrocodone
                                         bitartrate / acetaminophen) to its product portfolio. October 12, 2000 Product Introduction Notification
                                         (ALLERGAN_MDL_02579713). Since 2015, Maxidone has been included on the FDA's list of
                                         discontinued drugs. (See 2015 FDA Orange Book, "Discontinued Drug Product List").

                                         Actavis acquired Forest Laboratories, Inc. in 2014. Prior to the acquisition, Forest Laboratories, Inc. sold
                                         a product called Combunox (021378 - Oxycodone Hydrochloride/ ibuprofen). Forest received approval
                                         for Combunox on November 26, 2004. Since 2012, Combunox has been included on the FDA's list of
                                         discontinued drugs. (See 2012 FDA Orange Book, "Discontinued Drug Product List").

43.2   The management of the             Each of the seven entities identified above that had involvement with generic opioid medications is
       generic opioid business from      included on Schedule 4.6(g) of the Teva-Allergan MPA, which lists the entities transferred to Teva. Teva-
       1995 to the present for all.      Allergan MPA Schedules (ALLERGAN_MDL_03367048).
       Allergan entities (including
       Allergan Finance, LLC,            The January 1, 2015, organization chart shows where each of these entities fell within the the corporate
       Allergan plc, and all             structure of Allergan prior to the sale to Teva. ALLERGAN_MDL_02079795. Actavis South Atlantic
       subsidiaries, parents,            LLC, Actavis Elizabeth, LLC, Actavis Mid Atlantic LLC, and Actavis Totowa LLC were all direct
       predecessors, successors          subsidiaries of Actavis LLC, which was an indirect subsidiary of Watson Laboratories, Inc. See id at 2.
       and/or associated entities        Watson Laboratories, Inc. was a direct subsidiary of Actavis, Inc. n/k/a Allergan Finance, LLC. See id.
       resulting from any and all        Actavis Laboratories UT, Inc. was a direct subsidiary of Actavis, Inc. n/k/a Allergan Finance, LLC. Id.
       mergers over the years) and all   Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories, Inc. - Florida) was a direct subsidiary of Andrx
       generic opioids for which any     Corporation, which was a direct subsidiary of Actavis, Inc. n/k/a Allergan Finance, LLC. Id. Andrx
       Allergan entities had any         Corporation and Actavis LLC, in addition to the seven generic ANDA-holding entities, were transferred to
       involvement                       Teva. Teva-Allergan MPA Schedules (ALLERGAN_MDL_03367048).

                                         Prior to the sale of these entities to Teva, Actavis, Inc. n/k/a Allergan Finance, LLC did not manufacture,
                                         market, distribute, or sell any pharmaceutical products. It operated solely as a holding company. All of the
                                         direct subsidiaries of Actavis, Inc. n/k/a Allergan Finance involved in the management of the generic




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NO   Topic                                                           Response
                     opioid business were transferred to Teva. No other affiliate of Allergan Finance LLC or Allergan pie had
                     involvement with generic opioids.

                     Officers & Directors of Generic Entities:

                     Based on a review of reasonably available documents, we have identified the following persons as
                     directors and officers of some of the entities identified above.

                     Watson Pharma, Inc.

                     7-24-2012:

                     Director: Paul M. Bisaro;

                     Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                     Ranjana B. Pathak, Andrew Boyer, Charles M. Mayr, Lynne Amato, Thomas R. Griffin, Tim Callahan,
                     Diane Miranda, Kathleen Reape, Allan Slavsky, Michael W. Carr, Sigurd C. Kirk, James O'Brien, James
                     A. Williamson, Brett W. Hagardorn.

                     See ALLERGAN_MDL_03367292

                     8-30-2013:

                     Director: Paul M. Bisaro;

                     Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                     Ranjana B. Pathak, Andrew Boyer, Charles M. Mayr, Lynne Amato, Thomas R. Griffin, Tim Callahan,
                     Kathleen Reape, Allan Slavsky, Michael W. Carr, Sigurd C. Kirk, James O'Brien, James A. Williamson,
                     Brett W. Hagardorn, John Larocca.

                     See ALLERGAN_MDL_03367295.

                     Watson Laboratories, Inc.



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NO                  Topic                                                                  Response
                                          7-24-2012:

                                          Director: Paul M. Bisaro;

                                          Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                                          Patrick G. Brunner, Charles D. Ebert, Ranjana B. Pathak, Nick Kerkhof, Gary Kozloski, Gary Holloway,
                                          Jeffery Regan, Beth Brennan, Kathleen Reape, Michael W. Carr, James O'Brien, James A. Williamson,
                                          Miguel A. Gomez, Brett W. Hagadorn, Roberta Loomar.

                                          See ALLERGAN_MDL_03367294.

                                          8-30-2013

                                          Director: Paul M. Bisaro;

                                          Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                                          Patrick G. Brunner, Charles D. Ebert, Ranjana B. Pathak, Hafrun Fridriksdottir, Nick Kerkhof, Gary
                                          Kozloski, Gary Holloway, Jeffery Regan, Beth Brennan, Kathleen Reape, Michael W. Carr, James
                                          O'Brien, James A. Williamson, Miguel A. Gomez, Brett W. Hagadorn, John Larocca.

                                          See ALLERGAN_MDL_03367296.

43.3   All involvement and                Allergan plc "was established for the purpose of facilitating the business combination between Allergan
       communications Allergan pie        Finance, LLC (formerly known as Actavis, Inc.) and Warner Chilcott plc." Allergan pie 2017 10-K at 3.
       has had with any of its            Allergan Finance, LLC acquired Warner Chilcott plc in a stock-for-stock transaction in 2013. 5/19/2013
       subsidiaries involved in the       Actavis, Inc. 8-K at 9. After the transaction, Warner Chilcott and Allergan Finance, LLC each became
       licensing, manufacture,            wholly owned, indirect subsidiaries of Allergan plc. Allergan plc 2017 10-K at 3.
       marketing, sale, or distribution
       of any opioid products,            Allergan pie f/k/a Actavis plc is an Irish corporation and its only offices are located in Ireland. Allergan
       including Allergan pie's           plc is a holding company that exists for the purpose of holding shares of other companies that manufacture
       ownership interests in, control    and distribute prescription drugs rather than producing or selling its own goods or services. Allergan plc
       over, and financial                does not finance or control the daily affairs, including marketing or sales operations, of its subsidiaries.
       interrelationships with any


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NO               Topic                                                                     Response
     such subsidiaries, as well as     The following individuals are or were the primary executives at Allergan Finance, LLC in the following categories
     how subsidiaries' management      at the specified time period:
     interacted with and reported to
     Allergan plc and how this         Watson Pharmaceuticals, Inc.
     changed over time.
                                       Officers
                                              (i)       Chief Executive Officer: Allen Chao (1999-2008), Paul Bisaro (2008-2012)
                                              (ii)      Chief Financial Officer: Michael Boxer (1999-2002), Charles Slacik (2003-2007), Mark
                                                        Durand (2008-2009), R. Todd Joyce (2010-2012)
                                               (iii)    Chief Operating Officer: Fred Wilkinson (1999-2000), Joseph Papa (2001-2004), Robert
                                                        Stewart (2010-2012)
                                               (iv)     General Counsel: Robert Funsten (1999-2001), David Buchen (2002-2012)
                                               (v)      Sales: Lynne Amato (1999, 2003-2009), Carolyn Logan (1999), Andy Boyer (2003-2012),
                                                        Tim Callahan (2010-2012)
                                               (vi)     Marketing: Lynne Amato (1999, 2003-2012), Carolyn Logan (1999), Andy Boyer (2003-
                                                        2012)
                                               (vii)    Compliance: Roberta Loomar (2008-2010), Deborah Penza (2011-2012)
                                               (viii)   Sales or Marketing Training: None
                                               (ix)     Government Affairs: G. Thomas Long (2004-2010), Charlie Mayr (2011-2012)
                                               (x)      Medical Director: Gary Kozloski (2001-2012)
                                               (xi)     Research and Development: Charles Ebert (1999-2012), Francois Menard (2007-2012)

                                       Directors
                                              (i)       Paul Bisaro (2007 - 2012)
                                              (ii)      Christopher Bodine (2009 - 2012)
                                              (iii)     Allen Chao (1983 - 2009)
                                              (iv)      Michael Fedida (1995 - 2012)
                                              (v)       Michael Feldman (1985 - 2012)
                                              (vi)      Albert Hummel (1986 - 2012)
                                              (vii)     Alec Keith ( 1991 - 2000)
                                              (viii)    Catherine Klema (2004 - 2012)
                                              (ix)      Jack Michelson (2002 - 2012)



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NO   Topic                                                              Response

                             (x)      Melvin Sharoky (1995 - 1998)
                             (xi)     Anthony Tabatznik (2009 - 2012)
                             (xii)    Ronald Taylor (1994 - 2012)
                             (xiii)   Andrew Turner ( 1997 - 2012)
                             (xiv)    Fred Weiss (2000 - 2012)

                     Actavis, Inc.

                     Officers:
                            (i)       Chief Executive Officer: Paul Bisaro (2013-2014 ), Brent Saunders (2015-2016)
                            (ii)      Chief Financial Officer: Todd Joyce (2013-2014), Tessa Hilado (2015-2016)
                            (iii)     Chief Operating Officer: Robert Stewart (2013-2016)
                            (iv)      General Counsel: David Buchen (2013-2014), A. RobertD. Bailey (2015-2016)
                             (v)      Sales: Andy Boyer (2013), Tim Callahan (2013), Siggi Olafsson (2013-2014), William
                                      Meury (2015-20 I 6)
                             (vi)     Marketing: Andy Boyer (2013), Lynne Amato (2013), Siggi Olafsson (2013-2014),
                                      William Meury (2015-2016)
                             (vii)    Compliance: Debra Penza (2013-2014), Joseph Zimmerman (2014), Jonathon Kellerman
                                      (2015-2016)
                             (viii)   Sales or Marketing Training: None
                             (ix)     Government Affairs: Charlie Mayr (2013-2014), Alex Kelly (2015-2016)
                             (x)      Medical Director: Gary Kozlowski (2013), Gavin Corcoran (2014-2016)
                             (xi)     Research and Development: Chuck Ebert (2013-2014 ), Hafrun Fridriksdottir (2013-2014 ),
                                      David Nicholson (2015-2016)

                     Directors
                            (i)       Paul Bisaro (2013-2014)
                            (ii)      Christopher Bodine (2013-2014)
                            (iii)     Michael Fedida (2013-2014)
                            (iv)      Michael Feldman (2013-2014)
                             (v)      Albert Hummel (2013-2014)
                             (vi)     Catherine Klema (2013-2014)


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NO   Topic                                                       Response
                           (vii)    Jack Michelson (2013-2014)
                           (viii)   Ronald Taylor (2013-2014)
                           (ix)     Andrew Turner (2013-2014)
                           (x)      Fred Weiss (2013-2014)

                     Allergan Finance, LLC

                     Officers
                     Allergan Finance, LLC' s management structure is set forth in the Second Amended and Restated
                     Operating Agreement of Allergan Finance, LLC (ALLERGAN_MDL_SUPP_00000326). This Operating
                     Agreement identifies the following officers:
                            (i)      A. Robert D. Bailey
                            (ii)     Matthew M. Walsh
                            (iii)    Jonathon Kellerman
                            (iv)     Karen Ling
                            (v)      Alex Kelly
                            (vi)     William Meury
                            (vii) Sigurd Kirk
                            (viii) Marc Princen
                            (ix)     James D' Arecca
                            (x)      Sean Lennon
                            (xi)     David Nicholson
                            (xii) Lynne Bolduc
                            (xiii) Thomas Poche
                            (xiv) Brian Anderson
                            (xv)     Riccardo Mancuso
                            (xvi) Martin Shindler
                            (xvii) Wayne Swanton
                             (xviii) Stephen M. Kaufhold
                             (xix) Kira Schwartz
                            (xx) Judith Tomkins




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NO             Topic                                                                                Response
                                        Directors
                                        Allergan Finance, LLC does not have a Board of Directors. Allergan Finance, LLC instead has a two-
                                        person Board of Managers that is comprised of A. Robert D. Bailey and Matthew M. Walsh.

                                        Allergan pie Board & Executive Leadership Team:

                                        10-02-20137

                                        Directors:
                                               (i)        Paul M. Bisaro
                                               (ii)       James H. Bloem
                                               (iii)      Christopher Bodine
                                               (iv)       Tamar D. Howson
                                               (v)        John A. King
                                               (vi)       Catherine M. Klema
                                               (vii)      Jiri Michal
                                               (viii)     Jack Michelson
                                               (ix)       Sigurdur Oli Olafsson
                                               (x)        Patrick J. O'Sullivan
                                               (xi)       Andrew L. Turner
                                               (xii)      Fred G. Weiss

                                        Current Leadership:

                                        Executive Leadership Team:
                                               (i)    Brenton L. Saunders, Chairman, President and CEO
                                               (ii)   William Meury, EVP & Chief Commercial Officer
                                               (iii)  Matt Walsh, EVP & Chief Financial Officer
                                               (iv)   A. Robert D. Bailey, EVP & Chief Legal Officer and Corporate Secretary
                                               (v)    Karen L. Ling, Esq., EVP & Chief Human Resources Officer

     https :/ /www.allergan.com/news/news/thomson-reuters/acta vis-p lc-names-board-of-d irectors




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NO   Topic                                                           Response
                            (vi)     C. David Nicholson, PhD, EVP & Chief R&D Officer
                            (vii)    Alex Kelly, EVP & Chief Communications Officer
                            (viii)   Wayne R. Swanton, EVP, Global Operations

                     Directors
                            (i)      Nesli Basgoz, M.D.
                            (ii)     Joseph H. Boccuzi
                            (iii)    Christopher W. Bodine
                            (iv)     Adriane M. Brown
                            (v)      Christopher J. Coughlin
                            (vi)     Carol Anthony (John) Davidson
                            (vii)    Michael E. Greenberg, PhD
                            (viii)   Thomas C. Freyman
                            (ix)     Catherine M. Klema
                            (x)      Peter J. McDonnell, M.D.
                            (xi)     Fred G. Weiss




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                                                                                                                           Amide Pharmaceuticals
                                                      The Actavis Group                                                  Alpharma Generic Business
                                                                                    Actavis Group Enters the US                  (Purepac)
                                                                                    Market 2005
                                                                                                                                                                           Dec. 2001   Kadian Sold




                                                            Oct. 2012                                                                              Dec. 2008
   Watson Pharmaceuticals, Inc.                                                           Actavis, Inc.                                                                         King/Alpharma
                                                                                                                                                  Kadian Divested
                                                 Watson Pharmaceuticals
                                                 acquires the Actavis Group and
                                                 changes name to Actavis, Inc.




                                     Oct. 2013
Warner Chilcott pie                                          Actavis, Inc.
                                  Actavis pie formed to
                                  acquire Warner Chilcott
                                                                             Feb. 2014
                                                              Actavis pie                            Forest Laboratories, Inc.



                                                                                     Mar 2015
                                                              Actavis pie                                                        Allergan, Inc.


                                                                                                                                             Aug. 2016
                                                                                   L-_A_l_
                                                                                         le_rg_a_n_p_l_
                                                                                                      c __ -·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-~                     Teva
                                                                                                                                     Generics Business Sold
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                                                                   EXE CUTI ON VE RSION
                                                                         CONF ID ENTIAL

                                 Schedule 1.1 - Brand R&D Assets




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                                                                                                                        EXECUTION VERSION
                                                                                                                             CONFIDENTIAL

                                                                                                                   Other
                                                                              Lame, Nothern
        Brands R&D Projects                                   Elizabeth, NJ                   Salt Lake City     Other Sites
                                                                                 Ireland
                                                                                                               (Drug Product)
        Armour Thyroid              T3, T4
        Systolic                    Nebivolol
        Byvalson (NAC)              Nebivolol, Valsartan
        TRV-027                     TRV-027                                                                       Nerviano               Ambernath
        Vraylar                     Cariprazine
        Fetzima                     Levom ilnacipran
        Namenda XR                  Memantine
        Namzaric (MDX)              Memantine, Donepezil
        Saphris                     Asenapine
        Viibryd                     Vilazodone
        AGN237396
                                                                                                                                1




        AGN241607                   863-a                                                                                           Ambernath
        Gelnique                    Oxybutynin
        Oxybut. for hyperhydrosis   Oxybutynin
        Sa recycl ine               WC3035                                                                                               Ambernath
        Asacol 800 WC3046
                                    Mesalamine
        Asacol 400 WC3079
        Carafate, Sulcrate          Sucralphate
        Viberzi                     Eluxadoline                                                                                          Ambernath
        Linzess                     Linaclotide
        Zenpep                      Pancreatic enzyme
        Pylera                      Bi/tetra cycl ./metro.
        Rectiv                      Nitroglycerine
        RM-131                      Relamorelin


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            Teflaro                           Ceftaroline fosamil
            AVYCAZ                            Ceftazidime,avibactam
            CXL                               Ceftaroline, avibactam
            Dalvance                          Dalbavancin
            ATM-AVI                           Aztreonam-avibactam
            Colobreathe                       Colistimethate Na
            Enablex WC3059                    Da rifenacin                   TBC         TBC
            Rapaflo                           Silodosin                                             Dupnitsa
            Diafert                           Immunoassay kit
            Esmya                             Ulipristal acetate             TBC
            Est.capsule WC3037                Estradiol                                             Fajardo
            Est. cream WC3011                 Estradiol                                             Fajardo
            Etonog. Ring WC3058               Etonogestrel
            Levosert/ Liletta                 Levonorgestrel IUD
            Loyelle/Loestrin WC3081           Norethindrone Ac ,EE                                   Fajardo
            Minestrin                         Norethindrone Ac ,EE                                   Fajardo
            Nuvessa                           Metronidazole gel
             lnFed                            Ion dextran
             PEG beads                        (Phoenix project)




C O N F ID E N T IA L - S U B JE C T T O PR O T E C T IV E O R D E R                                               A LLE R G A N _ M D L_ 03367050
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                                                                             EXE CUTI ON VE RSION
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                                    Schedule 1.1 (a) - Excluded Products

                 Manufactured Products, as agreed on the date of the Agreement and as defined in the
                 Term Sheet for the Manufacturing Agreement set out as Exhibit B to the Agreement.

                 Androderm

                 Aquadeks

                 Asacol

                 Diafert

                 Eziclen

                 Levoser

                 Oxytrol

             •   Panzytrat

                 Pylera

                 Rapaflo

                 Bendamustine HCI (Treanda ANDA #204208)

                 Viibryd




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                                                                              EXE CUTI ON VE RSIO N
                                                                                    CONF ID ENTIAL

                             Schedule 1.l(b)- International Generics Products

        The products shown on the workbook entitled "International Gx Product List" in the Excel file
        entitled "SCl-#3914718-vl-Product_ Schedule.xlsx", the final version of which was emailed to
        Jinhee Chung at Sullivan & Cromwell by Andrew Clark of Latham & Watkins at 03.04 AM on
        July 27, 2015.




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                                                                           EXE CUTION VERSIO N
                                                                                 CONFID ENTIAL

                                     Schedule 1.l(c)- OTC Products

        The products shown on the workbook entitled "US Product Gx List" in the excel file entitled
        "SCI-#3914718-vl-Product_Schedule.xlsx", the final version of which was emailed to Jinhee
        Chung at Sullivan & Cromwell by Andrew Clark ofLatharn & Watkins at 03.04 AM on July 27,
        2015.




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                                                                            EXE CUT ION VE RSION
                                                                                  CONF ID ENTIAL

                               Schedule 1.l(d) - Seller Parent's Knowledge

              Paul M. Bisaro, Executive Chairman

              Brenton L. Saunders, Chief Executive Officer and President

              Robert Stewart, President, Generics and Global Operations

              Maria Teresa Hilado, Chief Financial Officer

              A. Robert D. Bailey, Chief Legal Officer and Corporate Secretary

              Karen Ling, Chief Human Resources Officer

              Jonathon Kellerman, Global Chief Compliance Officer




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                                                                           EXECUTION VERSION
                                                                                CONFIDENTIAL

                              Schedule 1.l(e)-Transferred Brand Products

        The products shown on the workbook entitled "Transferred Brands" in the excel file entitled
        "SCI-#3914718-vl-Product_Schedule.xlsx", the final version of which was emailed to Jinhee
        Chung at Sullivan & Cromwell by Andrew Clark of Latham & Watkins at 03 .04 AM on July 27,
        2015.




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                                                                                EXE CUT ION VE RSION
                                                                                      CONF IDENTIAL

                                      Schedule 1.1 (t) - Transferred Entities




                                         Company Name                                 Jurisdiction of
                                                                                      Incorporation

        1.    Warner Chilcott Company, LLC                                          Puerto Rico

        2.    Warner Chilcott (Ireland) Limited                                     Ireland

        3.    Warner Chilcott Australia Pty. Ltd.                                   Australia

        4.    Warner Chilcott Pharmaceuticals B.V.B.A.                              Belgium

        5.    Warner Chilcott France SAS                                            France

        6.    Warner Chilcott Italy S.r.l.                                          Italy

        7.    Actavis Pharma Iberia S.L. (f/k/a Warner Chilcott Iberia S.L.)        Spain

        8.    Robin Hood Holdings Ltd.                                              Malta

        9.    Paomar plc                                                            Cyprus

        10.   Actavis Pharma Pty Ltd.                                               Australia

        11. Actavis Holding 2 Sarl                                                  Luxembourg

        12.   Actavis S.a.r.1.                                                      Luxembourg

        13.   Actavis Pharma Holding 4 ehf. (APH4)                                  Iceland

        14.   Forest Laboratories UK Ltd.                                           UK

        15.   Forest Pharma BV                                                      Netherlands

        16.   Axcan France (Invest) SAS                                             France

        17.   Mako ff R&D Laboratories, Inc.                                        California

        18.   Royce Laboratories, Inc.                                              Florida

        19.   The Rugby Group, Inc.                                                New York

        20.   Watson Pharmaceuticals (Asia) Ltd.                                    BVI

        21.   Nicobrand Limited                                                    Northern lreland

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                                          Company Name         Jurisdiction of
                                                               Incorporation

        22.   Watson Pharmaceuticals International Ltd.      BVI

        23.   Watson Diagnostics, Inc.                       Delaware

        24.   Del Mar Indemnity Co. Inc.                     Hawaii

        25.   Acta vis Laboratories NY, Inc.                 New York

        26.   Andrx Corporation                              Delaware

        27.   Watson Cobalt Holdings, LLC                    Delaware

        28.   Watson Manufacturing Services, Inc.            Delaware

        29.   Allergan UK LLP                                UK

        30.   Forest Tosara Ltd.                             Ireland

        31.   Actavis Laboratories UT, Inc.                  Delaware

        32.   Watson Laboratories, Inc.                      Nevada

        33.   Actavis Pharma, Inc.                           Delaware




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                                                                              EXECUTION VERSION
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                                  Schedule 1.1 (g) - U.S. Generics Products

        The products shown on the workbook entitled "US Product Gx List" in the excel file entitled
        "SCI-#3914718-vl-Product_Schedule.xlsx" to the extent such products are not over the counter
        (non-prescription) products, the final version ofwhich was emailed to Jinhee Chung at Sullivan
        & Cromwell by Andrew Clark of Latham & Watkins at 03.04 AM on July 27, 2015.




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                                                                           EXE CUTION VE RSION
                                                                                 CONFIDENTIAL

                   Schedule 1.1 (h) - Authorized Generic List of Own Brand Products



        #       Generic Name                               Dosage Form            Brand Equivalent

        I       Butalbital/Acetaminophen/Caffeine          Immediate Release      Fioricet®
                                                           Tablets

        2       Butalbital/Acetaminophen/Caffeine/Codeine Immediate Release       Fioricet® with Codeine
                Phosphate                                 Capsules

        3       Butalbital/Aspirin/Caffeine                Immediate Release      Fiorinal®
                                                           Capsules

        4       Codeine                                    Immediate Release      Fiorinal® with Codeine
                Phosphate/Butalbital/Aspirin/Caffeine      Capsules

        5       Escitalopram Oxalate                       Oral Solution          Lexapro®

        6       Estradiol                                  Immediate Release      Estrace ®
                                                           Tablets
                                       ~
        7       Ethinyl Estradiol/Norethindrone (Layolis   Immediate Release      Generess Fe®
                Fe)                                        Tablets

        8       hydroch lorothiazide                       Immediate Release      Microzide®
                                                           Capsules

        9       Hydrocodone Bit/Acetaminophen              Immediate Release      Norco®
                                                           Tablets

        10      Hydrocodone Bit/Acetaminophen              Immediate Release      Norco® 5MG/325MG
                                                           Tablets

        11      Hydrocodone Bit/Acetaminophen              Immediate Release      Norco® 7 .5MG/325MG
                                                           Tablets

        12      Lidocaine/Prilocaine                       Topical Cream          Emla®

        13      Loxapine Succinate                         Immediate Release      Loxitane®
                                                           Capsules

        14      Morphine Sulfate ER                        Modified Release       Kadian®
                                                           Capsules

        15      Namenda                                    Immediate Release      Namenda®

                                                    -14-




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                                                             Tablets

        16      Norethindrone (N ora-Be)                     Immediate Release   Nor-QD®
                                                             Tablets

        17      Norethindrone A-E Estradiol/F errous         Immediate Release    Estrostep®Fe
                Fum ara te (Tilia)                           Tablets

        18      Norethindrone-Ethinyl Estradiol (Leena)      Immediate Release    Tri-Norinyl®
                                                             Tablets

        19      Norethindrone-Ethinyl Estradiol (N econ)     Immediate Release    Norinyl® 1/50
                                                             Tablets              (N orethindrone/M estranol)

        20      Norethindrone-Ethinyl Estradiol (Zenchent)   Immediate Release    Ovcon®
                                                             Tablets

        21      Norethindrone-Ethinyl Estradiol/Ferrous      Immediate Release    FemconFE®
                Fum arate (Zenchent Fe)                      Tablets

        22      Oxazepam                                     Immediate Release    Serax®
                                                             Capsules

        23      Podofilox                                    Topical Solution     Condylox® Solution

        24      Risedronate DR                               Modified Release     Atelvia®
                                                             Tableets

        25      Risedronate Sodium                           Modified Release     Actonel®
                                                             Tablets

        26      Ris edronate Sodium                          Immediate Release    Actonel®
                                                             Tablets

        27      Ursodiol                                     Immediate Release    Actigall®
                                                             Capsules

        28      Ursodiol                                     Immediate Release    Urso 250®
                                                             Tablets

        29      Ursodiol                                     Immediate Release    Urso Forte®
                                                             Tablets

        30      Sucralfate                                   Immediate Release    Carafate®
                                                             Tablets




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                                Schedule 1.l(i)- Puerto Rico Grant




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                                                   COMMONWEAL TH OF PUERTO RICO
                                   DEPARTivIEN T OF ECONOMIC DEVELOPMENT AND COMME RCE
                                             OFFICE OF INDUSTRIAL TAX EXEMPTION

                   Grant of Tax Exemption to WARNER CHII..COTI COMPANY, LLC and PROCTER &
                   GAMB LE PHARMA CEUTICALS PUERTO RICO LLC (hereinafter referred to as.
                   "applicants" or "Grantees"), Case No. 09-73-I-47, pursuant to the terms of Act No. 73 of May
                   28, 2008 (hereinafter referred to as the "Act");

                                                                    DECREE

                           WHE REAS, the Act empowers the Secretary of the Department of Economic
                   Development and Commerce of the Commonwealth of Puerto Rico to Grant tax exemption from
                   specified truces to eligible industries when it is proved to the satisfaction of the Secretary of the
                   Department of Economic Deveiopment and Commerce that the applicants has established, or
                   will establish. an eligible industry as defined in the Act and that the same will be in the best
                   interest of Puerto Rico;

                           WHEREAS, the Secretary of the Department of Economic Development and Commerce
                   of the Commonwealth of Puerto Rico, after having examined the report of the Special Examiner,
                   the report of the Executive Director of the Puerto Rico Industrial Development Company, and
                   other documents relative to this case, is of the opinion that the applicants has proved that it will
                   operate an eligible industry within the meaning of the Act and that the same will be in the best
                   interest of Puerto Rico:

                           NOW, TI-IEREFORE, BE IT DECREED BY THE SECRETARY OF THE
                   DEPARTMENT OF ECONOMIC DEVELOPMENT AND COMME RCE OF THE
                   COMMONWEALTH OF PUERTO RICO~ that the applicants WARNER CHILCOTT
                   COMPANY, LLC ("WCCL") and PROCTER & GAMBLE PHARMACEUTICALS PUERTO
                   RICO LLC ("P&G Pharma"), be hereby granted tax exemption in accordance with the applicable
                   terms of the Act, covering the following activities: (1) the manufacturing of the following
                   products: chemical products: nitrofurantoin in its micro and macro crystalline form, dantrolene
                   sodium, etidronate sodium (EHDP), and chemical intermediates thereof, which are usefu ! in the
                   manufacturing of nitrofurantoin, dantrolene and dantrolene sodium. and etidronate sodium as
                   bulk or fine chemicals, and pharmaceutical products: nitrofurantoin in its micro and macro
                   crystalline form, in the form of liquid suspensions, tablets and capsules; and DidroneJ (endronate
                   sodium) granulation and tablets, actonel, stedicor, Dantrium capsules, such as dantrolene sodium,
                   in a sustained release or "long acting" or "repeat action" tablet and/or capsule form. and any
                   related derivative or next generation products of such pharmaceutical products; (2) the
            ~      manufacturing and packaging of any other pharmaceutical products, including but not limited to
                   tablets, semi solids and capsules for pharmaceutical products; (3) contract manufacturing of
                   pharmaceutical products: (4) contract manufacturing or toll processing of pharmaceutical
                   products for other related or unrelated companies including, without limitation, the conversion of
                   raw materials into goods in process or finished goods; warehousing of raw materials, goods in
                   process or finished products; logistics or administration services in connection with raw
                   materials, packaging materials, goods in process or finished goods, product supply, and any other
                   activity related to the manufacturing of the products and or necessary to conduct the
                   manufacturing operations by the applicants and/or other parties; provided that the raw materials,
                   goods in process or finished goods may be either owned by any of the Grantees or the other
                   contracting party; (5) the distribution of products manufactured by other entities on behalf of the
                   applicants under contract manufacturing agreements; (6) import of products for their distribution
                   to foreign markets; (7) the distribution of products that will not enter into Puerto 'Rico (drop
                   shipments); (8) the licensing of intangible assets to companies in Puerto Rico or outside of
                   Puerto Rico; and (9) import of the products Doryx. Pyridium, and Pyridium Plus, as well as any
                   other products for distribution to foreign markets, provided that the operations shall be carried
                   out as described in the application;




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                                                                   -2-                            Case No. 09-73-I-47

                           BE IT FURTHER DECREED. that pursuant to Section 13(a) (2) (G) of the Act and
                   Administrative Order No. 0002-2008 of September 2, 2008. the Secretary of the Department of
                   Economic Development and Commerce of the Commonwealth of Puerto Rico authorized the
                   Director of the Office of Industrial Tax Exemption to carry on administrative duties of <,111 nature,
                   related with Grants of tax exemption issued under the provisions of the Act,. including the
                   approval or denial of tax exemption Grants for property devoted to industrial development, but
                   excluding the authority to approve or deny tax exemption Grants to manufacturing or service
                   units and any other duty specifically bestowed upon him by the Act,

                          BE IT FURTHER DECREED. that the Grantees herein shall be entitled to an exemption
                   period of fifteen (15) years. The locations of the exempted businesses are at the municipalities of
                   Fajardo and Manatt, Puerto Rico. TI1e effective date of said tax exemption for WCCL shall be
                   September 17, 2009 for income tax purposes and for municipal license and other municipal truces
                   purposes; and January 1, 2010. for real and personal property tax purposes. The effective date for
                   P&G Pharma shall be October 30, 2009. for income tax purposes; and January J, 2010, for real
                   and personal property tax. purposes and for municipal license and othe.r municipal taxes
                   purposes;

                          BE IT FURTHER DECREED. that with the approval of this Grant, WCCL shall
                   surrender the remainder exemption period for Case No. 04-135-I-29, effective from September
                   16, 2009, for income tax purposes and .for municipal license and other municipal taxes purposes;
                   and December 31, 2009, for real and personal property tax purposes; PROVIDED FURTHER,
                   that P&G Pharma shall sun-ender the remainder of their exempt period for the operations at
                   Manatf on the Grant 00-135-I-18, effective October 30. 2009, for income tax purposes; and
                   December 31. 2009, for real and personal property tax purposes and for municipal license and
                   other municipal taxes purposes;

                           BE IT FURTHER DECREED, that as an essential condition to this Grant, P&G Pharma
                   shall request that tbe grant of tax exemption under Case No. 00-135-I-l 8, be amended to reflect
                   that Procter & Gamble Pharmaceuticals Puerto Rico LLC and its operations at Manatt, Puerto
                   Rico, shall not be covered under such Grant. effective as of October 30., 2009~

                         BE IT FURTHER DECREED, that the Grantees are authorized to perform contract
                   manufacturing activities pursuant to Section 2(f} of the Act;

                           BE IT FURTHER DECREED, that pursuant to Section 3(a) (2) of the Act, and during the
                   term of this Grant, the Grantees shall be subject to a fixed income tax rate of two percent (2%)
                   on its industrial development income ("IDI") derived from the manufacturing operations, the
            ~      services activities, the licensing activities and the contract manufacturing activities covered by
                   this Grant, in lieu of any other income tax rate; PROVIDED FURTHER, that the fixed income
                   tax rate will not be subject to a Base Period Income pursuant to Section 3(g) of the Act, as
                   recommended by the Puerto Rico Industrial Development Company at the Eligibility Report and
                   Supplementary Reports for this case;

                            BE IT FURTHER DECREED, that on current distributions and on total liquidations. the
                   industrial development income accumulated by WCCL starting on September 17, 2009, shall be
                   totally exempt pursuant to Sections 3(d) (1) and (4) of the Act;

                          BE IT FURTHER DECREED, that on current distributions and on total liquidations, the
                   industrial development income accumulated by P&G Pharma starting on October 30, 2009. shall
                   be totally exempt pursuant to Sections 3(d) (1) and (4) of the Act:

                          BE IT FURTHER DECREED. that on current distributions and on total liquidations, the
                   IDT accumulated by WCCL up to September 16. 2009, shall be totally exempt pursuant to
                   Sections 7 and 10 of Act No. 135 of December 2., 1997 ("Act No. 135");
                          BE IT FURTHER DECREED, that on current distributions and on total liquidations. the
                   IDI accumulated by P&G Pharma from July l, 2001 through October 30, 2009 shall be totally
                   exempt pursuant to Sections 7 and 10 of Act No. 135;




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                          BE IT FURTHER DECREED. that distributions, as dividends, of IDI accumulated by
                   P&G Pharma as of June 30, 2001. shall be subject to taxation according to the provisions of Act
                   No. 26 of June 2. 1978, as amended ("Act No. 26");

                           BE IT FURTHER DECREED, that total liquidation of !DI accumulated by P&G Pharma
                   from January 1, 1987 through June 30. 2001, shall be subject to taxation according to the
                   provisions of Act No. 8 of January 24, 1987, as amended;

                          BE IT FURIBER DECREED. that total liquidation ofIDI accumulated by P&G Pharma
                   up to December 31. 1986. shall be taxed as provided in Act No. 26;

                          BE IT FURTHER DECREED, that pursuant to Section 3(c) of the Act, the ID1 derived
                   from investments on eligible activities under Section 2G) of the Act, shall be totally exempt from
                   income taxes and any other taxation;

                           BE IT FURTHER DECREED, that to the extent allowed and/or contemplated. by the Act,
                   the Grantees shall not be subject to any additional tax measured by reference to income or
                   revenues. withholding taxes, property taxes, or municipal taxes; provided that any income tax
                   overpayments attributable to the fixed income tax rates provided in this grant shall be creditable
                   against Grantees' income tax liabilities arising in other taxable years:

                           BE IT FURTHER DECREED, that as provided by Section 7(a) of the Act, the Grantees,
                   shall enjoy ninety percent (90%) exemption from municipal and Commonwealth personal and
                   real property taxes, used in the development. organization, construction, establishment or
                   operation of the activity covered under the grant, during the exemption period provided by
                   Section 10 of the Act, starting on January 1, 201 O;

                          BE IT FURTHER DECREED. that intangible persona! property in the nature of patent.
                   production license. or trademark acquired by the Grantees. as well as the shares of stock, bonds
                   and other securities held by the Grantees, shall be totally exempt from the payment of property
                   taxes:

                          BE IT FURTHER DECREED, that the effective date of this Grant for municipal license
                   tax purposes will be September 17, 2009. for WCCL and January l, 2010, for P&G Pharma. The
                   Grantees will continue to be sixty percent (60%) exempt with respect to the municipal license tax
                   payments and other municipal taxes imposed by any municipal ordinance, due on September 17,
                   2009, for WCCL, and January 1. 2010, for P&G Pharma. as provided by Section 8 (a) of the Act;
              ""
                           BE IT FURTHER DECREED, that pursuant to Section 3(b) (3) of the Act. the royalty
            ~      payments that the Grantees make to non-residents of Puerto Rico will be subject to a withholding
                   tax of ten percent ( 10% );

                           BE 1T FURTHER DECREED. that pursuant to Section 2(a) (6) of the Act, the IDI
                   subject to a fixed income tax rate of two percent (2%), will include any net income derived in
                   connection with intangible property or any other right to receive income related to activities or
                   intangible property owned or possessed by the Grantees, including, without limitation, income
                   related to the sale of products manufactured under the intangible property ( even if manufactured
                   outside of Puerto Rico), royalties. up-front fees. and milestone payments, and any net gains from
                   the sale of the intangible property;

                          BE IT FURTHER DECREED, that the minimum tax payment pursuant to Section S(h) of
                   the Act, shall be the fixed income tax rate of two percent (2% ), considering as payment of such
                   minimum tax any amounts withheld on royalty payments;

                           BE IT FURTHER DECREED, that in the case the Grantees is eligible for any of the
                   credits provided by Sections 5 and 6 of the Act. the same shall be subject to the limitations
                   imposed by Section 501} of the Act;




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                          BE IT FURTIIER DECREED~ that this Grant shall be subject to the condition that the
                   Grantees maintain the export billings of the services herein contemplated at a minimum arumal
                   volume of $5,0.00,000 within twelve (12) months after the effectiveness of this Grant;

                           BE IT FURTHER DECREED, that as an essential condition to the issuance and
                   continuance of this Decree, Grantees must comply with a combined employment comrrutment of
                   three hundred and ninety (390) persons 1n its manufacturing operations and ten (I 0) persons in
                   its service activities within the twelve (12) months after the effectiveness of this Grant. and must
                   always continue to so directly employ at least said number of individuals; PROVIDED
                   FURTHER, that to comply with the combined employment requirement of four hundred (400)
                   persons, the Grantees can be allowed to consider full-time, part-time. temporary employees and
                   employees for hire from employment agencies or other third patties rendering services to the
                   Grantees in connection with its exempt operations; PROVIDED, that for purposes of compliance
                   with the minimum employment requirement herein established, the Grantees shall not count
                   people employed by the corporations that subcontract the Grantees, affiliated entitles of the
                   Grantees or other entities doing business in Puerto Rico, unless any employee counted by the
                   Grantees are not counted by that other entity for purposes of determining compliance of its own
                   minimum employment requirement, if any; PROVIDED. that commencing with the first full
                   fiscal year of operations under the Grant after the effective date of the Grant, compliance with
                   said employment requirement shall be determined on an average annual basis, using the weekly
                   employment level and the fiscal year of the Grantees. and the average employment level shall
                   likewise apply .during any partial fiscal year of operations prior to the date of ceasing operations
                   under the Grant;

                           BE IT FURTHER DECREED, that in determining the weekly employment level of direct
                   employees, in order to calculate the Grantees' annual average employment level. the Grantees
                   could include in such calculation any and all employees deemed inactive due to temporary leaves
                   as a result of maternity, non-occupational disability, workmen's compensation related claims,
                   and any other in similar work license;

                           BE IT FURTI,IER DECREED. that in detenninmg the weekly employment level of
                   temporary employees, part-time employees, and employees from employment agencies, in
                   order to calculate the Grantees' annual average employment level, the Grantees shall compute
                   the weekly foll time equivalent employment level by dividing the total number of man-hours
                   for a particular week by forty (40) hours;

                          BE IT FURTHER DECREED. that in determining the weekly employment [eve! of
                   employees, in order to calculate the Grantees' annual average employment level, plant
            ~      shutdowns resulting from strikes, war, actions of the government, or the elements, plant shut-
                   downs for regular maintenance of the facilities as per industry standard, or any other reasonable
                   cause beyond the control of the Grantees shall not be taken into account;

                           BE IT FURTIIER DECREED, that the employment requirement for the service activities
                   mentioned above shall not include the company owners. nor employees of Grantees' associated
                   local concern or employees of the Grantees that renders services for the local market;

                           BE IT ·FURTHER DECREED, that the Grantees must always comply with the
                   employment requirement of the preceding clause, except in cases of unforeseen circumstances
                   which may cause a reduction of employment beyond the control of Grantees, at which
                   occurrence, or at the earliest date when such occurrence is contemplated, the Grantees shall be
                   subject to one of the following alternatives:

                                1. If the reduction represents ten percent (10%) or less of the employment
                                   requirements, the Grantees has no obligation to notify the Office of Industrial
                                   Tax Exemption of said reduction;

                               2. If the reduction represents more than ten percent (10%) but less than twenty
                                  five percent (25%) of the. employment requirement. Grantees shall notify within
                                  thirty (30) days after such reduction occurs, the Office of Industrial Tax
                                  Exemption, with copy to the Department of Labor and Human Resources of




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                                    Puerto Rico and the Industrial Development Company, of said reduction of
                                    employees on a sworn statement sent by certified mail with return receipt
                                    requested, or in the alternative, shall file said sworn statement personally at the
                                    Office of Industrial Tax Exemption with copy to the Department of Labor and
                                    Human Resources of Puerto Rico and the Industrial Development Company;

                                3. If the reduction represents twenty five percent (25%) .or more of the
                                   employment requirement, the Grantees shall file within thirty (30) days after
                                   such reduction occurs, to the satisfaction and acceptance. which acceptance
                                   shall not be unreasonably withheld, with the Office of Industrial Tax Exemption
                                   a sworn application, with copy to the Department of Labor and Human
                                   Resources of Puerto Rico and the Industrial Development Company requesting
                                   approval of the Office of Industrial Tax Exemption for said reduction;
                                   PROVIDED, that the Office of Industrial Tax Exemption shall make a
                                   determination of such application as to whether Grantees shall be deemed to be
                                   in compliance with the employment requirement takin g into consideration such
                                   reasonable grounds for reduction of employment, as for example, but not
                                   limited to, strikes, war. action of a government or of the elements. or any other
                                   reasonable cause beyond the control of the Grantees; PROVIDED, FURTHER,
                                   that it may, in lieu of the cancellation of the Decree on those cases in which the
                                   reduction of twenty five percent (25%) or more of the employment requirement
                                   is not approved:


                                        a. increase the fixed income tax rate and reduce the tax exemption
                                           percentages applicable to property and municipal                licenses
                                           proportionately in a ratio which bears the relation between the reduced
                                           employment to the employment requirement. and/or

                                        b. approve a temporary reduction of the employment requirement when
                                            circumstances so merit by negotiating any other reasonable condition
                                            satisfactory both to the Grantees and the Commonwealth of Puerto Rico,
                                            and, a waiver of the employment requirement will be Granted when in
                                            the judgment of the pertinent Government agencies such terms of the
                                           negotiation further the purposes of industrial development under this
                                           Act;

                           BE IT FURTHER DECREED, that Grantees are waived from compliance with the eighty
            ~      percent (80%) employment level requirement established pursuant to Sections 3'(a) (2) and 3(b)
                   (3) of the Act.

                            BE IT FURTHER DECREED, that notwithstanding the preceding clause. the Grantees
                   herein .shall be subject to the following conditions, in regard of the herein exempt service
                   activities:

                                   I. Eighty percent (80%) of its employees, technicians and/or professionals shall
                                      be residents of Puerto Rico;

                                  2. Such services shall not be utilized directly or indirectly in Puerto Rico, except
                                     those to be rendered to another firm in Puerto Rico that ultimately exports the
                                     designated service product;

                           BE IT FURTHER DECREED, that if at any time during the effectiveness of this Grant
                   such services are utilized directly or indirectly in Puerto Rico, the provisions of this Grant shall
                   not be applicable, and, therefore, such services shall be fully taxable, except those that fall 'within
                   the exception mentioned in the paragraph above;




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                          BE IT FURTHER DECREED. that the Grantees shall make all possible efforts to hire its
                   production workers from the unemployed labor force listed in the Employment Service Division
                   of the Bureau of Employment Security of the Department of Labor and Human Resources of
                   Puerto Rico;

                           BE IT FURTHER DECREED, that if the income of the Grantees or any affiliate of the
                   Grantees is adjusted by a firm and final order of the U.S. Internal Revenue Service pursuant to
                    the United States Internal Revenue Code of 1986. as amended. or by the appropriate tax
                   administration agency or competent authority of any foreign jurisdiction under any comparable
                   and applicable statute of said foreign jurisdiction (hereafter the "Adjustment"), and the
                   Adjustment involved or implied an actual. deemed or implicit decrease or increase, m
                   attributions, assignments, allocations, or imputations made from the Grantees to or from any
                   affiliates thereof in the taxable income of said Grantees as said taxable income had been
                   previously determined by the Grantees on a Puerto Rico income tax return, or would otherwise
                   reflect a tax position inconsistent with a tax reporting position taken by the Grantee for Puerto
                   Rico income tax (including non-resident withholding tax) purposes and. if by a reason of said
                   inconsistent tax treatment or tax reporting position the Grantee or its affiliate may be subject to
                   mconsistent tax treatment and/or potential double taxation, the Commonwealth of Puerto Rico,
                   through the Puerto Rico Treasury Department may issue a credit to the Grantees, without
                   interest, for any excess income taxes previously paid; provided, that if the effect of the
                   Adjustment were an actual, deemed or implicit increase in the Puerto Rico taxable income of the
                   Grantees, the Grantees shall show an amount equal to the Adjustment on an amended Puerto
                   Rico income tax return or the Grantees shall enter into a Closing Agreement with the Puerto Rico
                   Treasury Department and shall pay the corresponding taxes, without the imposition of any
                   interest, surcharges, penalties, or other additions (hereafter the "Correlative Adjustment"). The
                   Grantee acknowledges that die Puerto Rico Treasury Department. under the provisions of the
                   Tax Coordination Agreement entered into between the Puerto Rico Treasury Department and the
                   United States Internal Revenue Service, enacted Circular Letter 06-04 establishing the procedure
                   to request assistance under the Mutual Agreement Procedure on potential double taxation
                   established in the Tax Coordination Agreement between the United States and Puerto Rico. The
                   Grantees shall follow the procedure established in the Circular Letter whenever a situation that
                   would give rise to an Adjustment would require a Correlative Adjustment;

                           BE IT FURTHER DECREED. that the gross Puerto Rico income and Puerto Rico taxable
                   income of those Grantees that have in effect rut election under Section 936 of the United States
                   Internal Revenue Code of 1986, as amended, shall conform with the gross income and taxable

           '4\'    income of the grantees for purposes of the United States Internal Revenue Code of 1986, as
                   amended; provided, that any cost sharing, profit split, royalty. or other analogous, compnrable, or
                   equivalent payments, attributions, assignments. allocations, or imputations made from the
                   Grantees to any affiliates thereof in order to reflect the gross income and taxable income of the
                   grantees or other affiliates for purposes of the United States Internal Revenue Code of l 986, as
                   amended, shall be removed and excluded from. and shall reduce, the Grantees' gross income.
                   taxable income and volume of business for Puerto Rico tax purposes; and provided, that any such
                   payments, attributions, assignments, allocations. or imputations that are made to other affiliates
                   shall be one hundred percent (100%) exempt from income taxes, including income taxes
                   withheld at source. and from municipal license taxes, as provided in Article I 042- 7 of the
                   Regulations issued under the Code;

                           BE IT FURTHER DECREED, that during the term of this Grant. the Grantees will be
                   entitled to all of the benefits. exemptions and special tax rates available under the Act in effect
                   on the date the Grant is signed, to the extent not inconsistent with any special provisions of this
                   Grant; provided. that Grantees shall have the option of availing themselves of any benefits which
                   may in the future become generally available under the Puerto Rico Internal Revenue Code of
                   1994. as amended, the Act and its regulations. or any successor statute, as theses statutes may be
                   amended from time to time;




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                          BE IT FURTHER DECREED. that this Grant shall be subject to the continuing condition
                   that the Grantees shall be required to keep its corporate books and accounts in Puerto
                   Rico;

                          BE IT FURTHER DECREED, that during the period of effectiveness of this Grant the
                   Grantees shall acquire no property and take no other action forbidden by the provisions of
                   Section 16 of the Act. except in regard to Cases No. 04-135-1-29 and 00-135-I-18. 97-8-Rl-2, 82-
                   26-I-98, CI-87-8-151 (82-2~1-98) and 74-57-I-89, in which the application of Section 16 is
                   waived, and the use of previously exempt facilities, land, buildings, machinery and equipment.
                   inventory. supplies, trademarks, and marketing outlets utilized by the Grantees is approved;

                          BE IT FURTHER DECREED, that the tax benefits Granted herein shall be applicable
                   only to the property directly used in connection with the production of the manufactured
                   products or the rendering of the services hereinbefore listed and the fixed tax rate to the
                   industrial development income (as defined in the Act) derived from the production of said
                   manufactured products and/or the rendering of the services listed which give rise to the
                   exemption provided by this decree, and such other property specifically declared exempt by the
                   Act;

                           BE IT FURTHER DECREED. that the Grantees shall comply with all requirements
                   imposed by the Environmental Assessment Report of the Environmental Affairs Office of the
                   Industrial Development Company (Exhibit D;

                          BE IT FURTHER DECREED. that the continuance of this Grant shaU be conditional
                   upon compliance by the Grantees with such regulations and requirements as the Environmental
                   Quality Board of the Commonwealth of Puerto Rico has heretofore promulgated and may
                   hereafter promulgate. relative to the control of water, air, ground and any other environmental
                   pollution; PROVIDED, FURTHER. that Grantees shall obtain all permits applicable to its
                   operations from the Regulations and Permits Administration (RPA) and the Puerto Rico
                   Planning Board;

                          BE IT FURTIIER DECREED. that said tax benefits shall include exemption to the extent
                  provided in the Act from all Commonwealth taxes. and from license fees and other municipal
                  taxes levied by any ordinance of any municipality, except as otherwise herein before provided in
                  this Decree;

                          BE IT FURTHER DECREED, that there shall be excluded from the scope of the benefits
                  of this Grant the operation of retail stores; and the providing of any services in connection with
          ~       the sales of the manufactured products;

                          BE IT FURTHER DECREED. that the Grantees shall make all possible efforts to buy
                  from local enterprises the products. services, materials. components, equipment and machinery
                  available in Puerto Rico. that are necessary for its operations; the Grantees shall annually
                  demonstrate to the Office of Industrial Tax Exemption the measures taken to increase their local
                  purchases from other manufacturers or distributors in the island;

                          BE IT FURTHER DECREED, that the Grant shall not include exemption from:

                                 a. Workmen's compensation premiums as provided by law:
                                 b. Fees for motor vehicle licenses or plates;
                                 c. Taxes levied under Act No. 286, of April 6, I 946;

                          BE IT FURTHER DECREED. that as a condition to the continuance of the tax benefits
                  hereby Granted the Gran tees shall be required, in conformance with Section l 8- of the AcL to file
                  with the Secretary of the Treasury of the Commonwealth of Puerto Rico {"Secretary of the
                  Treasury"), regardless of its gross or net income, an annual income tax return, separate from any
                  other return it is required to file. in relation to the business operations covered by this Grant and
                  in accordance with the Puerto Rico Internal Revenue Code of 1994, as amended (the "Code"), as
                  amended; the exempted business shall also be required to keep in Puerto Rico the accounting
                  records relative to its operations separately, as well as the necessary records and files, and to




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                   make and submit such sworn statements! and comply with the rules and regulations in force for
                   the proper fulfillment of the purposes under the Code and that the Secretary of the Treasury may
                   prescribe from time to time in connection with the levying and collection of all kinds of taxes;
                   every exempted business shall .file duly completed reports and surveys for the preparations of
                   statistics and economic studies tbat may be requested by the Executive Director of the Puerto
                   Rico Industrial Development Company in the performance of his duties; provided. further. that
                   the Gran tees shall file duly completed reports that may be requested by the Office of the
                   Commissioner of Financial Institutions;

                          BE IT FURTHER DECREED. that the Grantees shall comply with the obligations set
                   pursuant Section 18 ( d) of the Act. to submit an annual report to the Office of Industrial Tax
                   Exemption. with copies to the Secretary of the Treasury and the Executive Director of the Puerto
                   Rico Industrial Development Company, within the time limit of thirty (30) days after the date
                   provided by law to submit income tax returns. including any extensions; PROVIDED that .not
                   compliance with this obligation can expose Grantees to fines and/or other administrative
                   sanctions as the revocation of the Grant approved;

                           BE IT FURTHER DECREED. that the Executive Director of the Municipal Revenue
                   Collection Center (MRCC) and the Secretary of the Treasury shall determine for each taxable
                   year covered by this exemption what property and what income the Grantees has used in, or
                   derived from the industrial operations hereby declared tax exempt; PROVIDED, that nothing
                   contained herein shall deprive the Grantees of its right to administrative and judicial review of
                   such determinations of the Executive Director of the MRCC and the Secretary of the Treasury
                   available by Constitution, Law or Regulation:

                           BE IT FURTHER DECREED, that the Executive Director of the MRCC and the
                   Secretary of the Treasury, in determining what property has been used in and what income has
                   been derived from the industrial operations of the Grantees hereby declared tax exempt, may
                   review the accounts and records of the Grantees to determine that all purchase prices, sales
                   prices, rates of lease, overhead or any other cost allocations, and all other prices, rates, and cost
                   allocations are fixed on the basis of normal business operations and not for the purposes of
                   avoiding truces ordinarily chargeable to activities not within the scope of the industrial operations
                   covered by this Grant or of charging to the operations carried on outside of Puerto Rico:
                   PROVIDED, that whenever it is found that such rates or charges are made for the purposes of
                   extending the coverage of the Grant beyond the scope of the covered operations reasonable
                   adjustments shall be made for the purpose of calculating the amount of truces payable by the
                   Grantees, if any, and shall make such recommendations to the Secretary of the Department of
                   Economic Development and Commerce as to such other action as may be taken under the
           ~       provisions of Section 13 of the Act and the Rules and Regulations promulgated hereunder;
                   PROVIDED, that nothing contained herein shall deprive the Grantees of its right to
                   administrative and judicial review of such determination of the Executive Director of the MRCC
                   and the Secretary of the Treasury available by Constitution, Law or Regulation;

                           BE IT FURTHER DECREED, that Grantees must comply with all the laws. rules,
                   regulations, orders and ordinances promulgated by the Commonwealth of Puerto Rico, its
                   agencies and municipalities which are applicable to Grantees' operations, including all the
                   provisions of Act No. 73, which are applicable to Grantees. and all rules and regulations
                   promulgated pursuant to the Act, regardJess of whether or not said provisions are specifically
                   mentioned in this Grant;

                          BE IT FURTHER DECREED, that the Grantees must pay or clarify any possible income
                   tax debt, employee withhoJding income tax and any other debt notified by the Department of the
                   Treasury of the Commonwealth of Puerto Rico. Otherwise, the Grant could be temporarily or
                   permanently revoked;




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                           BE IT FURTHER DECREED, that upon its acceptance by Grantees, this Grant
                   constitutes a contract between the Commonwealth of Puerto Rico and the Grantees, its
                   shareholders, partners or owners, and said Contract will be the law between the parties involved.
                   Said Contract will be interpreted liberally, pursuant to the purposes of the Act of promoting the
                   economic and social development of Puerto Rico. The Secretary oftbe Department of Economic
                   Development and Commerce has the discretion to include, in the name and in representation of
                   the Government of Puerto Rico, all the terms and conditions, concessions and exemptions that
                   are consistent with the purpose of this Law and that promote the creation of jobs through the
                   economic and social development of Puerto Rico, taking into consideration the nature of the
                   application or the request submitted including the facts and other related circumstances with
                   respect each case in particular that could be applicable:

                          BE IT FURTHER DECREED, that this Grant shall become retroactively null and void
                  unless the Grantees shall file with the Office of Industrial Tax Exemption, within ninety (90)
                  days after the receipt of this Grant by the Grantees, a duly notarized and sworn declaration
                  wherein the Grantees expresses its unconditional acceptance of this. Grant and of all the
                  conditions, provisions, and findings which are an integral part hereof;

                         BE IT FURTHER DECREED, that upon receipt of this Grant, the Director of the Office
                   oflndustrial Tax Exemption shall immediately forward a copy to the Grantees.




                                                                                    R. PEREZ RIERA
                                                                       SECRffii.{RY OF THE DEPARTMENT
                                                                       OF ECONOMIC DEVELOPMENT AND
                                                                       COMMERCE


                                                                               DEC 2 3 2009




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                                       Schedule 1.l(y)
                                   Buyer Parent Knowledge

        Eyal Desheh
        David Stark




        LA_LANOJ :284952.6




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                                               Schedule 1.l(z)
                                       Draft Debt Commitment Letter

        The draft debt commitment letter from Bank of America Merrill Lynch International Limited,
        Bank of America N.A., London Branch, Barclays Bank PLC, BNP Paribas Fortis SA/NV,
        Citibank, N.A., Credit Suisse AG, Cayman Islands Branch, Credit Suisse Securities (USA) LLC,
        HSBC Bank pk, Mizuho Bank, Ltd., Royal Bank of Canada and Sumitomo Mitsui Banking
        Corporation Banking Corporation provided to Seller Parent on July 26, 2015 shall be deemed to
        be customary for similar acquisition financings ( except for the provisions contemplating the
        investment grade condition and a termination date that is earlier than the termination date in the
        Agreement), and all such banks and institutions shall be acceptable.




        LA_LANO 1 :284952.6




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               Schedule 2.1 (b )(vii) - Patents, Licensed Patents, Marks and Licensed Marks




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                                                                                                                EXECUTION VERSION
                                                                                                                     CONFIDENTIAL


              Pha rmaceutica I        Title         Country    Filing     Appl. No.    Status    Patent No.   Approximate      Owner
                  Product                                      Date                                            Expiration
                                                                                                                 Date

               Aminophylline     Bronchodilatatio     BG      16/12/199   BG103023     Granted    BG63965      16/12/2018   Balkan ph arm a
                formulations             n                        8                                                          Dupnitza AD
                                 Med icamentous
                                      Form
                  Aspartate      Film-tablet Form     BG      28/01/199   BG 103125    Pending    BG64373      28/02/2019   Balkan ph arm a
                formulations         of Active                    9                                                          Dupnitza AD
                                  Potassium and
                                 Magnesium DL-
                                     Aspartate
                                  Substance and
                                   Method for its
                                    Preparation
               Atomoxetine         Atomoxetine        DE      23/12/200   04815693.9   Granted   EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                            PTC ehf
               Atomoxetine         Atomoxetine        EP      23/12/200   04815693.9   Granted   EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                            PTC ehf
               Atomoxetine         Atomoxetine        ES      23/12/200   04815693.9   Granted   EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                            PTC ehf
               Atomoxetine         Atomoxetine        FR      23/12/200   04815693.9   Granted   EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                            PTC ehf
               Atomoxetine         Atomoxetine        GB      23/12/200   04815693.9   Granted   EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                            PTC ehf
               Atomoxetine         Atomoxetine        IT      23/12/200   04815693.9   Granted   EP1715856     23/12/2024   Actavis Group
               Formulations        Formulations                   4                                                            PTC ehf
               Ciprofloxacine      Composition        BG      09/09/199   BG102756     Granted    BG63287      09/09/2018   Balkanpharma
                formulations     And Method For                   8                                                          Dupnitza AD
                                 The Preparation
                                       Of A
                                 Med icamentous
                                      Form
                Conjugated        Compositions        CA      8/27/2004   2,539,872    Granted    2,539,872    August2024      Watson
                 estrogens       For Conjugated                                                                             Laboratories,
                                 Estrogens And                                                                                   Inc.
                                   Associated
                                    Methods
                Conjugated        Compositions        EP      8/27/2004   04782556.7   Granted    1,689,372    August2024     Watson
                 estrogens       For Conjugated                                                                             Laboratories,
                                 Estrogens And                                                                                  Inc.

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                                     Associated
                                      Methods
              Controlled-release      Improved       CA   2/8/2002    2,44 3,915   Granted   2,433,915   February 2019       Andrx
                 bupropion           Controlled                                                                          Pharrn aceutica
                                    Release Oral                                                                            Is, LLC
                                    Dosage Form
              Controlled-release     Improved        CA   2/8/2002    2,685,214    Granted   2685214     February 2019       Andrx
                 bupropion           Controlled                                                                          Pharm aceutica
                                    Release Oral                                                                            Is, LLC
                                    Dosaqe Form
              Controlled-release     Improved        us   2/8/2001    09/905,712   Granted   6,589,553   February 2019       Andrx
                  bupropion           Controlled                                                                         Pharmaceutica
                                     Release Oral                                                                           Is, LLC
                                     Dosage Form
              Controlled-release       Improved      us   2/8/2002    10/071,257   Granted   8,545,880   February 2019       Andrx
                 bupropion            Controlled                                                                         Pharmaceutic a
                                     Release Oral                                                                           Is, LLC
                                     Dosaqe Form
              Controlled-release       Improved      us   5/9/2003    10/435,012   Granted   6,905,708   February 2019       Andrx
                 bupropion            Controlled                                                                         Pharmaceutic a
                                     Release Oral                                                                           Is, LLC
                                     Dosage Form
              Controlled-release       Improved      us   3/1/2005    11/069,435   Granted   7,771,750   February 2019       Andrx
                 bupropion            Controlled                                                                         Pharrnaceutica
                                     Release Oral                                                                           Is, LLC
                                     Dosaae Form
              Controlled-release       Improved      us   7/14/2010   12/835,863   Granted   8,747,898   February 2019       Andrx
                 bupropion            Controlled                                                                         Pharrnaceutica
                                     Release Oral                                                                           Is, LLC
                                     Dosaqe Form
              Con trolled-release        Stable      us   11/21/200   10/301,474   Granted   6,893,660   December 2022       Andrx
                  bupropion         Pharmaceutical            2                                                          Pharmaceutica
                                     Composition                                                                            Is, LLC
                                        Without
                                      Stabilizers
              Controlled-release         Stable      us   1/3/2005    11/028,391   Granted   8,501,227   December 2022       Andrx
                 bupropion          Pharmaceutical                                                                       Pharmaceutica
                                     Composition                                                                            Is, LLC
                                       Without
                                      Stabilizers




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              Controlled-release       Two Pellet      CA    11/1/1999   2,349,696   Granted   2,349,696   November 2019        Andrx
                   diltiazem            Controlled                                                                         Ph annaceu tic a
                                         Release                                                                               Is, LLC
                                     Formulation For
                                      Water Soluble
                                      Drugs Which
                                       Contains An
                                      Alkaline Metal
                                         Stearate
              Controlled-release         Diltiazem     CA    7/16/1999   2,338,070   Granted   2,338,070     July 2019         Andrx
                  diltiazem             Controlled                                                                         Phannaceutica
                                         Release                                                                              Is, LLC
                                     Formulation and
                                        Method of
                                       Manufacture
              Controlled-release         Diltiazem     CA    8/10/2006   2,617,351   Granted   2,617,351    August2026          Watson
                  diltiazem             Controlled                                                                         Phannaceutica
                                         Release                                                                            Is, Inc. (n/k/a
                                     Formulation And                                                                        Actavis, Inc.)
                                        Method Of
                                       Manufacture
              Con tro lied-release       Diltiazem     EPO   8/10/2006   6801043.8   Pending                                    Watson
                   diltiazem            Controlled                                                                         Phannaceutica
                                         Release                                                                            Is, Inc. (n/k/a
                                     Formulation And                                                                        Actavis, Inc.)
                                        Method Of
                                       Manufacture
              Controlled-release        Two Pellet     NZ    11/1/1999    511448     Granted    511448     November 2019       Andrx
                  diltiazem             Controlled                                                                         Phannaceutica
                                         Release                                                                              Is, LLC
                                     Formulation For
                                      Water Soluble
                                      Drugs Which
                                       Contains An
                                      Alkaline Metal
                                         Stearate
              Controlled-release        Two Pellet     us    11/6/1998   09/187319   Granted   6,270,805   November 2018       Andrx
                  diltiazem             Controlled                                                                         Ph annaceutica
                                         Release                                                                               Is, LLC
                                     Formulation For
                                      Water Soluble
                                      Drugs Which
                                       Contains An
                                      Alkaline Metal




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                                       Stearate




              Con trolled-release      Diltiazem      us   7/20/1998   09/119,323    Granted   6,524,620     July 2018         Andrx
                   diltiazem           Controlled                                                                          Pharmaceutic a
                                        Release                                                                               Is, LLC
                                    Formulation and
                                       Method of
                                      Manufacture
              Con trolled-release      Diltiazem      us   8/11/2005   11/201,747    Granted   8,778,395   October 2029     Andrx Labs,
                   diltiazem           Controlled                                                                              LLC
                                        Release
                                    Fonnulation And
                                       Method Of
                                      Manufacture
              Controlled-release       Controlled     CA   7/19/2007    2,657,913    Pending                                 Watson
              hydrocodone and           Release                                                                            Laboratories,
               acetaminophen         Formulations                                                                              Inc.
                                    and Associated
                                        Methods
              Controlled-release       Controlled     JP   7/19/2007   2009-520861   Pending                                 Watson
              hydrocodone and           Release                                                                            Laboratories,
               acetaminophen         Formulations                                                                              Inc.
                                    and Associated
                                        Methods
              Controlled-release       Controlled     NZ   7/19/2007     574325      Granted    574325       July 2027       Watson
              hydrocodone and           Release                                                                            Laboratories,
               acetaminophen         Formulations                                                                              Inc.
                                    and Associated
                                        Methods
              Controlled-release       Controlled     us   7/19/2006   11/458,651    Granted   8,765,178   February 2029     Watson
              h yd rocodone and         Release                                                                            Laboratories,
               acetaminophen         Formulations                                                                              Inc.
                                    and Associated
                                        Methods
              Controlled-release       Controlled     us   6/29/1998   09/106,609    Granted   6,197,347    June 2018          Andrx
                 Ketoprofen          Release Oral                                                                          Ph armaceutica
                                     Dosaqe Form                                                                              Is, LLC
              Controlled-release       Controlled     us   8/11/2000   09/637,404    Granted   6,238,703                       Andrx
                 Ketoprofen          Release Oral                                                                          Pharmaceutica
                                     Dosace Form                                                                              Is, LLC




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              Controlled-release   Oral Controlled    us   12/2/2003      10/726,024       Granted    7,988,993   February 2026          Andrx
               methylphenidate     Release Dosage                                                                                 Pharmaceutica
                                         Form                                                                                           Is, Inc.
              Controlled-release    Oral Controlled   us   7/11/2011      13/179,830       Granted    8,252,327   December 2023          Andrx
               methylphenidate     Release Dosage                                                                                 Pharmaceutica
                                         Form                                                                                           Is, Inc.
              Controlled-release    Oral Controlled   us   8/20/2012      13/590,061       Pending                                       Andrx
               methylphenidate     Release Dosage                                                                                 Pharmaceutica
                                         Form                                                                                           Is, Inc.
              Controlled-release    Oral Controlled   CN   3/1/2007     200780007189 .5     To be                                      Watson
                  Zolpidem             Release                                            abandoned                               Pharmaceutica
                                   Formulation For                                                                                 Is, Inc. (n/k/a
                                    Sedative And                                                                                   Actavis, Inc.)
                                   Hvonotic Aaents
              Controlled-release    Oral Controlled   IN   3/1/2007    3270/KOL NP/2008     To be                                      Watson
                  Zolpidem             Release                                            abandoned                               Pharmaceutica
                                   Formulation For                                                                                 Is, Inc. (n/k/a
                                    Sedative And                                                                                   Actavis, Inc.)
                                   Hypnotic Acents
              Controlled-release    Oral Controlled   JP   3/1/2007      2008-557414        To be                                      Watson
                  Zolpidem             Release                                            abandoned                               Pharmaceutica
                                   Formulation For                                                                                 Is, Inc. (n/k/a
                                    Sedative And                                                                                   Actavis, Inc.)
                                   Hypnotic Aqents
              Controlled-release    Oral Controlled   us   2/28/2007      11/712,133       Granted    8,309,104   February 2029        Watson
                  Zolpidem             Release                                                                                    Pharmaceutica
                                   Formulation For                                                                                 Is, Inc. (n/k/a
                                    Sedative And                                                                                   Actavis, Inc.)
                                   Hvonotic Aaents
              Crystalline Sodium      Crystalline     BR   8/14/2006     Pl 061.4279-6     Pending                                     Arrow
                 Atorvastatin          Sodium                                                                                      International
                                     Atorvastatin                                                                                   Limited co-
                                                                                                                                    owner with
                                                                                                                                  Zhejiang Neo-
                                                                                                                                     Dankong
                                                                                                                                    Pharm. Co.
                                                                                                                                        Ltd.
              Crystalline Sodium      Crystalline     BR   2/14/2008     Pl 061.4280-0     Pending                                     Arrow
                 Ato rvastatin         Sodium                                                                                      International
                                     Atorvastatin                                                                                   Limited co-
                                                                                                                                    owner with
                                                                                                                                  Zhejiang Neo-
                                                                                                                                     Dankong
                                                                                                                                    Pharm. Co.




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                                                                                                                                 Ltd.



             Crystalline Sodium    Crystalline   CA   8/14/2006      2,619,486       Pending                                     Arrow
                Atorvastatin        Sodium                                                                                   International
                                  Atorvastatin                                                                                Limited co-
                                                                                                                              owner with
                                                                                                                            Zhejiang Neo-
                                                                                                                               Dankong
                                                                                                                              Pharrn . Co.
                                                                                                                                  Ltd.
             Crystalline Sodium    Crystalline   CA   8/14/2006      2,619,040       Granted     2,619,040     August2026        Arrow
                Atorvastatin        Sodium                                                                                   International
                                  Atorvastatin                                                                                Limited co-
                                                                                                                              owner with
                                                                                                                            Zhejiang Neo-
                                                                                                                               Dankong
                                                                                                                              Pharrn . Co.
                                                                                                                                  Ltd.
             Crystalline Sodium    Crystalline   CN   8/14/2006   200680034 164 .X   Granted        ZL         August2026        Arrow
                Atorvastatin        Sodium                                                     200680034164.                 International
                                  Atorvastatin                                                       X                        Limited co-
                                                                                                                              owner with
                                                                                                                            Zhejiang Neo-
                                                                                                                               Dankong
                                                                                                                              Pharrn. Co.
                                                                                                                                  Ltd.
             Crystalline Sodium    Crystalline   EP   8/14/2006     06765276.8       Granted      1928823      August2026        Arrow
                Atorvastatin        Sodium                                                                                   International
                                  Atorvastatin                                                                                Limited co-
                                                                                                                              owner with
                                                                                                                            Zhejiang Neo-
                                                                                                                               Dankong
                                                                                                                              Pharm. Co.
                                                                                                                                  Ltd.
             Crystalline Sodium   Crystalline    EP   8/14/2006     06765284.2       Granted      1924555      August2026        Arrow
                Atorvastatin       Sodium                                                                                    International
                                  Atorvastatin                                                                                Limited co-
                                                                                                                              owner with
                                                                                                                            Zhejiang Neo-
                                                                                                                               Dankong
                                                                                                                              Pharrn. Co.
                                                                                                                                  Ltd.




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             Crystalline Sodium    Crystalline   NZ   2/27/2008    566286      Granted    566286      August2026           Arrow
                Atorvastatin        Sodium                                                                             International
                                  Atorvastatin                                                                          Limited co-
                                                                                                                        owner with
                                                                                                                      Zhejiang Neo-
                                                                                                                         Dankong
                                                                                                                        Pharm . Co.
                                                                                                                            Ltd.
             Crystalline Sodium    Crystalline   NZ   2/27/2008    566287      Granted    566287      August2026           Arrow
                Atorvastatin        Sodium                                                                             International
                                  Atorvastatin                                                                          Limited co-
                                                                                                                        owner with
                                                                                                                      Zhejiang Neo -
                                                                                                                         Dankong
                                                                                                                        Phann . Co.
                                                                                                                            Ltd.
             Crystalline Sodium   Crystalline    us   8/15/2006   11/504,104   Granted   8,097,734   February 2028         Arrow
                Atorvastatin        Sodium                                                                             International
                                  Atorvastatin                                                                          Limited co-
                                                                                                                        owner with
                                                                                                                      Zhejiang Neo-
                                                                                                                         Dankong
                                                                                                                        Pharrn, Co.
                                                                                                                           Ltd.
             Crystalline Sodium    Crystalline   us   12/13/201   13/324,678   Granted   8,329,922   September 2026        Arrow
                A to rvastatin      Sodium                1                                                            International
                                  Atorvastatin                                                                          Limited co-
                                                                                                                        owner with
                                                                                                                      Zhejiang Neo-
                                                                                                                         Dankong
                                                                                                                        Pharm. Co.
                                                                                                                           Ltd.
             Crystalline Sodium    Crystalline   us   8/15/2006   11/504,103   Granted   8,017,647     June 2027           Arrow
                Atorvastatin        Sodium                                                                             International
                                  Atorvastatin                                                                          Limited co-
                                                                                                                        owner with
                                                                                                                      Zhejiang Neo-
                                                                                                                         Dankong
                                                                                                                       Pharm. Co.
                                                                                                                          Ltd.
             Crystalline Sodium    Crystalline   us   5/20/2011   13/112,377   Granted   8,440,712    August2026           Arrow
                Atorvastatin        Sodium                                                                             International
                                  Atorvastatin                                                                          Limited co-
                                                                                                                        owner with




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                                                                                                                         Zhejiang Neo-
                                                                                                                           Dankong
                                                                                                                          Pharm . Co.
                                                                                                                              Ltd.
              Delayed-release    Solid Batched       BG   07/06/199   BG100651     Granted   BG62717      07/01/2016     Balkanpharma
                 medicines       Med icamentous               6                                                           Dupnitza AD
                                    Form s Of
                                    Delayed
                                   Release
              Delayed-release      Once Daily        us   1/31/1997   08/792,001   Granted   5,922,352   January 2017        Andrx
                 nifedipine          Calcium                                                                             Pharmaceutica
                                 Channel Blocker                                                                            Is, Inc.
                                    Having A
                                     Delayed
                                  Release Core
              Delayed-Release     Antih istam in e   us   11/8/2002   10/291,103   Granted   8,092,831   October 2026        Andrx
              Pseudoephedrine           and                                                                              Pharmaceutica
                                  Decongestant                                                                              Is, LLC
                                     System
              Extended-release   Oral Extended-      CA   6/16/2004   2,673,334    Granted   2,673,334     June 2024          Andrx
               clarith romycin       Release                                                                             Ph armaceutlca
                                   Comoosition                                                                               Is, LLC
              Extended-release   Oral Extended-      CA   6/16/2004   2,675,724    Granted   2,675,724     June 2024          Andrx
               clarith romycin       Release                                                                             Ph armaceutica
                                   Composition                                                                               Is, LLC
              Extended-release    Oral Extended-     CA   6/16/2004   2,529,746    Granted   2,529,746     June 2024          Andrx
               clarith romycin       Release                                                                             Ph arrnaceutica
                                   Comoosition                                                                               Is, LLC
              Extended-release    Oral Extended-     EP   6/16/2004   12176084.7   Pending                                    Andrx
               clarithromycin        Release                                                                             Ph armaceutica
                                   Composition                                                                               Is, LLC
              Extended-release    Oral Extended-     EP   6/16/2004   12176088.8   Pending                                    Andrx
               clarithromycin        Release                                                                             Ph armaceunca
                                   Composition                                                                               Is, LLC
              Extended-release   Oral Extended-      EP   6/16/2004   4776663.9    Pending                                    Andrx
               clarith romycin       Release                                                                             Ph armaceutica
                                   Composition                                                                               Is, LLC
              Extended-release    Oral Extended-     us   10/16/200   10/869,497   Granted   7,476,403   December 2025        Andrx
               clarithromycin        Release                  4                                                          Pharmaceufica
                                   Composition                                                                               Is, LLC
              Extended-release    Oral Extended-     us   12/3/2008   12/327,477   Granted   8,628,797   December 2025        Andrx
               clarith romycin       Release                                                                             Ph armaceutica
                                   Composition                                                                               Is, LLC




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              Extended-release   Enteric Coated    us   6/21/1996    08/667,308     Granted   5,830,503    Novembeer           Andrx
                  diltiazem      Diltiazem Once-                                                             2016         Ph armaceu tic a
                                       A-Day                                                                                  Is, LLC
                                    Formulation
              Extended-release   Formulation and   us   7/11/2003     10/617,456    Granted   7,314,640     July 2025         Andrx
                 metoprolol         Process for                                                                           Pharmaceutica
                  succinate        Drug Loaded                                                                               Is, LLC
                                       Cores
              Extended-release   Formulation and   us   10/19/200     11/975,519    Granted   7,790,200     July 2023         Andrx
                 metoprolol         Process for             7                                                             Pharmaceutica
                  succinate        Drug Loaded                                                                               Is, LLC
                                       Cores
              Extended-release   Formulation and   us   8/10/2010     12/853,820    Pending                                   Andrx
                 metoprolol         Process for                                                                           Pharmaceutic a
                  succinate        Drug Loaded                                                                               Is, LLC
                                       Cores
              Extended-release       Extended      HK   10/29/200    10111018.3     Pending                                    Andrx
                 venlafaxine          Release               4                                                             Ph armaceu tic a
                                    Venlafaxine                                                                               Is, LLC
                                    Formulation
              Extended-release       Extended      us   11 /17/200    10/715,219    Granted   7,470,435   December 2025       Andrx
                 venlafaxine          Release                3                                                            Pharmaceutica
                                    Venlafaxine                                                                              Is, LLC
                                    Formulation
              Extended-release       Extended      us   11/17/200     12/313,340    Granted   7,931,915   November 2023       Andrx
                 venlafaxine          Release               3                                                             Pharrnaceutica
                                   Venlafaxine                                                                               Is, LLC
                                    Formulation
              Extended-release       Extended      us   3/18/2011     13/051,076    Granted   8,668,932   November 2024        Andrx
                 venlafaxine          Release                                                                             Ph armaceutica
                                    Venlafaxine                                                                               Is, LLC
                                    Formulation
                 Finasteride     Formulations Of   EP   21/11/200    03811862.6     Pending       -             -         Actavis Group
                Formu lations       Finasteride             3                                                                   hf
                 Finasteride     Formulations Of   IS   21/11/200       7888        Pending       -             -         Actavis Group
                Formu lations       Finasteride             3                                                                   hf
                 Gabapentin         Gabapentin     us   10/23/200     10/040,251    Granted   6,683,112   November 2021       Andrx
                   prodrug        Prodrugs and              1                                                              Corporation
                                   Formulations
               Lansoprazole        Stable R(+)-    BR   5/12/2009    Pl 0912478-0   Pending                                   Watson
                Amine Salt        Lansoprazole                                                                                Pharma
                                 Amine Salt and                                                                           Private Limited
                                  a Process For
                                  Preparinq The




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                                     Same



               Lan so prazole    Stable R(+)-      NZ   5/12/2009       589150       Granted    589150      May2029          Watson
                Amine Salt       Lansoprazole                                                                                Pharma
                                Amine Salt and                                                                           Private Limited
                                a Process For
                                Preparing The
                                     Same
               Lan soprazole      Stable R(+)-     us   11 /10/201     12/992,034    Granted   8,362,042    May2029          Watson
                Amine Salt       Lansoprazole                0                                                               Pharma
                                Amine Salt and                                                                           Private Limited
                                a Process For
                                Preparing The
                                     Same
               Lansoprazole       Stable R(+)-     ZA   5/12/2009     2010/08188     Granted   2010/08188   May2029          Watson
                Amine Salt       Lansoprazole                                                                                Pharma
                                Amine Salt and                                                                           Private Limited
                                a Process For
                                Preparing The
                                     Same
                Laquinamod        Highly Pure      IN   17/12/200    3167/CHE/2008   Pending       -            -        Actavis Group
                polymorphs      Laquinimod Or               8                                                               PTC ehf
                                       A
                                Pharmaceutical!
                                  y Acceptable
                                  Salt Thereof
                Laquinamod         Highly Pure     us   15/12/200      13/603,554    Pending       -            -        Actavis Group
                polymorphs       Laquinimod Or              9                                                               PTC ehf
                                       A
                                Pharmaceutic all
                                   y Acceptable
                                   Salt Thereof
                Laquinimod          Novel Solid    us   30/06/200      13/001,715    Granted   8,354,428    30/06/2029   Actavis Group
                Polymorphs      State Forms Of              9                                                               PTC ehf
                                Laquinimod And
                                 Its Sodium Salt
                 Linezolid             -           IS   29/01/201       050044       Pending       -            -        Actavis Group
                formulations                                3                                                               PTC ehf
                 Loratadine         Rapidly        us   9/28/2004      10/951,737    Granted   8,529,946    May2028          Andrx
                                Disintergrating                                                                          Pharmaceutica
                                Antihistamine                                                                               Is, LLC
                                 Formulation




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              Modified-release      Modified       us   11 /30/201   12/956,036     Granted   8,597,683   October 2031        Watson
              tranexamic acid        Release                 0                                                           Pharmaceutica
                                   Tranexamic                                                                             Is, Inc. (n/k/a
                                       Acid                                                                               Actavis, Inc.)
                                   Formulation
              Modified-release       Modified      us   11 /19/201   14/083,563     Pending                                   Watson
              tranexamic acid        Release                 3                                                           Pharmaceutica
                                   Tranexamic                                                                             Is, Inc. (n/k/a
                                       Acid                                                                               Actavis, Inc.)
                                   Formulation
              Nicotine chewing      Stabilized     AU   11/24/200    2009324945     Pending                                 Watson
                     gum             Nicotine               9                                                            Laboratories,
                                 Chewinq Gum                                                                                  Inc.
              Nicotine chewing      Stabilized     BR   11/24/200    P 10915256-3   Pending                                 Watson
                     gum             Nicotine               9                                                            Laboratories,
                                 Chewina Gum                                                                                  Inc.
              Nicotine chewing      Stabilized     CA   11/24/200     2,742,373     Pending                                 Watson
                     gum             Nicotine               9                                                            Laboratories,
                                 Chewina Gum                                                                                  Inc.
              Nicotine chewing      Stabilized     us   11/25/200    12/277,590     Granted   8,506,936   January 2030      Watson
                     gum             Nicotine               8                                                            Laboratories,
                                 Chewina Gum                                                                                  Inc.
                 Olanzapine          Rapidly       DE   02/03/200    06711375.3     Granted    1863443     02/03/2026    Actavis Group
                formulations      Disintegrating            6                                                               PTC ehf
                                  Dosage Form
                                   Comprising
                                   Magnesium
                                    Carbonate
                                      Heavv
                 Olanzapine             A          DE   27/10/200    06831860.9     Granted   EP1928428    27/10/2026    Actavis Group
                formulations     Pharmaceutical             6                                                               PTC ehf
                                   Formulation
                                    Containing
                                   Olanzaoine
                 Olanzapine          Rapidly       EP   02/03/200    06711375.3     Granted    1863443     02/03/2026    Actavis Group
                formulations      Disintegrating            6                                                               PTC ehf
                                  Dosage Form
                                   Comprising
                                   Magnesium
                                    Carbonate
                                      Heaw
                 Olanzapine              A         EP   27/10/200    06831860.9     Granted   EP1928428    27/10/2026    Actavis Group
                formulations     Pharmaceutical             6                                                               PTC ehf
                                   Formulation




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                                Containing
                                Olanzapine
                 Olanzapine           A          ES   27/10/200    06831860.9   Granted   EP1928428    27/10/2026     Actavis Gro up
                formulations   Pharm aceutical            6                                                              PTC ehf
                                 Form ulation
                                 Containing
                                 Olanza pine
                 Olanzapine        Rapidly       FR   02/03/200    06711375.3   Granted    18634 43    02/03/2026     Actavis Gro up
                formulations    Disintegrating            6                                                              PTC ehf
                                Dosage Form
                                 Comprising
                                 Magnesium
                                  Carbonate
                                    Heavy
                 Olanzapine           A          FR   27/10/200    06831860.9   Granted   EP1928428    27/10/2026     Actavis Group
                formulations   Pharm aceutical            6                                                              PTC ehf
                                 Form ulation
                                  Containing
                                 Olanzaoine
                 Olanzapine        Rapidly       GB   02/03/200    06711375.3   Granted    1863443     02/03/2026     Actavis Group
                formulations    Disintegrating            6                                                              PTC ehf
                                Dosage Form
                                 Comprising
                                 Magnesium
                                  Carbonate
                                    Heavy
                 Olanzapine           A          GB   27/10 /200   06831860.9   Granted   EP1928428    27/10/2026     Actavis Group
                formulations   Pharm aceutical            6                                                              PTC ehf
                                 Form ulation
                                 Containing
                                 Olanza pine
                Olanzapine            A          IT   27/10/200    06831860.9   Granted   EP1928428    27/10/2026     Actavis Group
                formulations   Pharmaceutical             6                                                              PTC ehf
                                Formulation
                                 Containing
                                 Olanzapine
                Omeprazole      Omeprazole       us   11 /14/199   08/970,489   Granted   6,096,340   November 2017       Andrx
                                Formulation               7                                                           Pharmaceutica
                                                                                                                         Is LLC
                Omeprazole      Omeprazole       us   6/18/1999    09/335,575   Granted   6,077,541   November 2017       Andrx
                                Formulation                                                                           Pharmaceutica
                                                                                                                         Is, LLC
                Omeprazole      Omeprazole       us   10/23/200    10/279,622   Granted   6,780,435   Novmeber 2017       Andrx
                                Formulation               2                                                           Pharmaceutica




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                                                                                                                         Is, LLC
                Process for   Preparation of     AU   5/19/2006    2006248745      Granted    2006248745    May2026        Arrow
                 preparing    Famciclovir and                                                                          International
                famciclovir    Other Purine                                                                             Limited co-
                                Derivatives                                                                             owner with
                                                                                                                        Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                      Pharmaceutic a
                                                                                                                         I Co., Ltd.
                Process for    Preparation of    BR   5/19/2006    Pl 0609632-8    Pending                                 Arrow
                 preparing    Famciclovir and                                                                          International
                famciclovir    Other Purine                                                                             Limited co-
                                Derivatives                                                                             owner with
                                                                                                                        Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                      Pharmaceutica
                                                                                                                         I Co., Ltd.
                Process for    Preparation of    CA   5/19/2006     2,608,490      Granted     2,608,490    May2026        Arrow
                 preparing    F amciclovir and                                                                         International
                famciclovir     Other Purine                                                                            Limited co-
                                 Derivatives                                                                            owner with
                                                                                                                        Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                      Ph armaceutica
                                                                                                                         I Co., Ltd.
                Process for    Preparation of    CN   5/19/2006   200680017571.X   Granted   CN101233134B   May2026        Arrow
                 preparing    Famciclovir and                                                                          International
                famciclovir    Other Purine                                                                             Limited co-
                                Derivatives                                                                             owner with
                                                                                                                        Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                      Ph armaceutica
                                                                                                                         I Co., Ltd
                Process for    Preparation of    EP   5/19/2006     06743955.4     Granted     1,883,639    May2026        Arrow
                 preparing    Famciclovir and                                                                          International
                famciclovir    Other Purine                                                                             Limited co-
                                Derivatives                                                                             owner with
                                                                                                                        Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                      Pharmaceutica
                                                                                                                         I Co., ltd.




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                Process for     Preparation of   JP   5/19/2006   2008-511798   Granted   5227166       May2026            Arrow
                 preparing     Famciclovir and                                                                         International
                famciclovir     Other Purine                                                                            Limited co-
                                 Deriva tives                                                                           owner with
                                                                                                                        Chongqing
                                                                                                                       Shenghuaxi
                                                                                                                      Pharm aceutica
                                                                                                                         I Co., Ltd.
                Process for    Preparation of    NZ   5/19/2006     563636      Granted    563636       May2026             Arrow
                  preparing    Famciclovir and                                                                         International
                 famciclovir    Other Purine                                                                            Limited co-
                                 Derivatives                                                                            owner with
                                                                                                                        Chongqing
                                                                                                                        Shenghuaxi
                                                                                                                      Pharmaceutic a
                                                                                                                         I Co., Ltd.
                Process for     Preparation of   TW   5/19/2006    9117840      Pending                                     Arrow
                 preparing     Famciclovir and                                                                         International
                famciclovir     Other Purine                                                                            Limited co-
                                 Derivatives                                                                            owner with
                                                                                                                        Chongqing
                                                                                                                       Shenghuaxi
                                                                                                                      Pharmaceutica
                                                                                                                         I Co., Ltd.
                Process for     Preparation of   us   11/10/200   11/270,777    Granted   7,601,835     July2026            Arrow
                 preparing     Famciclovir and            5                                                            International
                famciclovir     Other Purine                                                                            Limited co-
                                 Derivatives                                                                            owner with
                                                                                                                        Chongqing
                                                                                                                       Shenghuaxi
                                                                                                                      Pharmaceutica
                                                                                                                         I Co., Ltd.
                 Process for   A Process for     BR   12/18/200                 Pending                                    Watson
                  preparing    Preparation of             8                                                                Pharma
                lansoprazole       Stable                                                                             Private Limited
                               Amorphous R-
                               Lansoprazole
                 Process for   A Process for     NZ   12/18/200     585944      Granted    585944     December 2028      Watson
                  preparing    Preparation of             8                                                              Pharma
                lansoprazole       Stable                                                                             Private Limited
                               Amorphous R-
                               Lansoorazole
                Process for      Improved        EP   27/04/200   09738481.2    Pending       -             -         Actavis Group
                 preparing      Process For               9                                                              PTC ehf




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                Laquinimod        Preparing
                                 Qu inoline-3-
                                 Carboxamide
                                  Deriva tives
                Process for        Improved        IN   28/04/200   1041 /CHE/2008   Pending       -             -         Actavis Group
                 preparing         Process For              8                                                                 PTC ehf
                Laquinimod           Preparing
                                   Quinoline-3-
                                  Carboxamide
                                    Derivatives
                Process for          Improved      us   27/04/200     12/989,796     Granted   8,552,194    27/04/2029     Actavis Group
                 preparing         Process For              9                                                                 PTC ehf
                Laquinimod           Preparing
                                   Quinoline-3-
                                  Carboxamide
                                    Derivatives
                Process for          Improved      us   27/04/200     14/020,941     Pending       -             -         Actavis Group
                 preparing         Process For              9                                                                 PTC ehf
                Laquinimod           Preparing
                                   Quinoline-3-
                                  Carboxamide
                                    Derivatives
                Process for        An Improved     NZ   2/5/2009       586930        Granted    586930     February 2019       Watson
                 preparing         Process For                                                                                 Pharma
                paliperidone      Preparation Of                                                                           Private Limited
                                   Paliperidone
              Pseudoephedrine            A         us   14/11/199    08/746,666      Granted   5,807,579    14/11/2016         Actavis
                Combination     Phannaceutical              6                                                              Elizabeth LLC
               Phannaceutical          Tablet
                Compositions    Composition For
                                        Oral
                                  Administration
                                    Containing
                                Pseudoeph ed rin
                                      e Pellets
                                Admixed With A
                                  Tablet Mixture
                                   Containing A
                                  Second Active
                                        Drug
                                    Substance,
                                Either Alone Or
                                 In Combination
                                        With




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                                    Pseudoephedrin
                                          eO rA
                                    Pharm aceutical!
                                      y Acceptable
                                    Salt Thereo f, Is
                                     Disclosed. The
                                     Pellets Provide
                                      An Extended
                                       Release Of
                                    Pseudoephedrin
                                    e, W hereas The
                                     Tab let Mixture
                                       Provides An
                                        Immediate
                                    Release Of The
                                     Second Active
                                     Drug And Any
                                    Pseudoeph ed rin
                                            e.
                 Rasagiline                 -           PCT   06/06/201   PCT/EP2013/06164   Pending       -           -        Actavis Group
                formulations                                      3              6                                                 PTC ehf
             Rasagiline Particles      Rasagiline       EP    31/03/200      09726618.3      Pending       -           -        Actavis Group
                                        Mesylate                  9                                                                PTC ehf
                                     Particles And
                                     Process And
                                      Process For
                                      Preparation
                                        Thereof.
              Sustained-release        Controlled       us    5/26/1998      09/084,622      Granted   6,156,342   May2018           Andrx
                  tramadol           Release Oral                                                                               Pharmaceutica
                                     Dosaqe Form                                                                                    Is, Inc.
                 Tapentadol           Solid State       us    21/09/201      12/886,680      Granted   8,288,592   21/09/2030   Actavis Group
                 Polymorphs            Forms Of                   0                                                                PTC ehf
                                      Tapentadol
                                         Salts

                 Tapentadol           Solid State       us    21/09/201      13/609,661      Pending       -           -        Actavis Group
                 Polymorphs            Forms Of                   0                                                               PTC ehf
                                      Tapentadol
                                        Salts

              Tetracycline Salts       Drug Salts       us    13/03/199      08/402,619      Granted   6,077,822   20/06/2017   Actavis Group
                                                                  5                                                                   hf




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                 Tocopherol      Tocopherol      NZ   15/05/199      287857       Granted      287857      15/05/2015      Dumex-
                formulations    Compositions              5                                                             Alpharma A/ S
                               For Delivery Of
                                 Biologically
                               Active Agents
                Tocopherol       Tocopherol      us   16/05/199    08/856,054     Granted     6,193,985    27/02/2018   Actavis Group
                formulations    Compositions              5                                                                   hf
                               For Delivery Of
                                 Biologically
                               Active Agents
                Usnic Acid       Usnic Acid      BA   03/11/200   BAP021296A      Granted   BAP021296B     03/11/2020    Zdravlje AD
                Disinfectant     Disinfectant             0
                Usnic Acid       Usnic Acid      EA   03/11/200   200300021 /28   Granted   EAP0006582     03/11/2020    Zdravlje AD
                Disinfectant     Disinfectant             0
                Usnic Acid       Usnic Acid      EP   03/11/200    00974145.5     Granted    EP1294373     03/11/2020    Zdravlje AD
                Disinfectant     Disinfectant             0
                Usnic Acid       Usnic Acid      MD   03/11/200   200300021 /28   Granted   EAP0006582     03/11/2020    Zdravlje AD
                Disinfectant     Disinfectant             0
                UsnicAcid        Usnic Acid      MK   03/11/200    00974145.5     Granted    MK901168      03/11/2020    Zdravlje AD
                Disinfectant     Disinfectant             0
                Usnic Acid       Usnic Acid      RO   03/11/200    00974145.5     Granted   RO/EP1294373   03/11/2015    Zdravlje AD
                Disinfectant     Disinfectant             0
                Usnic Acid       Usnic Acid      RS   15/06/200    P-373-2000     Granted      49778       15/06/2020    Zdravlje AD
                Disinfectant     Disinfectant             0




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                                                                       EXE CUTI ON VE RSION
                                                                             CONFID ENTIAL

                                Schedule 2.l(b)(xxi)- List of Assets

        None.




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                                                                               EXE CUTION VE RSIO N
                                                                                     CONFID ENTIAL

                                       Schedule 2.2(i) - Excluded Assets

             Generic Drugs sold by the Allergan Business (including Seller Parent's ophthalmic
             business).

             Any assets obtained under that certain Collaboration Agreement, dated December 19, 2011,
             by and between Amgen Inc. and Watson Laboratories, Inc.

             Trademarks not used in connection with any launched product and which are owned by
             Actavis, Inc., Actavis Group PTC ehf, or Actavis Group ehf.

             Intellectual Property relating to the formulation or composition of Manufactured Products
             (as defined in the Term Sheet for the Manufacturing Agreement set out as Exhibit B to the
             Agreement) which are to be manufactured by the Buyer Group pursuant to the
             Manufacturing Agreement.

             All Intellectual Property owned by the Se11er Group and not Related to the Business.

             The patents shown on the workbook in the excel file entitled "Project Trump - Excluded
             Assets_Patents 7 26 15.xlsx", the final version of which was emailed to Jinhee Chung at
             Sullivan & Cromwell by Andrew Clark at Latham & Watkins at 03.04 AM on July 27, 2015,
             solely with respect to patents that do not cover, or otherwise relate to, any Generic Drugs
             (other than the Retained Business).

             Rights to any regulatory applications or development projects related to lifecycle products
             for the Retained Business. Lifecycle products may include new formulations, product
             combinations, or dosage forms that contain the same active ingredient(s) as a pharmaceutical
             product in the Retained Business, and are intended to be promoted by the Retained Business
             (not to be sold as Generic Drugs).

             License Agreement between Merck Sharp & Dohme Corp. and Seller Group dated as of July
             6,2015.

             Agreement and Plan of Merger among Actavis, Inc., Wolverine Merger Sub, Inc., Oculeve,
             Inc. and Fortis Advisors LLC, as Shareholders' Representative, dated as of July 5, 2015.

             Transfer Asset Purchase Agreement and Development Provisions between Rugen Holdings
             (Cayman) Limited and Seller Group dated as ofMay 1, 2015, and any related Intellectual
             Property.

             Collaboration Agreement between Amgen, Inc. and Watson Laboratories, Inc. dated as of
             December 19, 2011, and any related Intellectual Property.

         •   License and Development Agreement, dated as of July 14, 2010, by and between Itero
             Biopharmaceuticals, Inc. and Arrow International Ltd.

             Excluded Manufacturing Facilities:

                                                       -37-




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                 o   Weiterstadt, Germany

                 o   Liege, Belgium




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                                                                              EXE CUTION VE RSION
                                                                                    CONF IDENTIAL

                                    Schedule 2.3 - Assumed Liabilities

              Any Liabilities in connection with the generic Opana ER patent infringement litigations
              (Endo Phanns. Inc. et al. v. Actavis Inc. et al., Case Nos. 12-cv-8985-Griesa (S.D.N.Y.);
              14-cv-01381 - Andrews (D. Del.))

              Any Liabilities in connection with the generic Lysteda patent infringement litigation
              (Ferring B.V. v. Actavis, Inc. et al. 2:15-cv-04222-KSH-CLW (D.N.J.))

              Any Liabilities in connection with the genetic Opana ER false advertising litigation
              (Endo Phanns. Inc. v. Actavis, Inc., Case No. 2:12-cv-07591-KM-SCM (D.N.J.))

              Any Liabilities in connection with the generic Valsartan patent proceedings in EU.

              Any Liabilities in connection with the generic Aripiprazole patent proceedings in EU.

              Any Liabilities, to the extent Related to the Business, in connection with the litigation
              shown in the Excel file entitled "TRUMP-Commercial Litigation Log.xlsx", the final
              version of which was emailed to Jinhee Chung at Sullivan & Cromwell by Andrew Clark
              at Latham & Watkins at 03.04 AM on July 27, 2015.




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                                                                        EXE CUTI ON VE RSION
                                                                              CONFID ENTIAL

                               Schedule 2.4(h) - Excluded Liabilities

        None.




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                                                                                EXE CUTION VE RSION
                                                                                      CONFIDENTIAL

                              Schedule 4.3 - R eports and Fin anci al Info rm ation




        Schedule 4.3 - Unaudited Performance Financial Statements of the Business for the year
        ending December 31, 2014

        USD in millions                                                 USGx          Int')       Total
                                                                        Business      Business    Business

        Product sales
                                                                        4,002         2,415       6,417

        Other revenue
                                                                        32            83          115

        Net revenue
                                                                        4,033         2,499       6,532

        Cost of sales
                                                                        (1,582)       (1,261)     (2,843)

        Gross profit
                                                                        2,452         1,237       3,689

        Sales and Marketing expenses
                                                                        (70)          (548)       (618)

        Research and Development expenses
                                                                        (254)         (211)       (465)

        General and Administrative expenses
                                                                        (351)         (266)       (617)

        Opera ting expenses
                                                                        (675)         (1,025)     (1,700)

        Contribution
                                                                        1,777         212         1,989

        Depreciation
                                                                                                  151

        EBITDA


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                                                                                                   2,140

        Notes

        I) I11e Performance Financial Statements EXCLUDE:

        a) Items considered to be ofa non-GAAP nature by Allergan plc, all determined on a basis
        consistent with its non-GAAP presentation as part of quarterly and year-end press releases and
        reporting. Items excluded consist of of 1) global supply chain initaitive, 2) acquisition and
        licensing and other charges, 3) impairment/ asset sales and related costs, 4) non-recurring losses
        and gains, 5) legal settlements, 6) accretion on contingent liabilities and 7) share based
        compensation.

        b) Depreciation for the Forest and Aptalis business for the 6 months ending December 31, 2014

        c) The results for the Western-European assets that were sold to Aurobindo Pharma Limited
        effective April 1, 2014. These assets included the conunercial infrastructure in France, Italy,
        Spain, Portugal, Belgium, Germany and the Netherlands, including products, marketing
        authorizations and dossier license rights

        d) The results of Auden McKenzie which was acquired by Allergan plc effective June 1, 2015.
        For the avoidance of the doubt, Auden McKenzie will be part of the Business

        2) The Performance Financial Statements include the international Forest results that will be part
        of the Business for 6 months only, following the transaction close at July 1, 2014

        3) For the avoidance of doubt, the results of certain manufacturing plants and contract
        manufacturing agreements within the Aptalis Pharmaceutical Technologies ("Phannatech")
        entities that were disposed to TPG in 2015 are included in the above Performance Financial
        Statements




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                                      Schedule 4.6(c)-Transferred Group




                                         Company Name                             Jurisdiction of
                                                                                  Incorporation
                                                                                          -
        1.    Warner Chilcott Company, LLC                                      Puerto Rico

        2.    Warner Chilcott (Ireland) Limited                                 Ireland

        3.    Warner Chilcott Finance LLC.                                      Delaware

        4.    Warner Chilcott Australia Pty. Ltd.                               Australia

        5.    Warner Chilcott Pharmaceuticals B.V.B.A.                          Belgium

        6.    Warner Chilcott France SAS                                        France

        7.    Warner Chilcott Italy S.r.1.                                      Italy

        8.    Actavis Pharma Iberia S.L. (fi'k/a Warner Chilcott Iberia S.L.)   Spain

        9.    Robin Hood Holdings Ltd.                                          Malta

        10.   Paomarplc                                                         Cyprus

        11.   Actavis Pharma Pty Ltd.                                           Australia

        12.   Makoff R&D Laboratories, Inc.                                     California

        13.   R&D Pharmaceutical, Inc.                                          California

        14.   R&D Ferriecit Capital Resources, Inc.                             California

        15.   R&D Research & Development Corp.                                  California

        16.   R&D New Media Services, Inc.                                      California

        17.   Royce Laboratories, Inc.                                          Florida

        18.   Royce Research Group, Inc.                                        Florida

        19.   Royce Research & Development Limited Partnership I                Florida

        20.   The Rugby Group, Inc.                                             New York

        21.   Watson Laboratories, Inc. Ohio                                    New York




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                                         Company Name               Jurisdiction of
                                                                    Incorporation

        22.   Rugby Laboratories, Inc.                            New York

        23.   Changzhou Siyao Pharmaceuticals Co., Ltd.           China

        24.   Watson Pharmaceuticals (Asia) Ltd.                  BVJ

        25.   WP Holdings, Ltd.                                   BVI

        26.   Watson Pharmaceuticals, China Ltd                   BVI

        27.   Med AI1 Enterprise Consulting (Shanghai) Co. Ltd.   China

        28.   Nicobrand Limited                                   Northern Ireland

        29.   Watson Pharmaceuticals International Ltd.           BVI

        30.   Watson Diagnostics, Inc.                            Delaware

        31.   Del Mar Indemnity Co. Inc.                          Hawaii

        32.   Actavis Laboratories NY, Inc.                       New York

        33.   Circa Pharmaceuticals West, Inc.                    California

        34.   Circa Sub                                           New York

        35.   Andrx Corporation                                   Delaware

        36.   Andrx South Carolina I, Inc.                        South Carolina

        37.   Andrx Pharmaceuticals (Mass), Inc.                  Florida

        38.   Andrx Pharmaceuticals Equipment #1, LLC             Florida

        39.   Andrx Pharmaceuticals (NC) Inc.                     Florida

        40.   Andrx Pharmaceuticals, (NC) Equipment LLC           Delaware

        41.   SR Six, Inc.                                        Florida

        42.   Ancirc Pharmaceuticals                              New York

        43.   RxAPS, Inc.                                         Florida

        44.   Andrx Pharmaceuticals Sales and Marketing, Inc.     Florida




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                                          Company Name          Jurisdiction of
                                                                Incorporation
                                                                  --
        45.   Actavis Laboratories FL, Inc.                  Florida

        46.   Watson Management Corporation                   Florida

        47.   Watson Therapeutics, Inc.                      Florida

        48.   Valmed Pharmaceuticals, Inc.                   New York

        49.   Andrx Pharmaceuticals, LLC                     Delaware

        50.   Andrx Labs LLC                                  Delaware

        51.   Andrx Laboratories (NJ) Inc.                    Delaware

        52.   Watson Cobalt Holdings, LLC                    Delaware

        53.   Watson Manufacturing Services, Inc.             Delaware

        54.   Natrapac, Inc.                                 Utah

        55.   Coventry Acquisition, LLC                      Delaware

        56.   Cobalt Laboratories, LLC                       Delaware

        57.   Watson Pharma Private Ltd.                      India

        58.   Watson Laboratories, LLC                       Delaware

        59.   Actavis Puerto Rico Holdings Inc.              Delaware

        60.   Actavis US Holding LLC                         Delaware

        61.   Actavis LLC                                    Delaware

        62.   Actavis South Atlantic LLC                     Delaware

        63.   Actavis Elizabeth LLC                          Delaware

        64.   Actavis Kadian LLC                             Delaware

        65.   Actavis Mid Atlantic LLC                       Delaware

        66.   Actavis Totowa LLC                             Del.aware

        67.   Actavis Pharmaceuticals NJ, Inc.               Delaware




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                                          Company Name                  Jurisdiction of
                                                                        Incorporation

        68.   Watson Laboratories, Inc.                               Connecticut

        69.   Watson Laboratories, Inc.                               Delaware

        70.   Schein Bayer Pharmaceutica1 Services, Inc.              De]aware

        71.   Schein Pharmaceutical International, Inc.               Delaware

        72.   Schein Pharmaceutical Ltd                               Bermuda

        73.   Marsam Pharma, LLC                                      Delaware

        74.   MSI, Inc.                                               Delaware

        75.   Actavis Ho1ding 2 Sarl                                  Luxembourg

        76.   Actavis Services (Asia) Ltd.                            Malta

        77.   An-ow Laboratories, Ltd.                                Malta

        78.   Arrow Supplies, Ltd.

        79.   Arrow Pharma HK Ltd.                                    Hong Kong

        80.   Marrow Pharmaceuticals Research & Development Co Ltd.   China

        81.   Actavis S.a.r.1.                                        Luxembourg

        82.   PaomarPlc.                                              Cyprus

        83.   "Specifar"                                              Greece

        84.   Alet                                                    Greece

        85.   Actav.is Pharma Pty Ltd                                 Australia

        86.   Ascent Pharmahealth Pty Ltd                             Australia

        87.   Actavis Australia Pty Ltd                               Australia

        88.   Ascent Australia Pty Ltd                                Australia

        89.   Actavis Pty Ltd                                         Australia

        90.   Ascent Pharma Pty Ltd.                                  Australia




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                                          Company Name         Jurisdiction of
                                                               Incorporation

        91.   Ascent Phannahealth Asia Pte Ltd               Singapore

        92.   Drug Houses of Australia Pte Ltd.              Singapore

        93.   Ascent Pharmahealth Hong Kong Ltd.             Hong Kong

        94.   Actavis Sdn. Bhd.                              Malaysia

        95.   Arrow Group ApS                                Denmark

        96.   Arrow ApS                                      Denmark

        97.   Makewhey Products Pty. Ltd.                    South Africa

        98.   Actavis Holdings South Africa (Pty) Ltd.       South Africa

        99.   Actavis Pharma (Pty) Ltd.                      South Africa

        100. Actavis (Pty) Ltd.                              South Africa

        101. Scriptpharm Marketing (Pty) Ltd                 South Africa

        l 02. Referral-Net (Pty) Ltd.                        South Africa

        103. Spear Pharmaceuticals (Pty) Ltd                 South Africa

        104. Pharmascript Pharmaceuticals Ltd.               South Africa

        105. Arrow Pharma Tender (Pty) Ltd.                  South Africa

        106. Scriptpharm Risk Management (Pty) Ltd.          South Africa

        107. Imbani Pharmaceuticals (Pty) Ltd.               South Africa

        108. Zelphy 1308 (Pty) Ltd.                          South Africa

        109. Arrow Poland SA                                 Poland

        110. Arrowblue Produtos Fannaceuticos SA             Portugal

        111. Bowmed Ltd                                      UK

        112. Sela.mine Ltd.                                  Ireland

        113. Arrow Blue Ltd                                  Israel




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                                       Company Name            Jurisdiction of
                                                               Incorporation

        114. Seeker Investments Ltd.                         BVI

        115. SC Pharma (Pty) Ltd.                            Australia

        116. Spirit Pharmaceuticals NZ Pty Ltd.              New Zealand

        117. Willow Pharmaceuticals Pty Ltd.                 Australia

        118. Medis Pharma Pty Ltd                            Australia

        119. Eremad Pty Ltd.                                 Australia

        120. Arrow Lakemedel AB                              Sweden

        121. Arrow Generics Ltd.                             UK

        122. Arrow No 7 Ltd                                  UK

        123. Breath Ltd                                      UK
        124. Soosysoo Ltd.                                   BVI

        1.25. Actavis New Zealand Limited                    New Zealand

        126. Watson Laboratories, S. de R.L. de C.V          Mexico

        127. Actavis Canada Company                          Canada

        128. Actavis Pharma Company                          Canada

        129. 3242038 Nova Scotia Company                     Canada

        130. Abri Pharmceuticals Company                     Canada

        131. Actavis Pharma Holding 4 ehf. (APH4)            Iceland

        132. Actavis Pharma Holding 5 ehf. (APH5)            Iceland

        133. Actavis Group ehf                               Iceland

        134. Actavis Group PTC ehf.                          Iceland

        135. Actavis Dutch Holding BV                        Netherlands

        136. LLC Actavis                                     Russia




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                                       Company Name            Jurisdiction of
                                                               Incorporation

        137. Actavis Ilaclari AS# TUOOOOOOl                  Turkey

        138. Opening Pharma Bulgaria EOOD                    Bulgaria

        139. Open Pharma LLC                                 Russia

        140. Actavis ehf.                                    Iceland

        141. Medis ehf.                                      Iceland

        142. Medis Pharma France SAS                         France

        143. Medis-Danmark A/S. # DA000003                   Denmark

        144. Actavis Ireland Ltd.                            Ireland

        145. Actavis Italy S.p.A. # IT000001                 Italy

        146. Actavis Isle ofMan Ltd.                         Isle of Man

        147. Actavis Nordic A/S # DA000002                   Denmark

        148. Actavis Oy                                      Finland

        149. UAB Actavis Baltic                              Lithuania

        150. Actavis Holding AB                               Sweden

        151. Actavis AB                                       Sweden

        152. Actavis Holding Germany GmbH

        153. Medis Pharma GmbH                               Germany

        154. Actav.is A/S #DAOOOOO 1                         Denmark

        155. Actavis Norway AS                               Norway

        156. Actavis, S. de. R.L. de C.V.                    Mexico

        157. Actavis Pharma S. de R.L. de C.V.               Mexico

        158. Actavis Hungary Kft.                            Hungary

        1.59. Arrow Pharm (Malta) Ltd.                       Malta




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                                          Company Name          Jurisdiction of
                                                                Incorporation

        160. Medis Pharma BV                                 Netherlands

        161. PhannaPack International B.V.                   Netherlands

        162. Actavis Polska Sp. z.o.o.                       Poland

        163. Actavis International Ltd.                      Malta

        164. Actavis Malta Ltd.                              Malta

        165. Actavis Export International Ltd.                Malta

        166. Actavis Ltd.                                     Malta

        167. Actavis GmbH                                    Austria

        168. Actavis Holdings UK Ltd.                        UK
        169. Actavis Holdings UK II Ltd.                     UK
        170. Actavis UK Ltd.                                 UK

        171. Warner Chilcott Acquisition Limited             UK

        172. Chilcott UK Limited                             UK

        173. Warner Chilcott Research Laboratories Ltd.      UK
        174. Warner Chilcott UK Limited                      UK

        175. Warner Chilcott Pharmaceuticals UK Limited      UK
        176. Warner Chilcott Deutschland GmbH                Germany

        177. Millbrook (NI) Limited                          UK

        178. Auden Mckenzie Holdings Ltd.                    UK

        179. Auden Mckenzie (Pharma Division) Ltd.           UK

        180. NRIM Ltd.                                       UK

        181. Lime Pharma Ltd.                                UK

        182. D3 Pharma Ltd.                                  UK




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                                       Company Name                  Jurisdiction of
                                                                     Incorporation

        183. Actavis d.o.o. Belgrade                               Serbia

        184. Lotus Laboratories Private Ltd.                       India

        185. Actavis Ukraine LLC                                   Ukraine

        186. Zdravlje AD                                           Serbia

        187. Actavis Switzerland AG                                Switzerland

        188. Oncophanna AG # SZOOOOO l                             Switzerland

        189. Sindan Pharma SRL                                     Romania

        190. Actavis SRL                                           Romania

        191. Sindan Foundation                                     Romania

        192. Actavis CZ a.s. # EZOOOOO 1                           Czech Repub lie

        193. Actavis S.r.o.                                        Slovak Republic

        194. Biovena Pharma Sp. z.o.o.                             Poland

        195. Actavis (Cyprus) Ltd.                                 Cyprus

        196. Actavis Operations EOOD                               Bulgaria

        197. Balkanpharma Troyan AD                                Bulgaria

        198. Balkanpharma Dupnitsa AD                              Bulgaria

        199. Balkanphanna Security EOOD                            Bulgaria

        200. Balkanpharma Healthcare International (Cyprus) Ltd.   Cyprus

        201. Actavis EAD                                           Bulgaria

        202. Actavis Istanbul Hae Sanayive Ticaret Ltd. Sirketi    Turkey

        203. Actavis (MEEA) FZE                                    UAE
        204. Actavis Farmaceutica Limitada                         Brazil

        205. Actavis Holding.Asia BV                               Netherlands




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                                        Company Name                        Jurisdiction of
                                                                            Incorporation

        206. Actavis Hong Kong Limited                                    Hong Kong

        207. China Medical & Chemical Industrial Development Group Ltd.   China

        208. Actavis Pharma Development Centre Private Ltd.               India

        209. Actavis Pharma Private Ltd.                                  India

        210. PT Actavis Indonesia                                         Indonesia

        211. Actavis ASKA KK                                              Japan

        212. Actavis KK # JAOOOOOOl                                       Japan

        213. Actavis (Asia Pacific) Pte. Ltd.                             Singapore

        214. Actavis Thailand Co., Ltd. (f/k/a Silom Medical ce., Ltd)    Thailand

        215. Silom Merucal International ce., Ltd.                        Thailand

        216. Forest Laboratories UK Ltd.                                  UK

        217. Phannax Ltd.                                                 UK

        218. Forest Pharma BV                                             Netherlands

        219. Forest Laboratories Osterreich GmbH                          Austria

        220. Forest Laboratories Denmark ApS                              Denmark

        221. Forest Laboratories France S.A.S.                            France

        222. Forest Laboratories Deutschland GmbH                         Germany

        223. Forest Laboratories Italy S.r.L.                             Italy

        224. Forest Laboratories Spain, SL                                Spain

        225. Forest Laboratories Switzerland GmbH

        226. Axcan France (Invest) SAS                                    France

        227. Actavis Biophanna SAS                                        France

        228. Aptalis Pharma SAS                                           France




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                                         Company Name          Jurisdiction of
                                                               Incorporation

        229. Forest Tosara Ltd.                              Ireland

        230. Allergan UK LLP                                 UK

        23l. Actavis Laboratories UT, Inc.                   Delaware

        232. Watson Laboratories, Inc.                       Nevada

        233. Actavis Pharma, Inc.                            Delaware

        234. Arrow International Ltd.                        Malta

        235. Allergan UK Group Ltd.                          UK




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                                                  Schedule 4.8(j)

        In the event that the Transactions constitute the transfer by Seller Parent of assets with a total
        gross fair market value exceeding one third of all of the assets of Seller Parent (as determined
        under Section l .280G-l (Q/A 6)), certain payments or benefits to the Business Employees who
        are "disqualified individuals" (as determined under Section l.280G-l (Q/A 15-21)) could
        constitute "excess parachute payments" for purposes of Section 280G of the Code.

        In the event that the Transactions constitute the sale by Seller Parent of assets exceeding fifty
        percent (50%) of all of the assets of Seller Parent, the Transactions could trigger enhanced
        severance, vesting or other benefits for the Business Employees under certain of the Seller
        Benefit Plans or the Transferred Entity Benefit Plans.

        Provided that the foregoing thresholds are not exceeded, no change in control benefits or
        payments should be payable to the Business Employees as a result of the Transactions.




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                                  Schedule 4.lO(a)- Business Contracts

              Development and Commercialization Agreement, dated March 27, 2009, by and among
              3M Company, 3M Innovative Properties Company and Actavis Inc. (as amended on July
              20, 2010, January 11, 2011, March 14, 2011, September 11, 2012 and September 19,
              2014).

              Share and Asset Purchase Agreement, dated March 28, 2014, by and among Actavis
              Holding NWE B.V., Actavis Holding B.V., Actavis Holding Germany GmbH, Arrow
              Group ApS, Actavis A/S, Actavis Italy SpA, Actavis, Inc., as Vendor Guarantor, Agile
              Pharma B.V., as Purchaser, and Helix Healthcare B.V., as Purchaser Guarantor.

              License and Supply Agreement, dated April 1, 2014, between Medis efh. and Agile
              PhannaB.V.

              Distribution Agreement, dated April l , 2014, between Actavis Group PTC ehf and Agile
              Pharma B.V.

              License and Distribution Agreement, dated April 1, 2014, between Medis ehfand Agile
              Pharma B.V.

              Supply Agreement, dated June 10, 2010 between The RiteDose Corporation and Watson
              Laboratories, Inc. (as amended on June 1, 2012 and August, 2012).

              Manufacturing Services Agreement, dated February 20, 2004, between Patheon Inc. and
              Watson Laboratories, Tnc. (as amended on January l, 2008, February l, 2012 and May
              15, 2013).

              Development, Supply and License Agreement, dated December 21, 2009, between
              Watson Pharmaceuticals, Inc. and Indoco Remedies Ltd. (as amended March 24,2011).

              Amended and Restated Supply Agreement, dated December 19, 2014, by and among
              Actavis Pharma Inc., Actavis Mid Atlantic LLC and G&W Laboratories, Inc.

              Supply Agreement, dated October 23, 2009, between Breath Ltd. and Catalent Pharma
              Solutions, LLC.

              Sale and Purchase Agreement for the Share Capital of Silom Medical Company Limited
              and Silom Medical International Company Limited, dated March 31, 2014, among
              ASEAN Pharma Holding Limited, Ms. Preeya Sibunruang and others, and Actavis
              Holding Asia B.V.

              Sale and Purchase Agreement for Shares in Silom Medical Company Limited and Silom
              Medical International Company Limited, dated March 3 l, 2014, between Thai Individual
              Shareholders and Actavis Holding Asia B.V.




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              Joint Venture Agreement, dated March 6, 2009, between Actavis Holding Asia B.V. and
              ASK.A Pharmaceutical Co., Ltd.

              Actonel Promotion and Distribution Agreement, dated as ofJanuary 15, 2015 by and
              between Warner Chilcott Company, LLC and Sanofi Winthrop Industrie.

              Transition Agreement, dated as of October 31, 2014, between Warner Chilcott Company,
              LLC and Sanofi-Aventis U.S. LLC.

              Actonel Promotion and Distribution Agreement, dated as ofJanuary 30, 2014, by and
              between Warner Chilcott Company, LLC and Sanofi Winthrop Industrie.

              Seller Parent has over 100 licensing agreements for supply of products in specific
              markets or territories, which were entered into in the Ordinary Course of
              Business. These agreements are consistent with the standards in the industry. They
              typically are for a term of 3-5yrs, with the option to extend. Pricing varies by contract,
              but typically include a sales royalty and/or a floor price for product supply. These
              contracts contain exclusivity provisions granted by the Business, which are not
              individually material to the Business.

              Settlement Agreement, dated March 23, 2013, between Watson Laboratories, Inc., EGIS
              Pharmaceuticals PLC, AstraZeneca AB and Shionogi Sieyaku Kabushiki Kaisha in
              connection with approvals requested from the FDA for a rosuvastatin zinc product (NDA
              No. 202-172) and a rosuvastatin calcium product (ANDA No. 79-167).




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             Transferred Leased Real Property

                 Country       City, State       Dataroom              Address       Area square   OWNED/   Lease Expiry or   Base Rent
                                                 Reference                             footage     LEASED      1st Break
             United States   Parsippany NJ    8.7.6.46.8.5         400 Interpace       224,294     LEASED     31-Dec-22       $6,845,744
                                                                   Parkway
             United States   Weston FL        8.7 .6.46.4.4.2      2945 West           128,840     LEASED      14-0ct-19      $1,497,228
                                                                   Corporate Lakes
                                                                   Boulevard
             United States   Morristown, NJ   8 .7 .6.46.8.3       60 Columbia Rd.     51,729      LEASED     29-Feb-20       $1,293,225
                                                                   Building B
             Iceland         Hafnarfjordur    8.7.6.18.1.4         Dalshraun 1         30,591      LEASED     31-Aug-20       $1,280,526




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                                                                                EXE CUTI ON VE RSION
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                                Schedule 4.lO(b) - Seller Material Contracts

              Actavis, Inc. has been in correspondence with Agile Pharma BV relating to a potential
              claim relating to rebates under an indemnity for tender penalties relating to an AOK
              tender for Pantroprazole contained in transaction documents relating to the sale of its
              Western European generics business on l April 2014. No request for indemnification has
              yet been received. Actavis, Inc. is still assessing the merits of any potential indemnity
              claim with its counsel, but in any event it considers its liability under the indemnity to be
              capped at a maximum of €5,000,000 pursuant to the licence and supply agreement
              entered into between Medis and Agile Pharma BV.




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                       Schedule 4.lO(c)- Renegotiation of Seller Material Contracts

        The Business is currently renegotiating its contracts with Catalent Pharma Solutions, LLC and a
        new agreement is expected to be entered into shortly following signing of this Agreement.




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                                   Schedule 4.11 - Investigations; Litigation.

        Generic Opana ER patent infringement litigations (Endo Pharms. Inc. et al. v. Actavis Inc. et al.,
        Case Nos. 12-cv-8985-Griesa (S.D.N.Y.); 14-cv-01381 -Andrews (D. Del.))

        Generic Lysteda patent infringement litigation (Ferring B.V. v. Actavi.s, Inc. et al. 2 :l 5-cv-
        04222-KSH-CL W (D.N.J.))

        Generic Opana ER false advertising litigation (Endo Phanns. Inc. v. Actavis, Inc, Case No. 2:12-
        cv-07591-KM-SCM (D.N.J.))

        Generic Valsartan patent proceedings in Finland.

        Generic Aripiprazo le patent proceedings in Turkey.

        The litigation shown in the excel file entitled "TRUMP-Commercial Litigation Log.xlsx" to the
        extent Related to the Business, the final version of which was emailed to Jinhee Chung at
        Sullivan & Cromwell by Andrew Clark ofLatham & Watkins at 03.04 AM on July 27, 2015.

        On June 26, 2015, Allergan, Inc. received a grand jury subpoena from the United States
        Department of Justice, Antitrust Division. The subpoena seeks information for the period from
        January 1, 2012 through the present. The Antitrust Division is seeking information relating
        primarily to three generic products: Butalbital, Doxycycline and Probenecid. The subpoena
        requests information relating to the pricing of each of these drugs as well as any communications
        with competitors or other third parties relating to these products. In addition, the subpoena seeks
        information relating to corporate and employee organizational structures and company policies
        and procedures.

        IRS investigation relating to treatment oflegal costs relating to patent infringement cases (further
        detail provided in Schedule 4.14).




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                                                                      EXE CUTI ON VE RSION
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                               Schedule 4.12(a)- Regulatory Permits

        None.




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                         Schedule 4.12(b )- Compliance with Health Care Laws

              ACT Poland will be unable to comply with the new Good Distribution Practice ("GDP")
              requirements coming into effect in Poland on April 1, 2016. To address this issue, ACT
              Poland will develop an interim solution to be implemented after signing, which solution
              will not have a material adverse effect on the Business.




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                                                                             EXE CUTI ON VE RSION
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                                         Schedule 4.12(d) - Recalls

              Recall ofLutera ® 0.1 mg:.0.02mg (Levonorgestrel - Ethinyl Estradiol) on June 4, 2015
              due to product lots packaged with outdated inserts; FDA letter received June 30, 2015;
              recall ID D-1148-2015, classification m.

              Recall ofRosuvastatin 5mg F/C tablets on February 26, 2015 due to 5-ketoacid impurity
              failure in product distributed in Australia, S.lovenia, Ukraine, Moldova, Russia,
              Uzbekistan, Kazakhstan, Hong Kong and Malta; recall classification TBD.

              Recall ofVancomycin HCL 125MG CAP 2 X 10 NDC 0591-3560-15 and Vancomycin
              HCL 250MG CAP 2 X 10 NDC 0591-3561-15 on February 12, 2015 due to potency
              testing results below USP specifications; FDA letter received March 30, 2015, recall
              classification Il.




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                                                                                EXE CUTI ON VE RSION
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                                          Schedule 4.14 - Tax Matters

        Tax items under exam for which the Company has concluded a tax reserve is not required under
        U.S. GAAP include but is not limited to the following:

        Issue                              Description
                a. Deductibility of        Several of the Company's subsidiaries settled various
                   AWP settlement          claims under the False Claims Act (for both federal and
                   payments (US            state purposes) related to whether allegedly improper price
                   federal and state)      reporting by pharmaceutical manufacturers led to :increased
                                           payments by various government agencies. The Company
                                           deducted the related settlement payments as ordinary and
                                           necessary business expenses pursuant to Code Section 162.
                                           The Internal Revenue Service ("IRS") has argued that some
                                           or all of these expenses are non-deductible fines or penalties
                                           pursuant to Code Section l 62(f). This issue exists for all
                                           open years, some of which are currently under examination.
                b. Patent infringement     In the ordinary course of its business, the Company incurred
                   litigation costs (US    legal costs to defend itself against patent infringement
                   federal and state)      lawsuits. The Company deducted these legal costs as
                                           ordinary and necessary business expenses pursuant to Code
                                           Section l 62. The IRS has argued that some or all of these
                                           legal costs should be capitalized and amortized as intangible
                                           assets. This issue exists for all open years, some of which
                                           are currently under examination.
                C.   Intercomp any         The Company's US subsidiaries deducted interest expense
                     Financing (US         related to notes due to certain non-US affiliates. The
                     federal and state)    Company concluded that these notes were debt for US tax
                                           purposes any related interest expense was deductible.
                                           Furthermore, the Company concluded that no limitations
                                           were applicable to limit the interest deduction under Code
                                           Section 163G) or any other provisions of the Code. Further,
                                           the Company concluded that no withholding tax was due
                                           when the interest payments were made to the non-US
                                           affiliates. The Company has not recorded any income tax
                                           reserves related to the intercompany financing transactions.
                d. Intercompany            Certain Icelandic subsidiaries deducted interest expense
                   Financing (Iceland):    related to notes due to non-US affiliates. The Company
                                           concluded that this interest was fully deductible. The
                                           Company has not recorded any income tax reserves related
                                           to the Icelandic intercompany financing transactions.
                e. Intercompan y           Certain UK subsidiaries deducted interest expense related to
                   Financing (UK):         notes due to certain non-US affiliates. The Company
                                           concluded that these notes were debt for UK tax purposes
                                           and the related interest was fully deductible. Furthermore,
                                           the Company concluded that no limitations were applicable

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                                          under any other provisions of the UK tax law. The·
                                          Company has not recorded any income tax reserves related
                                          to this intercornpany financing transaction.
              f.   Unremitted Earn ings   No liability or reserve has been provided for the tax cost of
                   of affi1iates          repatriating earnings of subsidiaries. The Company
                                          intended that these am ounts were indefinitely reinvested.
              g.   Interest income of     Iceland PTC holds receivables and receives interest income
                   Iceland PTC (US        from certain US entities. For periods when Iceland PTC was
                   federal and state)     a controlled foreign corporation ("CFC"), no portion of
                                          Iceland PTC's income was included in US taxable income
                                          as the CFC had no positive accumulated or current earnings
                                          and profits. No income tax reserve bas been provided.
              h. Deemed Liquidation       No reserve bas been provided related to either the fair value
                 of Actavis, Inc. SCS     or tax basis of the interests in Actavis, Inc. SCS at the time
                 (US federal and          of its deemed liquidation for US tax purposes in 2012,
                 state)                   which was a reportable loss transaction under the Code .
              1. Legal entity             Prior to April 2010, Actavis 000 (Russia) was owned 90%
                 reorganization           by Balkanpharma 000 (Bulgaria). At the time,
                 (Russia)                 Balkanpharma 000 was a dormant company that was
                                          owned by Actavis EAD, a Bulgarian entity. The Company
                                          restructured this ownership by merging Balkanpharma into
                                          Actavis 000, which resulted in one shareholder in Actavis
                                          000, which was a Dutch holding company. This item has
                                          not been examined by the relevant taxing authorities.
              J.   Withholding tax        Withholding tax may apply to interest payments
                   (Russia)               between Actavis PTC ehf. and Actavis 000, depending
                                          on the nature of the underlying loan in the eyes of
                                          relevant taxing authorities. No reserve has been
                                          recorded for this item.
              k. Transaction costs        The company deducted certain costs incurred in connection
                 (US federal and          with acquisitions of assets and shares. The Company has
                 state)                   not recorded a tax reserve for this item.
              1. State nexus (Various     Certain states have or could argue that the Company has
                 US state and local)      nexus and should file income tax returns in their
                                          jurisdictions. The Company has not recorded a tax reserve
                                          for all jurisdictions.
              m. Permanent                The Company received a notice for non-filing of a tax
                 Establishment Risk       return in Italy related to the Medis business. The Company
                 (Italy)                  believes it is more likely than not that activities rose to the
                                          level of a permanent establishment, and has recorded a
                                          reserve in connection with the non-filing notice
                                          accordingly.
              n. Intercompany             Axcan France claimed tax deductions related to interest
                 financing (France)       expense arising from loans with an entity based in a low tax
                                          jurisdiction




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                o.   Foreign Exchange       The Company deducted a foreign exchange loss related to
                     Loss (US federal and   the refinancing of certain intercompany payables for US
                     state)                 federal and state tax purposes. The Company has not
                                            recorded a tax reserve for this item.
                p. Withholding tax (US      The Company makes various payments to related and
                   federal and state)       unrelated non-US persons. The IRS may question the
                                            sufficiency of documentation supporting the need to
                                            withhold on these payments. The Company has not
                                            recorded a tax reserve for this item.

        The folJowing is a list of tax items under exam for which the Company has concluded a tax
        reserve is required under U.S. GAAP :

        Issue                               Description
                a. Section 199              The Company has provided a full tax reserve for its 199
                   deduction in short       deductions generated in short taxable years related to
                   taxable years (US        potential wage limitations.
                   federal and state)
                b. Section 199              The Company has provided a reserve for a portion of the
                   deduction, all other     domestic manufacturing deduction taken on its US federal
                   (US federal and          tax returns due to possible IRS challenges to deduction
                   state)                   calculations.
                C. Research and             The Company has provided a reserve for a portion the
                   Development credit       research and development credit taken on its US federal tax
                   (US federal and          returns to reflect possible IRS challenges to credit
                   state)                   calculations.

                d. Non-US charge out        The Company has provided a partial tax reserve for tax
                   of a management fee      deductions taken by affiliates ofPTC for management
                   from Actavis PTC to      charges from PTC.
                   other affiliates
                   (Various non-US
                   jurisdictions)
                e. Non-US Charge            The Company accrued severance payments in the U.K.,
                   back of severance        Puerto Rico and Germany. The severance expenses in the
                   expenses to Warner       U.K. and Germany were included as part of the transfer
                   Chilcott Company,        pricing adjustments and, as result, were borne by Warner
                   LLC (Germany, UK         Chilcott Company, LLC. Therefore, the tax exposure with
                   and Puerto Rico)         respect to this item is in Puerto Rico. Income tax reserves
                                            were established for the U.K. and German severance
                                            expenses borne by Puerto Rico as the tax authorities could
                                            argue that Puerto Ri.co has no contractual obligation to
                                            bear the economic cost of these expenses.
                f.   Asset sale (Spain)     In 2004, Actavis Pharma Iberia S.L. sold assets to the Vita
                                            Group. The sale generated a loss for tax purposes. This Joss
                                            could be challenged by the Spanish tax authorities when the
                                            Net Operating Losses are utilized. An income tax reserve




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                                          has been established for this item.
              g.   Charitable             The Company claimed a deduction for donated inventory at
                   Contributions (U S     twice cost. The IR S cha11enged both Actavis' fair market
                   federal and state)     value of the donated dru gs and the impact of expiration
                                          dates. The IR S has argued that these deductions were
                                          overstated. Moreover, the IR S contended that donated
                                          products with near term expiration dates should be valued at
                                          zero and therefore no charitable deduction should be
                                          allowed.
              h.   Combined filing (U S   Actavis Pharm a, Inc. filed its Indian a Corporate Income tax
                   state, Indiana)        return on a separate state filing basis. The Company has
                                          recorded a reserve related to the risk that its intercompany
                                          transactions with Actavis, Inc. and Subsidiaries could be
                                          included in the Indiana filing.
              1.   Net operating loss     On its Florida income tax returns, the Company claimed
                   (US state, Florida)    certain net operating losses and other deductions which may
                                          not have been available for use due to certain subsidiaries
                                          not having filed pre-consolitj.~t~~Ls~parate tax returns.
              J.   Actavis Pharma net     Actavis, Inc. has recorded an income tax reserve related to
                   operating loss         certain net operating loss carryovers generated in the
                   (Various US state)     Actavis Pharma, Inc. separate states. The net operating
                                          losses were generated primarily from interest expenses
                                          arising from debt used to acquire Schein Pharmaceutical,
                                          Inc. There is uncertainty whether the separate states would
                                          allow the interest expenses that resulted in the creation of
                                          the net operating losses.

              k. Intercompany             The company has recorded reserves related to the arm' s
                 transactions (US         length pricing of certain intercompany transactions.
                 state, Wisconsin)
              1. Location Savings         During the audit for the assessment year 2008-2009,
                 (India)                  Watson Pharma Private Limited was assessed with
                                          additional tax liabilities related to "location savings"
                                          associated with the contract manufacturing and research and
                                          development service segments that it operated.           The
                                          "location savings" argument attributes additional income to
                                          an Indian entity resulting from a comparison of the cost of
                                          operating a branch in India compared to operating a branch
                                          in other, arguably, more expensive locations.
              m. Transfer Pricing         The amount of profit earned by Actavis Italy SpA was less
                 (Italy)                  than the 3% markup that is generally earned pursuant to the
                                          Actavis group transfer pricing policy. Due to the significant
                                          Italian cost structure and higher costs of buying third party
                                          products, the PTC would have had to compensate Actavis
                                          Italy SpA for an amount that would have been higher than
                                          its costs of goods sold.




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               n. Transfer Pricing -       Warner Chilcott operates limited-risk               distributors
                  certain Warner           ("LRDs") in the United Kingdom ("WCUK"), France
                  Chilcott Distributors    ("WC France''), Spain ('WC Spain"), Italy ("WC Italy")
                  (Various non-US)         and Germany ("WC Germany''). WC restructured a number
                                           of its European operations effective with the start of the
                                           fourth quarter of FY 2011. The level of remuneration for
                                           several of Warner Chilcott's European distributors was
                                           reduced to reflect an appropriate arm's length level of
                                           compensation consistent with the reduction in the scope of
                                           functions performed by these entities fo1lowing the
                                           restructuring.
               o. Sale of assets           A tax loss resulting from the sale ofBalkanpharma Razgrad
                  (Bulgaria)               may be challenged by the tax authorities.
               p. Intercompany             The Actavis Danish entities are Actavis Nordic A/S,
                  financing and asset      Actavis A/S, Colotech A/S, and Medis-Danmark A/S (in
                  sales (Denmark)          Liquidation) which file a consolidated tax return in Demark.
                                           The Company had taken tax deductions related to interest
                                           expense, amortization related to Alpharma offset by a small
                                           gain on the sale of Alpharma. The Company has recorded a
                                           tax reserve for these deductions.
               q. Transfer Pricing         Actavis Canada Company and/or its predecessors entered
                  (Canada)                 into certain intercompany transactions with related parties.
                                           These transactions include contract R&D services, royalty
                                           payments for the use of proprietary formulations, and cost
                                           reimbursement transactions. In addition, the Company took
                                           SR&D benefits related to research and development
                                           activities of the Company. The Company has recorded a
                                           tax reserve for these intercom.12_any transactions.

        The following is a list of ongoing US federal audits:
               a) U.S. federal income tax audit, currently in appeals, for the tax years ended
                  12/31/2008 and 12/31/2009 for Actavis, Inc. (f/k/a Watson Pharmaceuticals, Inc.).
               b) U.S. federal income tax audit for the tax years ended 12/31/2010 and 12/31/2011 for
                  Actavis, Inc. (f/k/a Watson Pharmaceuticals, Inc.).

               c) U.S. federal income tax audit for the tax years ended 12/31/2009, 12/31/2010,
                  12/31/2011 and 10/31/2012 for Actavis LLC (f/k/a Actavis Inc.).

        The following is a list of ongoing non-US audits:

                       Legal Entity                         Country                Years
         Balkanpharma Troyan AD                             Bulgaria             2008-2010
         Cobalt Pharma Inc.                                 Canada               2011-2012
         Actavis A/S, Actavis Nordic A/S, Colotech
                                                            Denmark              2007-2011
         A/S
         Arrow Pharma Ap S                                  Denmark              2009-2014




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         Arr ow Group ApS                                   Denmark      I            2011
         Actavis OY                                          Finland               2013 - 2014
         Aptalis Pharma SAS                                  France          10/1/2009 - 09/30/2012
                                                               Italy
         Medis ehf                                                                2011-2012
                                                            (Iceland)
         Actavis ehf                                           Italy               All Years
         Actavis Group ehf                                   Iceland            AU Open Years
         Lotus Laboratories Pvt Ltd                           India               2010-2012
         Watson Pharma Pvt Ltd                                India               2008-2012
         Actavis Pharma Development Center Pvt                India               2011-2012
         Warner Chilcott Ltd                                 Ireland                 2012
         Actavis Italy S.P.A.                                  Italy              2011-2013
         Actavis New Zealand Ltd                          New Zealand             2012-2014
         Biovena Pharma Sp.                                  Poland               2010-2011
         Actavis Polska sp. Z.o.o.                           Poland             All Open Years
         Actavis 000                                         Russia             All Open Years
         Zdravlje doo                                         Serbia                 2013
         Zdravlje doo                                         Serbia            December 2014
         Actavis Switzerland AG                            Switzerland            2011-2012
         Forest Laboratories UK Ltd.                            UK              All Open Years

        The following is a list of ongoing U.S. state audits:

         Legal Entity                                       State                    Years
         Actavis Inc.                                     New York                   2011
         WPI & Subs                                       California          2000 - 2004 & 2007
         Watson Pharma and Affiliates                      Georgia                2000 -2008
         WPI& Subs                                         Illinois              2000- 2003
         WPI& Subs                                       Massachusetts           2011 - 2012
         Watson Pharma and Affiliates                     Michigan               2008- 2011
         Watson Pharma and Affiliates                     Minnesota              2009-2011
                                                          New York
         WPI & Subs                                          State                2006-2008
                                                          New York
         WPI & Subs                                          State                2009- 2011


        US federal statute waivers:

                                             Federal- IRS Audit

         Actavis, Inc. (fka: Watson       12/31/2008
         Pharmaceuticals, Inc. &              and        6/30/2016




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         Subs)                            12/31/2009

         Actavis, Inc. (flea: Watson      12/31/2010
         Pharm aceuticals, Inc. &             &
         Subs)                            12/31/2011    12/31/2016    Income Tax

         Cobalt Laboratories, Inc.        12/31/2010    6/30/2015     Withholding Tax
         Watson Laboratories, Inc.        12/31/2010    6/30/2015     Withholdin g Tax

                                          12/31/2009-
         Actavis Inc. (Legacy)             12/31/2012   11/30/2016    Income Tax


        US state and local statute waivers:

         Legal Entity                      State        Years             Waiver Extending SOL
                                                        2000to
         WPI & Subs                       Illinois       2003        December 31, 2015
                                                        2011 to
         WPI & Subs                    Massachusetts     2012        April 30, 2016
                                                        2006 to
         WPI & Subs                     New York         2008        September 30, 2015
                                                        2009 to
         WPI & Subs                     New York         2011        December 31, 2015

        Actavis, Inc. has certain indemnification obligations under Share and Asset Purchase Agreement,
        dated March 28, 2014, by and among Actavis Holding NWE B.V., Actavis Holding B.V.,
        Actavis Holding Germany GmbH, Arrow Group ApS, Actavis A/S, Actavis Italy SpA, Actavis,
        Inc., as Vendor Guarantor, Agile Pharma B.V., as Purchaser, and Helix Healthcare B.V., as
        Purchaser Guarantor.

        Aptalis Pharma SAS has certain indemnification obligations under the Stock and Asset Purchase
        Agreement dated February 12, 2015 by and between Atpalis Holdings Inc. and TPG Indigo
        s.a.u.
        Actavis, Inc. and the other US entities in the Transferred Group are members of a US
        consolidated federal income tax group which includes certain Sellers and Seller Affiliates.

        In 2009, Watson Pharmaceuticals, Inc. and Subsidiaries ("Watson") retired the $575 million face
        amount of the Debt for its face amount through a cash payment to holders of the Debt. Watson
        exercised its optional redemption rights under the terms of the Debt to redeem the Debt for cash.
        The total consideration paid to retire the Debt was less than the adjusted issue price of the Debt
        at the time of the conversion. Therefore, Watson should realize Cancellation of Debt ("COD")
        income of approximately $214.7 million with respect to the Debt. Under 108(i), Watson elected
        to defer the recognition of COD income. Instead of recognizing the COD income on Watson's




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        2009 tax return, the COD income will be ratably included in taxable income over a five-year
        period from 2014-2018.




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                                                                                EXECUTION VERSION
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                         Schedule 4.16(e)- Claims Relating to IntelJectual Property

        Generic Opana ER patent infringement litigations (Endo Pharms. Inc. et al. v. Actavis Inc. et al.,
        Case Nos. 12-cv-8985-Griesa (S.D.N.Y.); 14-cv-01381 -Andrews (D. Del.))

        Generic Lystedapatent infringement litigation (Perring B.V. v. Actavis, Inc. et al. 2:15-cv-
        04222-KSH-CLW (D.N.J.))

        Generic Opana ER false advertising litigation (Endo Phanns. Inc. v. Actavis, Inc, Case No. 2:12-
        cv-07591-KM-SCM (D.N.J.))

        Generic Valsartan patent proceedings in Finland.

        Generic Aripiprazole patent proceedings in Turkey.

        The Seller Parent and its Subsidiaries have been involved in the following "at risk" launches:

                   1. Opana ER (Endo Pharms. Inc. et al. v. Actavis Inc. et al., Case Nos. 12-cv-8985-
                      Griesa (S.D.N.Y.); 14-cv-01381 -Andrews (D. Del.))

                   2. Lysteda (Ferring B.V. v. Actavis, Inc. et al. 2:15-cv-04222-KSH-CLW (D.N.J.))

                   3. Lovenox (U.S.)

                   4. Aripiprazole (Turkey)

                   5. Pregabalin (Warner-Lambert Company LLC v Actavis Group PTC ehf, Actavis
                      UK Limited, Caduceus Pharma Limited - re Pregabalin, Claim No. HC-2014-
                      001795)

                   6. Escitalopram (Denmark) (H Lundbeck A/S v Actavis A/S re Escitalopram, case
                      number T-0010-11)

                   7. Valsartan (Finland) (Actavis Oy v Novartis AG, re Valsartan, case number S
                      12/1879)

                   8. Rosuvastatin (Australia) (Watson Pharma Pty Ltd v AstraZeneca AB,
                      AstraZeneca AB v Ascent Pharma Pty Ltd NSD208/2012 and NSD2342/201 l re
                      Rosuvastatin)

                   9. Quetiapine (Switzerland) (Actavis Switzerland AG v AstraZeneca AB, re
                      Quetiapine SR).

                   10. Entacapone Triple Combination (multiple markets) (Actavis Group PTC ehfv
                       Orion Corporation in the UK High Court HP14 A 01644 re Entacapone triple
                       combination)



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                 11. Rivastigmine Patch (Novartis AG and others v Focus Pharmacueticals and
                     Actavis UK Limited, in the UK High Court HP13 D 03312 re Rivastigmine patch)




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                                                                                 EXECUTION VERSION
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                                  Schedule 4.16(k) - Paragraph JV Products

        The following chart lists those products for wh.ich Actavis believes it has either exclusive or
        shared first-to-file status.

                            Product Name                            Believed First-to-File Status

           Acetaminophen/Oxycodone ER Tablets
                                                                              Exclusive
           (Xartemis XR), Mallinckrodt/Depomed
           32517.5mg

           Adapalene/Benzoyl Peroxide Topical Gel
                                                                              Exclusive
           (Epiduo ), Galdenna/Nestle
           0.1 %/2.5%, tube

           Ambrisentan Tablets
                                                                              Exclusive
           (Letairis), Gilead
           5mg, 10mg

            Ascorbic Acid/PEG 3350/Potassium
                                                                              Exclusive
            Chloride/Sodium Ascorbate/Sodium
            Chloride/Sodium Sulfate Powder for
            Solution
            (Moviprep ), Vale ant
            4.7 /100/1.015/5.9/2.691/7 .5g

            Benzoyl Peroxide/Clindamycin Topical Gel
                                                                              Exclusive
            (Acanya), Valeant
            2.5%/1.2%, pre-mixed pump

            Brimonidine tartrate Topical Gel
                                                                              Exclusive
            (Mirvaso ), Galdenna/Nestle
            0.33%

            Budesonide ER Tablets
                                                                              Exclusive
            (Uceris), Cosmo/Valeant
            9mg

            Buprenorphine Patch
                                                                              Exclusive
            (Bu trans), Purdue
             5mcg, 1 Omcg, 20mcg (FTF confirmed, 3M
            ANDA)
            15mcg (FTF confirmed, SLC ANDA)




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                          Product Name                Believed First-to-File Status

           Buprenorphine/Naloxone ODT
                                                               Exclusive
           (Zubsolv), Orexo
           1.4/0.36mg, 5.711.4mg

           Buprenorphine/Naloxone Thin Film
           (Suboxone ), Indivior                               Exclusive
           210.5mg, 812mg, 4/lmg, 1213mg

           Bupropion SR/Naltrexone ER Tablets
           (Contrave ), Orexigen/Takeda                        Exclusive
           9018mg

           Clindamycin Vaginal Cream
           (C1indesse ), Perrigo                               Exclusive
           2%

           Clindamyci.n Phosphate/Tretinion Topical
           Gel                                                 Exclusive
           (Ziana), Valeant
           l .2%/0.025%

           Deferasirox Dispersible Tablets for
           Suspension                                          Exclusive
           (Exjade ), Novartis
           125mg, 250mg, 500mg

           Diclofenac Potassium Soft Gel Capsules
           (Zipsor), Depomed                                   Exclusive
           25mg

           Diclofenac Sodium Topical Solution
           (Pennsaid 2%), Horizon                              Exclusive
           2%

           Dienogest/Estradiol Valerate Tablets
           (Natazia), Bayer                                    Exclusive
           3mg EV 213mg EV/Dienogest 1mg EV 212mg
           EV/D

           Doxylamine/Pyridoxine ER Tablets
           (Diclegis), Duchesnay                               Exclusive
           10110mg




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                         Product Name                 Believed First-to-File Status

           Drospirenone/EE plus MTHF Tablets
           (Beyaz), Bayer                                      Exclusive
           310.02mg, 0.451mg

           Drospirenone/EE plus MTHF Tablets
           (Safyral), Bayer                                    Exclusive
           3.0/0.03mg, 0.451mg

           Esomeprazole DR Capsules (OTC)
           (Nexium 24HR), Pfizer/AstraZeneca                   Exclusive
           20mg

           Etonogestrel/EE Vaginal Ring
           (Nuvaring), Merck/Bayer                             Exclusive
           0.12mg/0.015mg/24hr

           Fentanyl Citrate Sublingual Tablets
           (Abstral), Galena/Orexo                             Exclusive
           0.1mg, 0.2mg, 0.3mg, 0.4mg, 0.6mg, 0.8mg

           Gabapentin GR Tablets
           (Gralise ), Depomed                                 Exclusive
           300mg, 600mg

           Hydrocodone Bitartrate ER Capsules
           (Zohydro ER), Pemix                                 Exclusive
           10mg, 20mg, 30mg, 40mg, 50mg

           Icosapent Ethyl Soft Gel Capsules
           (Vascepa), Amarin                                   Exclusive
           lg

           Imiquimod Topical Cream
           (Zyclara), Valeant                                  Exclusive
           2.5%

           Imiquimod Topical Cream
           (Zyclara), Valeant                                  Exclusive
           3.75%

           Isotretinoin Hard Gel Capsules
           (Absorica), Cipher/Sun                              Exclusive
           10mg, 20mg, 30mg, 40mg




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                          Product Name                Believed First-to-File Status

           Lenalidomide Capsules
           (Revlimid), Celgene                                 Exclusive
           5mg, 10mg, 15mg, 25mg

           Levalbuterol HFA Aerosol Metered
           (Xopenex HF A), Sunovion                            Exclusive
           0.045mg

           Methylphenidate ER Powder for Suspension
           (Quillivant XR), Pfizer                             Exclusive
           5mg/m1

           Methylphenidate Transdermal Patch
           (Daytrana), Noven                                   Exclusive
           10mg, 15mg, 20mg, 30mg

           Morphine ER/Naltrexone Capsules
           (Embeda), Pfizer                                    Exclusive
           3011.2mg, 5012mg, 6012.4mg, 80/3 .2mg,
           10014mg

           Niacin/Simvastatin ER Tablets
           (Simcor), Abb Vie                                   Exclusive
           500140mg

           Nicotine Transdermal Patch (OTC)
           (Nicoderm CQ), GSK                                  Exclusive
           7mg/24hr, 14mg/24hr, 21mg/24hr

           Oxcarbazepine ER Tablets
           (Oxtellar XR), Supernus                             Exclusive
           150mg, 300mg, 600mg

           Oxycodone ER TR Tablets
           (OxyContin), Purdue                                 Exclusive
           Formulation A: 40mg

           Oxycodone ER TR Tablets
           (OxyContin ), Purdue                                Exclusive
           Formulation B: 10mg, 15mg, 20mg

           Oxymorphone ER TR Tablets
           (Opana ER), Endo                                    Exclusive
           5mg




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                         Product Name                  Believed First-to-File Status

           Phentermine/T opiramate ER Capsules
           (Qsymia), Vivus                                      Exclusive
           3.75123mg, 7.5146mg, 11.25/6mg, 15192mg

           Posaconazole DR Tablets
           (Noxafil), Merck                                     Exclusive
           100mg

           Prednisone DR Tablets
           (Rayos), Horizon                                     Exclusive
           1 mg, 2mg, 5mg

           Rotigotine Transdermal Patch
           (Neupro), UCB                                        Exclusive
           1mg, 2mg, 3mg, 4mg, 6mg, 8mg/24hr

           Sevelamer Carbonate Powder for Suspension
           (Renvela), Genzyme/Sanofi                            Exclusive
           0.8g, 2.4g

           Sodium Phosphate Dibasic
           Anhydrous/Sodium Phosphate Monobasic                 Exclusive
           Monohydrate Tablets
           (Osmoprep), Valeant
           0.398/1.102g

           Tacrolimus ER Capsules
           (Astagraf XL), Astellas                              Exclusive
           0.5mg, 1 mg, 5mg

           Tapentadol Oral Solution
           (Nucynta), Depomed                                   Exclusive
           20mg/m1

           Testosterone Topical Solution
           (Axiron), Lilly                                      Exclusive
           30mg/1.5ml

           Testosterone Topical Gel
           (Fortesta), Endo                                     Exclusive
           2%

           Topiramate ER Capsules
           (Trokendi XR), Supernus                              Exclusive




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                          Product Name          Believed First-to-File Status
           200mg



           Trazodone Hydrochloride ER Tablets
           (Oleptro ), Endo                              Exclusive
           150mg, 300mg

           Treprostinil Inhalation Solution
           (Tyvaso ), United Therapeutics                Exclusive
           1.74mg/2.9ml, ampules

           Vardenafil ODT
           (Staxyn), GSK                                 Exclusive
           10mg

           Abiraterone acetate Tablets
           (Zytiga), Johnson & Johnson                    Shared
           250mg

           Dabigatran Etexilate Capsules
           (Pradaxa), Boehringer Ingelheim                Shared
           75mg, 150mg

           Dalfampridine ER Tablets
           (Ampyra), Blan/Acorda                          Shared
           10mg

           Desvenlafaxine ER Tablets
           (Pristiq), Pfizer                              Shared
           50mg, 100mg

           Doxepin Hydrochloride Tablets
           (Silenor), Pemix                               Shared
           3mg, 6mg

           Dronedarone Tablets
           (Multaq), Sanofi                               Shared
           400mg

           Fesoterodine Fumarate SR Tablets
           (Toviaz), Pfizer                               Shared
           4mg, 8mg




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                          Product Name            Believed First-to-File Status

           Fingolimod Capsules
           (Gilenya), Novartis                              Shared
           0.5mg

           Lacosamide Tablets
           (Vimpat), UCB                                    Shared
           50mg, 100mg, 150mg, 200mg

           Lisdexamfetamine Dimesylate Capsules
           (Vyvanse ), Shire/New River                      Shared
           20mg, 30mg, 40mg, 50mg, 60mg, 70mg

           Lurasidone HCI Tablets
           (Latuda), Sunovion                               Shared
           20mg, 40mg, 60mg, 80mg, 120mg

           Pitavastatin Tablets
           (Livalo ), Kowa                                  Shared
           1 mg, 2mg, 4mg

           Prasugrel Tablets
           (Effient), Lilly                                 Shared
           5mg, 10mg

           Ramelteon Tablets
           (Rozerem ), Takeda                               Shared
           8mg

           Rasagiline Tablets
           (Azilect), Teva                                  Shared
           0.5mg, 1mg

           Rosuvastatin Tablets
           (Crestor), AstraZeneca                           Shared
           5mg, 10mg, 20mg, 40mg

           Saxagliptin Tablets
           (Onglyza), BMS                                   Shared
           2.5mg, 5mg

           Sitagliptin Tablets
           (Januvia), Merck                                 Shared
           25mg, 50mg, 100mg




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                            Product Name                            Believed First-to-File Status

           Sitagliptin/Metformin Tablets
           (Janumet), Merck                                                     Shared
           501500mg, 50/1000mg

           Tapentadol Tablets
           (Nucynta), Depomed                                                   Shared
           50mg, 75mg, 100mg

           Tapentadol ER Tablets
           (Nucynta ER), Depomed                                                Shared
           50mg, 100mg, 150mg, 200mg, 250mg

           Varenicline Tartrate Tablets
           (Chantix), Pfizer                                                    Shared
           0.5mg, 1mg



               The following chart lists those products/litigations for which Seller believes it could
        potentially commence sales without a valid license prior to closing.

                         Product/Litigation                        Believed 30-Month Stay Expiration
        Bortezomib Injection (V elcade®)
                                                                                   6/8/15
        Millennium Pharmaceuticals v. Actavis Inc. (D. Del.
        1:2012-cv-O 1011-Sleet)

        Estradiol Valerate/Dienogest (Natazia®)
                                                                                    NIA
        Bayer v. Watson (D. Del. 1 :2012-cv-01726-Stark)

        Levalbuterol Inhalation Aerosol (Xopenex HFA®)
                                                                                  12/20/14
        Sunovion Pharms. v. Watson (D. Del. 1 :2012-cv-
        00993-Stark)

        Oxymo~hone Extended-Release Tablets                                        6/6/15
        (Opana R CRT) "new formulation"

        Endo v. Actavis, Inc. (S.D.N.Y. 13-cv-0436-Griesa)

        Vardenafil ODT (Staxyn®)
                                                                                  9/14/14
        Bayer v. Watson (D. Del. 1 :2012-cv-00517-Sleet)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                  ALLERGAN_MDL_03367136
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                         Product/Litigation                    Believed 30-Month Stay Expiration
        Aripiprazole Tablets (Abilify®)
                                                                             NIA
        Otsuka v. Actavis Inc. (D.N.J. 1 :2014-cv-07106-
        Simandle)

        Lenalidomide Capsules (Revlimid®)
                                                                            418113
        Celgene Corp. v. Natco Pharma Ltd. (D.N.J. 10-cv-
        05197 -Wigen ton)

        Metbylpbenidate HCl Extended-Release Oral
                                                                             NIA
        Suspension, CII (Quillivant XR®)

        Tris Pharma Inc. v. Actavis Laboratories FL Inc. (D.
        Del. 1 :15-cv-00393-Sleet)

        Vardenafil Hydrochloride (Staxyn®)
                                                                            9/14114
        Bayer Pharma AG, et al. v. Watson Laboratories,
        Inc., et al. (D. Del. 1 :12cv-005l7-GMS-S1eet)

        Drospirenone/EE/Levomefolate and Levomefolate
                                                                           12120/15
        (Beyaz®)

        Merck & Cie and Bayer v. Watson (D. Del. 1 :2013-
        cv-01272-Andrews)
        Ethinyl Estradiol/Etonorgestrel Vaginal Ring
                                                                            6124116
        (NuvaRing®)

        Merck v. Warner Chilcott (D. Del. I :2013-cv-02088-
        Sleet)

        Testosterone Gel, 10 mg/0.5 g (Fortesta®)
                                                                            7116115
        Endo v. Watson (E.D. Tex. 2:13-cv-00192-Gilstrap)

        Bendamustine Injection (Treanda®)
                                                                            712116
        Cephalon v. Actavis LLC et al. (D. Del. 1 :13-cv-
        02046-Sleet)




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                         Product/Litigation                     Believed 30-Month Stay Expiration
        Buprenorphine/Naloxone Sublingual Film
                                                                             2/28/16
        (Suboxone®)

        Reckitt Benckiser v. Watson (D. Del. 1:2013-cv-
        0167 4-Andrews)

        Colchicine Tablets (Colcrys®)
                                                                             7 /3 l /16
        Takeda v. Actavis et al. (D. Del. 1:2014-cv-00268-
        Robinson)

        Doxylamine/Pyridoxine Delayed-Release Tablets
                                                                             12/2/16
        (Diclegis®)

        Duchesnay Inc. et al. v. Actavis FL (D. De1. 1 :2014-
        cv-00912-McNulty)



        Drospirenone/EE/Levomefolate and Levomefolate
                                                                            10/24/15
        (Safyral®)

        Merck & Cie and Bayer HealthCare Pharms. v.
        Watson (D. Del. 1 :2013-cv-00978-Andrews)

        Esomeprazol Delayed-Release Capsules
                                                                             8/4/15
        (Nexium®)

        AstraZeneca v. Watson (D.N.J. 3:2013-cv-01669-
        Pisano)-40 mg

        Esomeprazole and Naproxen Delayed-Release
                                                                             9/29/15
        Tablets (500/20 mg) (Vimovo®)

        AstrtiZeneca and Horizon v. Watson (D.N.J. 3:2011-
        cv-02317-Cooper)

        lcosapent Ethyl Capsules (Vascepa®)
                                                                             10/6/16
        Amarin v. Watson (D.N.J. 3:2014-cv-03259-Cooper)

        Isotretinoin Capsules (Absorica®)
                                                                             3/16/16
        Cipher/Ranbaxy et al. v. Watson Florida et al.
        (D.N.J. 1:2013-cv-06502-Irenus)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                             ALLERGAN_MDL_03367138
Case: 1:17-md-02804-DAP Doc #: 1967-59 Filed: 07/23/19 110 of 144. PageID #: 176723




                        Product/Litigation                   Believed 30-Montb Stay Expiration
        Lacosamide Tablets (Vimpat®)                                     12/12/15
        UCB et al. v. Watson Florida (D. Del. 1 :13-cv-
        01206/1219-Stark)

        Oxcarbazepine Extended-Release Tablets                           12/24/15
        (Oxtellar XR®)

        Supernus v. Watson (D.N.J. 1 :2013-cv-04740-Bumb)

        Phentermine and Topiramate Extended-Release                       11/5/16
        Capsules (Qsymia®)

        Vivus v. Watson (D.N.J. 2:2014-cv-03786-Chesler)

        Prasugrel Tablets (Effient®)                                      7/26/16
        Eli Lilly v. Watson (S.D. Ind. 1 :2014-cv-00389-
        Barker)

        Prednisone Delayed-Release Tablets (Rayos®)                       1/14/16
        Horizon v. Watson (D.N.J. l :2013-cv-05124-Irenus)



        Saxagliptin HCl Tablets (Onglyza®)                               10/19/16
        AstraZeneca v. Watson (D. Del. 1 :2014-cv-00664-
        Sleet)



        Saxagliptin and Metformin Extended-Release
                                                                         10/19/16
        Tablets (Kombiglyze XR®)

        AstraZeneca v. Watson (D. Del. l:2014-cv-00664-
        Sleet)

        Sodium Oxybate Oral Solution (Xyrem®)
                                                                          6/9/15
        Jazz v. Watson (D.N.J. 2: l 3-cv-00391-Salas)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                          ALLERGAN_MDL_03367139
Case: 1:17-md-02804-DAP Doc #: 1967-59 Filed: 07/23/19 111 of 144. PageID #: 176724




                         Product/Litigation                       Believed 30-Month Stay Expiration
        Tapentadol Immidiate-Release & Extended-
                                                                                 12/12/15
        Release Tablets (Nucynta")

        Janssen v. Actavis (D.N.J. 2:13-cv-04507-Cecchi)

        Tapentadol Oral Solution (Nucynta")
                                                                                 12/11/16
        Janssen v. Actavis (D.N.J. 2:14-cv-04617-Cecchi)

        Testosterone Topical Solution (Axiron®)
                                                                                  11/8/15
        Eli Lilly v. Watson (S.D. Ind. 1:2013-cv-00851-
        Barker)



              The following chart lists those products/litigations for which Seller believes the statutory
        30-month stays will expire in 2015-16.

                         Product/Litigation                       Believed 30-Month Stay Expiration
       . Drospirenone/EE/Levomefolate and Levomefolate
                                                                                 12/20/15
         (Beyaz®)

        Merck & Cie and Bayer v. Watson (D. Del. I :2013-
        cv-01272-Andrews)
        Ethinyl Estradiol/Etonorgestrel Vaginal Ring                             6/24/] 6
        (NuvaRing®)

        Merck v. Warner Chilcott (D. Del. l :2013-cv-02088-
        Sleet)

        Testosterone Gel, 10 mg/0.5 g (Fortesta®)
                                                                                 7 /16/15
        Endo v. Watson (E.D. Tex. 2:13-cv-00192-Gilstrap)

        Bendamustine Injection (Treanda®)
                                                                                  7/2/16
        Cephalon v. Actavis LLC et al. (D. Del. 1:13-cv-
        02046-Sleet)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                  ALLERGAN_MDL_03367140
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                         Product/Litigation                     Believed 30-Montb Stay Expiration
        Buprenorphine/Naloxone Sublingual Film
                                                                             2/28/16
        (Suboxone®)

        Reckitt Benckiser v. Watson (D. Del. 1 :2013-cv-
        0167 4-Andrews)

        Colchicine Tablets (Colcrys®)
                                                                             7 /31 /16
        Takeda v. Actavis et al. (D. Del. 1 :2014-cv-00268-
        Robinson)

        Doxylamine/Pyridoxine Delayed-Release Tablets
                                                                             12/2/16
        (Diclegis®)

        Duchesnay Inc. et al. v. Actavis FL (D. Del. 1 :2014-
        cv-00912-McNulty)



        Drospirenone/EE/Levomefolate and Levomefolate
                                                                            10/24/15
        (Safyral®)

        Merck & Cie and Bayer HealthCare Pharms. v.
        Watson (D. Del. 1 :2013-cv-00978-Andrews)

        Esomeprazol Delayed-Release Capsules
                                                                             8/4/15
        (Nexium®)

        AstraZeneca v. Watson (D.N.J. 3:2013-cv-01669-
        Pisano) - 40 mg

        Esomeprazole and Naproxen Delayed-Release
                                                                             9/29/15
        Tablets (500/20 mg) (Vimovo®)

        AstraZeneca and Horizon v. Watson (D.N.J. 3:2011-
        cv-02317-Cooper)

        Icosapent Ethyl Capsules (Vascepa®)
                                                                             10/6/16
        Amarin v. Watson (D.N.J. 3:2014-cv-03259-Cooper)

        Isotretinoin Capsules (Absorica®)
                                                                            3/16/16
        Cipher/Ranbaxy et al. v. Watson Florida et al.
        (D.N.J. 1 :201.3-cv-06502-Irenus)




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                              ALLERGAN_MDL_03367141
Case: 1:17-md-02804-DAP Doc #: 1967-59 Filed: 07/23/19 113 of 144. PageID #: 176726




                         Product/Litigation                  Believed 30-Month Stay Expiration
        Lacosamide Tablets (Vimpat®)
                                                                         12/12/15
        UCB et al. v. Watson Florida (D. Del. 1 :13-cv-
        01206/1219-Stark)

        Oxcarbazepine Extended-Release Tablets
                                                                         12/24/15
        (Oxtellar XR®)

        Supernus v. Watson (D.N.J. I :2013-cv-04740-Bumb)

        Phentermine and Topiramate Extended-Release
                                                                          11/5/16
        Capsules (Qsymia®)

        Vivus v. Watson (D.N.J. 2:2014-cv-03786-Chesler)

        Prasugrel Tablets (Effient®)
                                                                          7/26/16
        Eli Lilly v. Watson (S.D. Ind. 1 :2014-cv-00389-
        Barker)

        Prednisone Delayed-Release Tablets (Rayos®)
                                                                          1/14/16
        Horizon v. Watson (D.N.J. 1 :2013-cv-05124-Irenus)



        Saxagliptin HCI Tablets (Onglyza®)                               10/19/16
        AstraZeneca v. Watson (D. Del. 1 :2014-cv-00664-
        Sleet)



        Saxagliptin and Metformin Extended-Release
                                                                         10/19/16
        Tablets (Kombiglyze XR®)

        AstraZeneca v. Watson (D. Del. l:2014-cv-00664-
        Sleet)

        Sodium Oxybate Oral Solution (Xyrem®)
                                                                          6/9/15
        Jazz v. Watson (D.N.J. 2:13-cv-00391-Salas)




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                        Product/Litigation                 Believed 30-M ontb Stay Expiration

        Tapentadol lmmidiate-Release & Extended-
                                                                        12/12/15
        Release Tablets (Nucynta")

        Janssen v. Actavis (D.N.J. 2:13-cv-04507-Cecchi)

        Tapentadol Oral Solution (Nucynta")
                                                                        12/11/16
        Janssen v. Actavis (D.N.J. 2:14-cv-04617-Cecchi)

        Testosterone Topical Solution (Axiron®)
                                                                        11/8/15
        Eli Lilly v. Watson (S.D. Ind. l:2013-cv-00851-
        Barker)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                        ALLERGAN_MDL_03367143
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                        Schedule 4.17(a) - Transferred Owned Real Property




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                                                                                                           EXECUTION VERSION
                                                                                                                CONFIDENTIAL


             Country          City                       Address
             Brazil           Rio de Janeiro             Rua Barao De Petropolis 293
             Brazil           Rio de Janeiro             Rua Barao De Petropolis 311
             Bulgaria         Dupnitsa                   Samokovsko shosse 3, Buildings 1 through 31
             Bulgaria         Sofia                      Rainbow Plaze: 29, Atanas Dukov Street, 1407, 2nd and 3rd
             Bulgaria         Troyan                     I , Krayrechna S tr.
             Canada           Mississauga                6500 Kitimat Road
             China            Shanghai                   Suites 3101,3102,3103,3104; 31st Floor Tower B, Eton Plaza ,555 Pudong Dadao
             Greece           Athens                     Octovriou 28, Agia V arvara
             Greece           Schimitari                 Thesi Rahili Schimatariou, Oinois 32009
             Iceland          Hafnarfjordur              Reykjavikurvegur 76
             Iceland          Hafnarfjordur              Reykjavikurvegur 78
             Iceland          Hafnarfjordur              Reykjavikurvegur 80
             Iceland          Kopavogur                  Karsnesbraut 108,201 Kopavogur
             Iceland          Uthlio, Selfos             Djaknavegur 23 & 27
             India            Ambernath                  N-15 Additional Ambemath Industrial Area, District 3
             India            Ambernath                  Plot K - 7 Additional Ambernath Industrial Area, District 3
             Ireland          Baldoyle                   Unit 146, Baldoyle Industrial Estate, Grange Rd
             Ireland          Dundalk                    Building B, Xerox Technology Park
             Italy            Nerviano                   Viale Pasteur 10
             New Zealand      Auckland                   Unit B8, 31-49 N ormanby Road, Mt. Eden
             New Zealand      Auckland                   Unit B9, 31-49 NormanbyRoad, Mt. Eden
             Puerto Rico      Las Crobas                 El Conquistador, 1000 Conquistador Ave, Las Croabas, Puerto Rico 00738. Units
                                                         5091, 92 and 93
             Puerto Rico      Manati                     PR Road 2, KM 46.2, Coto Norte Ward
             Romania          Bucharest                  Bucharest 1, 11 Ion Mihalache blvd.
             Romania          Bucharest                  Bucharest 1, 179-185 Odai Street
             Serbia           Leskovac                   Vlajkova 199
             Thailand         Phra Nakhon Si Ayutthaya   89 Moo 1, Tambon Ban Chang, Amphoe Uthai

                                                  -90-




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                              ALLERGAN_M DL_03367145
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             UK               Barnstaple             Barnstaple Site, Whiddon Valley Industrial Estate
             UK               Lame                   Old Belfast Road, Millbrook
             USA              Copiague               200 North Oak Street
             USA              Copiague               26 Bethpage Road
             USA              Copiague               33 Ralph Ave
             USA              Copiague               45 Ralph Ave
             USA              Corona                 100 Business Center Drive (B2)
             USA              Corona                 1781 Capital Street
             USA              Corona                 1791 Capital Street
             USA              Corona                 311 Bonnie Circle (B4)
             USA              Davie                  4955 Orange Drive
             USA              Elizabeth              200 Elmora Avenue
             USA              Grand Island           3000 Alt Blvd
             USA              Gurnee                 605 Tri-State PKY
             USA              Salt Lake City         579 South Chipeta Way




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                               ALLERGAN_MDL_03367146
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                                                Schedule 5.2
                                               Share Capital

        Amended and Restated Deposit Agreement, dated November 5, 2012, among Teva
        Pharmaceutical Industries Limited, JPMorgan Chase Bank N.A., as depositary, and the holders
        from time to time of shares

        Convertible Senior Debentures issued January 2006 and due in 2026




        LA_LANOl :284952.6




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                           ALLERGAN_MDL_03367147
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                                                    Schedule 5.3
                             Corporate Authority Relative to this Agreement; No Violation

        The following material Contracts contain provisions which may be breached if Closing were to
        occur without new Debt Financing being put in place by Buyer Parent:

        Senior Unsecured Revolving Credit Agreement among Teva Pharmaceutical Industries Limited,
        Teva Pharmaceuticals USA, Inc., Teva Finance Services B.V., Teva Finance Services II B.V.,
        Teva Capital Services Switzerland GMBH, Citibank N.A., as administrative agent and HSBC
        Bartle PLC, as documentation agent, dated December 18, 2012 (as amended from time to time)

        Senior Unsecured Japanese Yen Term Loan Agreement among Teva Pharmaceutical Industries
        Limited, Teva Holdings K.K. and Mizuho Bank, Ltd., as administrative agent, dated December
        17,2013

        Senior Unsecured Fixed Rate Japanese Yen Term Loan Credit Agreement dated among Teva
        Pharmaceutical Industries Limited, Teva Holdings G.K. and Sumitomo Mitsui Banking
        Corporation, as administrative agent, dated March 28, 2012




        LA_LANOl :284952.6




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                               ALLERGAN_MDL_03367148
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                                                     Schedule 5. 7
                                         Absence of Certain Changes or Events


        Teva's proposal to acquire Mylan N.V.

        Dividends declared by Tiger since December 31, 2014:

                 •           $00.34 per ordinary share - Declared February 5, 2015

                 •           $00.34 per ordinary share - Declared May 4, 2015




        LA_LANOJ :284952.6




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                           ALLERGAN_MDL_03367149
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                                                     Schedule 5.9
                                         Consents and Governmental Approvals

        Filings under the Foreign Antitrust Laws whose Consent is required include:

                 •           Canada (clearance)

                 •           The European Union (clearance)

                 •           The Russian Federation (clearance)

                 •           The Republic of Serbia (clearance)

                 •           The Republic of Turkey (clearance)

                 •           Ukraine (clearance)




        LA_LANOJ :284952.6




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                             ALLERGAN_MDL_03367150
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                                                                                EXE CUTI ON VE RSION
                                                                                      CONF ID ENTIAL

                                  Schedule 6.1 (b) - Conduct of the Business

               Pursuant to the sale and purchase agreement entered into on 23 January 2015 between,
               inter alia, Amit Patel, Meeta Patel and Actavis plc, the determination of the completion
               statements is sti11 ongoing. The parties are not currently in dispute and Seller Parent's
               current estimate is that the Vendors (as defined in the purchase agreement) will be
               entitled to an additional payment of approximately £2.4 million. These discussion with
               continue following signing of the Agreement.

               An amended version of the Master Supply Agreement between Watson Laboratories, Inc.
               and Catalent Pharma Solutions, LLC is expected to be signed shortly after signing the
               Agreement. The version of the Master Supply Agreement that is executed shortly after
               signing the Agreement is expected to be substantially similar to the draft that has been
               provided to Buyer Parent prior to the date of the Agreement.

               Buyer Parent and its Subsidiaries (including the Transfening Group) intends to settle
               ANDA and/or patent claims related to the following products; provided that
               notwithstanding anything to the contrary, Seller Parent shall inform Buyer Parent a
               reasonable period in advance prior of entering into a settlement with respect to the
               following products:

                   o Natazia (Settlement/AG Supply)
                   o Staxyn (Settlement/AG Supply of Levitra)
                   o Beyaz (Settlement/ AG Supply)
                   o Safyral (Settlement/AG Supply)
                   o Xopenex HFA (Settlement/AG Supply)
                   o Letairis
                   o Treanda
                   o Ampyra
                   o Multaq
                   o Minivelle
                   o Abstral
                   o Gilenya
                   o Absorica
                   o Effient (agreement to be bound)
                   o Revlimid
                   o Men's & Women's Rogaine
                   o Brisdelle
                   o Zometa
                   o Onglyza
                   o Kombiglyze XR
                   o NexiumRx
                   o NexiumOTC

        Retention Bonus Plan: Seller Parent may adopt a cash retention program at one or more of the
        Transferred Entities for key Business Employees, to be paid after the Closing, with an aggregate

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        retention pool ofup to $20 million, with the participants and terms to be jointly agreed upon by
        Seller Parent and Buyer Parent in reasonable consultation.

        Nothing in Section 6.1 and 6.2 of the Agreement shall prevent the Seller Parent and its Affiliates
        from implementing any lease terminations or employee term inations in connection with existing
        integration plans announced as of the date hereof.




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                ALLERGAN_MDL_03367152
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                                                Schedule 6.l(t)
                                                  Dividends

        Quarterly dividends by Buyer Parent in accordance with past practice.




        LA_LANOl :284952.6




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                       ALLERGAN_MDL_03367153
                                                                Case: 1:17-md-02804-DAP Doc #: 1967-59 Filed: 07/23/19 125 of 144. PageID #: 176738



;~}~· Allergan
                                                Allergan pie and Subsidiaries
                                                      At August 2, 2016
                                                                                                                                                                                                      ~:,.'<~L_,c,£,:..,,:,l?.
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Page 1 of 6



                                                  Prepared by Carina Sinclair, Tax Department                                                                                                                       Warner Chilcott pie.
                                                                                                                                                                                                                              (Ireland)
                                                                                                                                                                                                                            EIN:98-0616!M8                        1327
                        = Legal Entities Sold to Teva on August 2, 2016
                                                                                                                                                                                                                 Warner Chilcott limited
                                                                                                                                                                                                                        (Bermuda)
                                                                                                                                                                                                                     EIN: XX-XXXXXXX     1265


                                                                                                                                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                            100'/,1-
                                                                                                                                                                                                               Warner Chilcott Holdings                                  I       ~llrr:~af,'ifP"'~-~~
                                                             100%
                                                          Actavis Ireland Holding
                                                                  Limited                                        I
                                                                                                                                                                                                                 Company II, Limited


                                                                                                                                                                                                                            ~I=
                                                                                                                                                                                                                {Bermuda) EIN: XX-XXXXXXX 1263                                   ;~~:~;~!.i~; ~~~il~r:!~                                                                             _I ~00%
                                                                                                                                                                                                                                                                                                                                                                                Actavis WC 1 r.l,     s.a
                                                                                                                                                                                                                                                                                                                                                                                 (f/1/1 WC Luxembourg U rl)
                                                                                                                                                                                                                                                                                                                                                                              (Luxemb~urg) ~1011638 1354
                                                                         (Ireland)
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                                                      Actavis Capital S.a r.l.
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                                                     (Delaware) EIN: XX-XXXXXXX                      1020                                                                                                                                                                                                                                                              (Luxembourg)
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                   ALLERGAN MDL 03674501
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 ;:t•• Allergan                                           Allergan pie and Subsidiaries
                                                                At August 2, 2016
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                                                  "Legacy Watson, Warner Chilcott US, Durata"

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                                                                        Prepared by Carina Sinclair, Tax Department


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=·=~~·• Allergan                                           Allergan pie and Subsidiaries
                                                                 At August 2, 2016
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                                                             "Arrow, Specifar, Ascent"
                                                              Prepared by Carina Sinclair, Tax Department
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 Nate: Actavis Holding 2 S.a r.l. (flkla Watson Pharma 2 S.a.r.l.)
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 •Arrow Laboratories Ltd (Malta)                                                                                                                                                                                                     Actavis           ll'/IW-
 •Arrow Supplies Ltd (Malla)- in liquidation
 •Actavis Se1Vices {Asia) Ltd (flkla Marrow Holdings Ltd. (Malta}
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 •Arrow International Ltd (Malta)
 •Anow Pharm (Malla) Ltd (Malla)
 •Rabin Hood Holdings Ltd. (Malta)                                                                                                                                                                                  (~c:a;~~~~=~!i;~\a/;~;-l                              j                                                                                         --~-
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 Nate: Arrow ApS awns a single share {of 3000) of the Mexican company:
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                                                        at August 2, 2016
                                                        "Actavis, Uteron"
                                                    Prepared by Carina Sinclair, Tax Department
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                                                                 Prepared by Carina Sinclair, Tax Department
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CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                                                             ALLERGAN MDL 03674505
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 ·,:J~· Allergan                                                                  Allergan pie and Subsidiaries
                                                                                        At August 2, 2016



  Allergan Sales, UC
                                                                                  Allergan, Inc. and Subsidiaries



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                            Holdings, UC                                                                                                                                                                                                                                                                                                                                                                                     Development                        Engineering,                        Corporation                                                        :       Tango US                 :
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                          EIN: XX-XXXXXXX                         EIN:XX-XXXXXXX                  EIN: 98-04 35450                  Private Limited                                                                                                                                                                                      Philippines, Inc.                                                                                                      Holdings (Ireland)                                                                                     Laboratories, LLC
                                                                                                                                                                                                                                                                                                                                                                   Taiwan Co. Ltd.                    DI: 01/04/05                                                                                     Benelux S.A.




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                           DI: 09/01/2011                         DI: 09/20/2012                     DI: 12/16/03                    DI: 11/18/08                                                                                                                                                                                         DI: 09/17/2010                                                                                                         EIN: XX-XXXXXXX                                                                                          Pl:Delaware
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     26.«i1               Pl: Ireland 0473                       Pl: Ireland 0474                   Pl: Singapore                       Pl: India                                                                                                                                                                                          Pl: Phlllpplnes            Pl: Taiwan                          0632                                                                                                                                                             See Page 5
                                                                                                         0631                         0641 &0642
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          Allergan                                                                                                                                                              deC.V.                          Productos•             Laboratorios                            de Colombia S.A.            · Holdings Bl,                                                      Irvine, Inc.                                       lnamedDo                                                                                      Allergan      I
                                                                                        Indonesia \ 1 Vietnam )                                                                                                                                                                                                                                  EIN: XX-XXXXXXX                                                                                                                                                            Holdings s.A r.l.
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                      DI: 11/25/09                                                      EIN: 98-05"0857                  DI: 12/14/98                        , EIN: 98-107488S                                                       EIN: XX-XXXXXXX                                                                                                                                  DI: 03/12/68
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 Holdings, UC
 DI: 06/18/2007
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                    DI: 08/15/2007
                    Pl: Ireland 0418

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:ONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                                                                                                                                                                                                                                      ALLERGAN MDL 03674506
                        Case: 1:17-md-02804-DAP Doc #: 1967-59 Filed: 07/23/19 131 of 144. PageID #: 176744

       Steve Kaufhold: Information collected in response to Plaintiffs' 30(b )(6) Notice


NO                  Topic                                                                   Response
43.1   The corporate structure of all                                                 Corporate History
       Allergan entities (including
       Allergan Finance, LLC,             See provided graphic laying out Allergan's transactional history.
       Allergan plc, and all
       subsidiaries, parents,                                                        Corporate Structure
       predecessors, successors
       and/or associated entities         The corporate structure of all the entities identified below is shown in the following corporate
       resulting from any and all         organizational charts: 2011-01-05 ALLERGAN_MDL_03367307; 2011-01-21
       mergers over the years) and        ALLERGAN_MDL_03367302; 2012-10-12 ALLERGAN_MDL_03367301; 2012-11-30
       each such entity's                 ALLERGAN_MDL_02761472; 2012-12-31 ALLERGAN_MDL_03367304; 2013-01-24
       involvement with any opioid        ALLERGAN_MDL_02758853; 2013-06-30 ALLERGAN_MDL_02931208; 2013-10-01
       products from 1995 to the          ALLERGAN_MDL_Ol 098786; 2014-01-31 ALLERGAN_MDL_01384578; 2014-06-30
       present, including the             ALLERGAN_MDL_03295845; 2014-12-31 ALLERGAN_MDL_02177059; 2015-01-01
                                          ALLERGAN_MDL_02079795; 2015-09-08 ALLERGAN_MDL_01471538; 2015-09-30
       identification of all drugs, the
                                          ALLERGAN_MDL_02147315; 2016-01-01 ALLERGAN_MDL_01373731; 2016-03-31
       entity's role in connection
                                          ALLERGAN_MDL_02147111; 2016-08-03 ALLERGAN_MDL_03295865; 2016-09-30
       with such drugs, and all opioid
                                          ALLERGAN_MDL_03295869; 2017-06-30 ALLERGAN_MDL_00000006; 2017-08-01
       management involved.
                                          ALLERGAN_MDL_OOOOOOOl; 2018-03-31 ALLERGAN_MDL_03295860.

                                          Key Chart - 08-02-2016 ALLERGAN_MDL_03674501

                                                                                  Involvement with Opioids

                                          Transferred Entities/IP Ownership:

                                          Allergan sold its generic businesses to Teva in 2016. Teva - Allergan MPA
                                          (ALLERGAN_MDL_O 1481207). As part of that transaction, Allergan sold a number of entities to Teva
                                          that were involved with generic opioids. The following entities sold to Teva were listed as the ANDA or
                                          NDA holders for the following schedule II opioid products (see FDA "Orange Book"):

                                                  1.     Watson Laboratories, Inc.
                        Case: 1:17-md-02804-DAP Doc #: 1967-59 Filed: 07/23/19 132 of 144. PageID #: 176745




NO                   Topic                                                                     Response
                                                           (a)    Fentanyl citrate injection (ANDA# 074917)

                                                           (b)    Fentanyl citrate table (ANDA# 079075)

                                                           (c)     Fentanyl transdermal (ANDA# 076709)

                                                           (d)    Hydrocodone I acetaminophen (ANDA #s 081083; 081080; 081079; 040094;
                                                                  040122;040123;040099;040148;089883;040248)

                                                           (e)    Meperidine Hydrochloride Injection (ANDA #s 073443; 073444; 073445)

                                                           (f)    Meperidine Hydrochloride Tablet (ANDA #s 040186)

                                                           (g)    Morphine sulfate injection (ANDA #s 073373; 073374; 073375; 073376)

                                                           (h)    Morphine sulfate capsule (ANDA #s 200812)

                                                           (i)    Oxycodone I acetaminophen (ANDA #s 040234; 040171; 040371; 040535)

                                                           (j)    Oxycodone I aspirin (ANDA #s 040255; 090084)

                                                           (k)    Oxycodone I ibuprofen (ANDA# 078394)

                                                           (I)    Morphine sulfate tablet (ANDA# 075656)

                                                   2.     Actavis Laboratories FL, Inc. f/k/a Watson Laboratories, Inc. - Florida

                                                           (a)    Hydrocodone I acetaminophen (ANDA #s 040493; 040494; 040495; 0401481;
                                                                  206470)

                                                           (b)    Hydrocodone I ibuprofen (ANDA #s 077454; 076604)


     1
         Some products are listed under more than one entity if the ANDA or NDA transferred between the entities.


                                                                              2
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NO   Topic                                                       Response
                                (c)    Oxycodone / aspirin (ANDA# 090084)

                                (d)    Hydromorphone tablet (ANDA# 202144)

                           3.   Actavis Totowa LLC

                                (a)    Oxycodone / acetaminophen (ANDA #s 040203; 040199; 040800)

                                (b)    Homatropine methy]bromide / hydrocodone bitartrate (ANDA# 040295)

                                (c)    Oxycodone I hydrochloride tablet (ANDA# 076636)

                          4.    Actavis Elizabeth LLC

                                (a)    Oxycodone I acetaminophen (ANDA #s 040203; 040199; 040800; 201447)

                                (b)    Homatropine methylbrornide / hydrocodone bitartrate (ANDA# 040295)

                                (c)    Morphine sulfate capsule (ANDA #s 020616; 079040)

                                (d)    Morphine sulfate tablet (ANDA# 203849)

                                (e)    Oxycodone / hydrochloride tablet (ANDA# 076636)

                                (f)    Oxycodone / ibuprofen (ANDA# 078769)

                                (g)    Oxymorphone tablet (ANDA# 079046)

                          5.    Actavis Mid Atlantic LLC

                                (a)    Hornatropine methylbromide / hydrocodone bitartrate (ANDA# 088017)

                          6.    Actavis Laboratories UT, Inc. f/k/a Watson Laboratories, Inc. Salt Lake City




                                                  3
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NO   Topic                                                           Response
                                    (a)    Morphine sulfate capsule (NDA # 020616)

                             7.     Acta vis South Atlantic LLC

                                    (a)    Oxymorphone tablet (ANDA# 079046)

                                    (b)    Fentany1 transdermal (ANDA# 077602)

                     Remaining Allergan Entities:

                     Kadian®: From December 19, 2005, until it purchased the medication, Actavis Elizabeth LLC served as
                     the contract manufacturer of Kadian® for Alpharma. February 2, 2008 Actavis Elizabeth and Alpharma
                     Contract (ALLERGAN_MDL_OI076982); December 19, 2005, Alpharma - Purepac Contract
                     (ALLERGAN_MDL_Ol474803).

                     Actavis Elizabeth LLC acquired Kadian® from Alpharma in December 2008. December 17, 2008 Asset
                     Purchase Agreement by and between King Pharmaceuticals, Inc. and Actavis Elizabeth, L.L.C.
                     (ALLERGAN_MDL_O 1514893).

                     The holders of the Kadian® NDA (020616) since December 2008 were and are (see FDA "Orange
                     Book"):

                     •   December 2008-2013: Actavis Elizabeth LLC

                     •   2013-2016: Actavis Laboratories UT, Inc. f/k/a Watson Laboratories, Inc. - Salt Lake City

                     •   2016-Present: Allergan Sales, LLC

                     April 11, 2013 Transfer Letter (ALLERGAN_MDL_00811313); November 20, 2014, Company Name
                     Change Letter (ALLERGAN_MDL_02195036); March 11, 2016 Transfer Letter
                     (ALLERGAN_MDL_0219764 7).




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NO                Topic                                                                 Response
                                        As part of the sale of its generic business to Teva, Teva agreed to continue manufacturing Kadian® and
                                        Norco for Allergan. Exhibit B of Teva-Allergan 2015 MPA (ALLERGAN_MDL_03367042). At that
                                        time, Allergan also contracted with UPS SCS, Inc. to distribute controlled substances, including Kadian®
                                        and Norco. 2015 UPS Allergan Contract ALLERGAN_MDL_01396729.

                                        Since December 2008, Kadian's label has identified the following entities as the manufacturer or
                                        distributor of Kadi an®: Actavis Elizabeth LLC; Actavis Kadian LLC; Actavis Pharma, Inc.; and Allergan
                                        USA, Inc. 02/2009 Label (ALLERGAN_MDL_02200691); 02/2010 Label
                                        (ALLERGAN_MDL_Ol 132982); 07/2012 Label"; 04/2014 Label3.

                                        The current label (revised 09/20184) states that Kadian® is distributed by AJJergan USA, Inc.; however,
                                        Allergan USA, Inc. does not distribute Kadian® itself. Instead, after Allergan sold the entities with the
                                        DEA-registrations required to produce and distribute schedule II controlled substances, Allergan USA,
                                        Inc. has contracted with UPS SCS, Inc. to distribute Kadian® on its behalf. 2015 UPS Allergan Contract
                                        (ALLERGAN_MDL_Ol 396729).

                                        Norco: The holders of the Norco ANDAs (40099 & 40148) were and are (see FDA "Orange Book"):

                                       ANDA40099:

                                       •   1997-1999: UCB Pharmaceuticals, Inc .

                                       •   2000-2015: Watson Laboratories, Inc .

                                       •   2016: Allergan Sales, LLC

                                       •   2017-Present: Allergan Pharmaceuticals International Limited




     2
         https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/020616s041 lbl.pdf
         https://www.accessdata.fda.gov/drugsatfda_docs/label/2014/020616s051 lbl.pdf
     4
         https://www.allergan.com/assets/pdf/kadian_pi


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NO                Topic                                                                    Response
                                        ANDA 40148:

                                        •   1997-2014: Watson Laboratories, Inc .

                                        •   2015: Actavis Laboratories FL, Inc .

                                        •   2016: Allergan Sales, LLC

                                        •   2017-Present: Allergan Pharmaceuticals International Limited

                                        The following entities were involved in manufacturing and distributing Norco: Watson Pharma, Inc.,
                                        Watson Laboratories, Inc., Warner Chilcott Company, LLC, Allergan USA, Inc., and Allergan Sales,
                                        LLC. 04/2002 Label (ALLERGAN_MDL_01095947); April 2003 Label
                                        (ALLERGAN_MDL_O 1095940); 0712007 Label (ALLERGAN_MDL_O 1680965); 10/2009 Label
                                        (ALLERGAN_MDL_02206790); 06/2011 Labels (ALLERGAN_MDL_02209823;
                                        ALLERGAN_MDL_02210219); 08/2012 Label (ALLERGAN_MDL_Ol 768757); 08/2013 Labels
                                        (ALLERGAN_MDL_02210402; ALLERGAN_MDL_02209867); 2014 Labels5; 02/2017 Label
                                        (ALLERGAN_MDL_02219168); Current Label6.

                                        Similar to Kadian®, after Allergan sold the entities with the DEA-registrations required to produce and
                                        distribute schedule II controlled substances, Allergan contracted with Teva and UPS, SCS Inc. to
                                        manufacture and distribute Norco on behalf of Allergan USA, Inc. and Allergan Sales, LLC. 2015 UPS
                                        Allergan Contract (ALLERGAN_MDL_Ol 396729); Exhibit B of Teva-Allergan 2015 MPA
                                        (ALLERGAN_MDL_03367042).

                                        Other Schedule II Branded Drugs: Between 2004 and 2006, Watson Pharmaceuticals, Inc., collaborated
                                        with Interpham, Inc. (the ANDA holder) in the marketing and sale of Reprexain (ANDA 076642 -
                                        Hydrocodone bitartrate / ibuprofen). June 07, 2004 Email & Press Release Announcing Launch



         https://www.accessdata.fda.gov/drugsatfda docs/labe]/2014/0400990rigl sOl 8lbl.pdf;
         https://www.accessdata.fda.gov/drugsatfda_docs/]abel/2014/040 l 48s053lbl. pdf
     6
         https://www.allergan.com/assets/pdf/norco_pi


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NO                 Topic                                                                   Response
                                         (ALLERGAN_MDL_01830938; ALLERGAN_MDL_Ol 830941); June 14, 2006 Email Discussing No
                                         Longer Promoting Reprexain (ALLERGAN_MDL_Ol 728789).

                                         On October 12, 2000, Watson Pharma, Inc. announced the addition of Maxidone (40094 - hydrocodone
                                         bitartrate / acetaminophen) to its product portfolio. October 12, 2000 Product Introduction Notification
                                         (ALLERGAN_MDL_02579713). Since 2015, Maxidone has been included on the FDA's list of
                                         discontinued drugs. (See 2015 FDA Orange Book, "Discontinued Drug Product List").

                                         Actavis acquired Forest Laboratories, Inc. in 2014. Prior to the acquisition, Forest Laboratories, Inc. sold
                                         a product called Combunox (021378 - Oxycodone Hydrochloride/ ibuprofen). Forest received approval
                                         for Combunox on November 26, 2004. Since 2012, Combunox has been included on the FDA's list of
                                         discontinued drugs. (See 2012 FDA Orange Book, "Discontinued Drug Product List").

43.2   The management of the             Each of the seven entities identified above that had involvement with generic opioid medications is
       generic opioid business from      included on Schedule 4.6(g) of the Teva-Allergan MPA, which lists the entities transferred to Teva. Teva-
       1995 to the present for all       Allergan MPA Schedules (ALLERGAN_MDL_03367048).
       Allergan entities (including
       Allergan Finance, LLC,            The January 1, 2015, organization chart shows where each of these entities feJl within the the corporate
       Allergan plc, and alJ             structure of Allergan prior to the sale to Teva. ALLERGAN_MDL_02079795. Actavis South Atlantic
       subsidiaries, parents,            LLC, Actavis Elizabeth, LLC, Actavis Mid Atlantic LLC, and Actavis Totowa LLC were all direct
       predecessors, successors          subsidiaries of Actavis LLC, which was an indirect subsidiary of Watson Laboratories, Inc. See id at 2.
       and/or associated entities        Watson Laboratories, Inc. was a direct subsidiary of Actavis, Inc. n/k/a Allergan Finance, LLC. See id.
       resulting from any and all        Actavis Laboratories UT, Inc. was a direct subsidiary of Actavis, Inc. n/k/a Allergan Finance, LLC. Id.
       mergers over the years) and all   Actavis Laboratories FL, Inc. (f/k/a Watson Laboratories, Inc. - Florida) was a direct subsidiary of Andrx
       generic opioids for which any     Corporation, which was a direct subsidiary of Actavis, Inc. n/k/a AlJergan Finance, LLC. Id. Andrx
       Allergan entities had any         Corporation and Actavis LLC, in addition to the seven generic ANDA-holding entities, were transferred to
       involvement                       Teva. Teva-Allergan MPA Schedules (ALLERGAN_MDL_03367048).

                                         Prior to the sale of these entities to Teva, Actavis, Inc. n/k/a Allergan Finance, LLC did not manufacture,
                                         market, distribute, or sell any pharmaceutical products. It operated solely as a holding company. All of the
                                         direct subsidiaries of Actavis, Inc. n/k/a Allergan Finance involved in the management of the generic




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NO   Topic                                                          Response
                    opioid business were transferred to Teva. No other affiliate of Allergan Finance LLC or Allergan plc had
                    involvement with generic opioids.

                    Officers & Directors of Generic Entities:

                    Based on a review of reasonably available documents, we have identified the following persons as
                    directors and officers of some of the entities identified above.

                    Watson Pharma, Inc.

                    7-24-2012:

                    Director: Paul M. Bisaro;

                    Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                    Ranjana B. Pathak, Andrew Boyer, Charles M. Mayr, Lynne Amato, Thomas R. Griffin, Tim Callahan,
                    Diane Miranda, Kathleen Reape, Allan Slav sky, Michael W. Carr, Sigurd C. Kirk, James O'Brien, James
                    A. Williamson, Brett W. Hagardorn.

                    See ALLERGAN_MDL_03367292

                    8-30-2013:

                    Director: Paul M. Bisaro;

                    Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                    Ranjana B. Pathak, Andrew Boyer, Charles M. Mayr, Lynne Amato, Thomas R. Griffin, Tim Callahan,
                    Kathleen Reape, Allan Slavsky, Michael W. Carr, Sigurd C. Kirk, James O'Brien, James A. Williamson,
                    Brett W. Hagardorn, John Larocca.

                    See ALLERGAN_MDL_03367295.

                    Watson Laboratories, Inc.



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NO                  Topic                                                                  Response
                                          7-24-2012:

                                          Director: Paul M. Bisaro;

                                          Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                                          Patrick G. Brunner, Charles D. Ebert, Ranjana B. Pathak, Nick Kerkhof, Gary Kozloski, Gary Holloway,
                                          Jeffery Regan, Beth Brennan, Kathleen Reape, Michael W. Carr, James O'Brien, James A. Williamson,
                                          Miguel A. Gomez, Brett W. Hagadorn, Roberta Loomar.

                                          See ALLERGAN_MDL_03367294.

                                          8-30-2013

                                          Director: Paul M. Bisaro;

                                          Officers: Paul M. Bisaro, G. Frederick Wilkinson, Robert A. Stewart, R. Todd Joyce, David A. Buchen,
                                          Patrick G. Brunner, Charles D. Ebert, Ranjana B. Pathak, Hafrun Fridriksdottir, Nick Kerkhof, Gary
                                          Kozloski, Gary Holloway, Jeffery Regan, Beth Brennan, Kathleen Reape, Michael W. Carr, James
                                          O'Brien, James A. Williamson, Miguel A. Gomez, Brett W. Hagadorn, John Larocca.

                                          See ALLERGAN_MDL_03367296.

43.3   All involvement and                Allergan plc "was established for the purpose of facilitating the business combination between Allergan
       communications Allergan plc        Finance, LLC (formerly known as Actavis, Inc.) and Warner Chilcott pie." Allergan plc 2017 10-K at 3.
       has had with any of its            Allergan Finance, LLC acquired Warner Chilcott plc in a stock-for-stock transaction in 2013. 5/19/2013
       subsidiaries involved in the       Actavis, Inc. 8-K at 9. After the transaction, Warner Chilcott and Allergan Finance, LLC each became
       licensing, manufacture,            wholly owned, indirect subsidiaries of Allergan plc. Allergan pie 2017 10-K at 3.
       marketing, sale, or distribution
       of any opioid products,            Allergan plc f/k/a Actavis plc is an Irish corporation and its only offices are located in Ireland. Allergan
       including Allergan plc's           plc is a holding company that exists for the purpose of holding shares of other companies that manufacture
       ownership interests in, control    and distribute prescription drugs rather than producing or seJling its own goods or services. Allergan plc
       over, and financial                does not finance or control the daily affairs, including marketing or sales operations, of its subsidiaries.
       interrelationships with any


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NO               Topic                                                                     Response
     such subsidiaries, as well as     The following individuals are or were the primary executives at Allergan Finance, LLC in the following categories
     how subsidiaries' management      at the specified time period:
     interacted with and reported to
     Allergan plc and how this         Watson Pharmaceuticals, Inc.
     changed over time.
                                       Officers
                                              (i)       Chief Executive Officer: Allen Chao (1999-2008), Paul Bisaro (2008-2012)
                                              (ii)      Chief Financial Officer: Michael Boxer (1999-2002), Charles Slacik (2003-2007), Mark
                                                        Durand (2008-2009), R. Todd Joyce (2010-2012)
                                               (iii)    Chief Operating Officer: Fred Wilkinson (1999-2000), Joseph Papa (2001-2004), Robert
                                                        Stewart (2010-2012)
                                               (iv)     General Counsel: Robert Funsten (1999-2001), David Buchen (2002-2012)
                                               (v)      Sales: Lynne Amato (1999, 2003-2009), Carolyn Logan (1999), Andy Boyer (2003-2012),
                                                        Tim Callahan (2010-2012)
                                               (vi)     Marketing: Lynne Amato (1999, 2003-2012), Carolyn Logan ( 1999), Andy Boyer (2003-
                                                        2012)
                                               (vii)    Compliance: Roberta Loomar (2008-2010), Deborah Penza (2011-2012)
                                               (viii)   Sales or Marketing Training: None
                                               (ix)     Government Affairs: G. Thomas Long (2004-2010), Charlie Mayr (2011-2012)
                                               (x)      Medical Director: Gary Kozloski (2001-2012)
                                               (xi)     Research and Development: Charles Ebert (1999-2012), Francois Menard (2007-2012)

                                       Directors
                                               (i)      Paul Bisaro (2007 - 2012)
                                               (ii)     Christopher Bodine (2009 - 2012)
                                               (iii)    Allen Chao ( 1983 - 2009)
                                              ·(iv)     Michael Fedida (1995 - 2012)
                                               (v)      Michael Feldman (1985 - 2012)
                                               (vi)     Albert Hummel (1986 - 2012)
                                               (vii)    Alec Keith (1991 - 2000)
                                               (viii)   Catherine Klem a (2004 - 2012)
                                               (ix)     Jack Michelson (2002 - 2012)


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NO   Topic                                                             Response
                            (x)      Melvin Sharoky (1995 - 1998)
                            (xi)     Anthony Tabatznik (2009 - 2012)
                            (xii)    Ronald Taylor (1994 - 2012)
                            (xiii)   Andrew Turner (1997 - 2012)
                            (xiv)    Fred Weiss (2000 - 2012)

                    Actavis, Inc.

                    Officers:
                           (i)       Chief Executive Officer: Paul Bisaro (2013-2014), Brent Saunders (2015-2016)
                           (ii)      Chief Financial Officer: Todd Joyce (2013-2014), Tessa Hilado (2015-2016)
                           (iii)     Chief Operating Officer: Robert Stewart (2013-2016)
                           (iv)      General Counsel: David Buchen (2013-2014), A. Robert D. Bailey (2015-2016)
                           (v)       Sales: Andy Boyer (2013), Tim Callahan (2013), Siggi Olafsson (2013-2014), William
                                     Meury (2015-2016)
                            (vi)     Marketing: Andy Boyer (2013), Lynne Amato (2013), Siggi Olafsson (2013-2014),
                                     William Meury (2015-2016)
                            (vii)    Compliance: Debra Penza (2013-2014), Joseph Zimmerman (2014), Jonathon Kellerman
                                     (2015-2016)
                            (viii)   Sales or Marketing Training: None
                            (ix)     Government Affairs: Charlie Mayr (2013-2014), Alex Kelly (2015-2016)
                            (x)      Medical Director: Gary Kozlowski (2013), Gavin Corcoran (2014-2016)
                            (xi)     Research and Development: Chuck Ebert (2013-2014), Hafrun Fridriksdottir (2013-2014),
                                     David Nicholson (2015-2016)

                    Directors
                           (i)       Paul Bisaro (2013-2014)
                           (ii)      Christopher Bodine (2013-2014)
                           (iii)     Michael Fedida (2013-2014)
                           (iv)      Michael Feldman (2013-2014)
                           (v)       Albert Hummel (2013-2014)
                           (vi)      Catherine Klema (2013-2014)


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NO   Topic                                                      Response
                          (vii)    Jack Michelson (2013-2014)
                          (viii)   Ronald Taylor (2013-2014)
                          (ix)     Andrew Turner (2013-2014)
                          (x)      Fred Weiss (2013-2014)

                    Allergan Finance, LLC

                    Officers
                    Allergan Finance, LLC's management structure is set forth in the Second Amended and Restated
                    Operating Agreement of Allergan Finance, LLC (ALLERGAN_MDL_SUPP_00000326). This Operating
                    Agreement identifies the following officers:
                           (i)     A. Robert D. Bailey
                           (ii)    Matthew M. Walsh
                           (iii)   Jonathon Kellerman
                           (iv)    Karen Ling
                           (v)     Alex Kelly
                           (vi)    William Meury
                           (vii) Sigurd Kirk
                           (viii) Marc Princen
                           (ix)    James D' Arecca
                           (x)     Sean Lennon
                           (xi)    David Nicholson
                           (xii) Lynne Bolduc
                           (xiii) Thomas Poche
                           (xiv) Brian Anderson
                           (xv)    Riccardo Mancuso
                           (xvi) Martin Shindler
                           (xvii) Wayne Swanton
                           (xviii) Stephen M. Kaufhold
                           (xix) Kira Schwartz
                           (xx) Judith Tomkins




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NO             Topic                                                                           Response
                                      Directors
                                      Allergan Finance, LLC does not have a Board of Directors. Allergan Finance, LLC instead has a two-
                                      person Board of Managers that is comprised of A. Robert D. Bailey and Matthew M. Walsh.

                                      Allergan pie Board & Executive Leadership Team:

                                      10-02-2013 7

                                      Directors:
                                             (i)       Paul M. Bisaro
                                             (ii)      James H. Bloem
                                             (iii)     Christopher Bodine
                                             (iv)      Tamar D. Howson
                                             (v)       John A. King
                                             (vi)      Catherine M. Klema
                                             (vii)     Jiri Michal
                                             (viii)    Jack Michelson
                                             (ix)      Sigurdur Oli Olafsson
                                             (x)       Patrick J. O'Sullivan
                                             (xi)      Andrew L. Turner
                                             (xii)     Fred G. Weiss

                                      Current Leadership:

                                      Executive Leadership Team:
                                             (i)    Brenton L. Saunders, Chairman, President and CEO
                                             (ii)   William Meury, EVP & Chief Commercial Officer
                                             (iii)  Matt Walsh, EVP & Chief Financial Officer
                                             (iv)   A. Robert D. Bailey, EVP & Chief Legal Officer and Corporate Secretary
                                             (v)    Karen L. Ling, Esq., EVP & Chief Human Resources Officer

     https://www.allergan.com/news/news/thomson-reuters/actavis-plc-names-board-of-directors




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NO   Topic                                                           Response
                            (vi)     C. David Nicholson, PhD, EVP & Chief R&D Officer
                            (vii)    Alex Kelly, EVP & Chief Communications Officer
                            (viii)   Wayne R. Swanton, EVP, Global Operations

                     Directors
                            (i)      Nesli Basgoz, M.D.
                            (ii)     Joseph H. Boccuzi
                            (iii)    Christopher W. Bodine
                            (iv)     Adriane M. Brown
                            (v)      Christopher J. Coughlin
                            (vi)     Carol Anthony (John) Davidson
                            (vii)    Michael E. Greenberg, PhD
                            (viii)   Thomas C. Freyman
                            (ix)     Catherine M. Klema
                            (x)      Peter J. McDonnell, M.D.
                            (xi)     Fred G. Weiss




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